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Attorneys for Defendant Steadfast Insurance Company



      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION



DYNO NOBEL, INC.,                                   SUMMARY JUDGMENT APPENDIX OF
                                                    DEFENDANT STEADFAST INSURANCE
         Plaintiff,                                           COMPANY

vs.
                                                         Civil No: 2:22-cv-00016-RJS-JCB
STEADFAST INSURANCE COMPANY,
                                                               Judge Robert J. Shelby
         Defendant.
                                                          Magistrate Judge Jared C. Bennett




         Defendant, Steadfast Insurance Company (“Steadfast”), hereby provides the following

Appendix of exhibits in support of its Motion for Summary Judgment:

         1.      Notice of Removal filed in Third Judicial District Court for Salt Lake County,

Case No. 210906012 on January 6, 2022, and filed as Document 2 in the within action [Def

Appendix 0001-0003].

         2.      Civil Cover Sheet filed as Document 2-1 in the within action [Def Appendix

0004].
       3.      Complaint filed in Third Judicial District Court on November 8, 2021 (Exhibit 1

to the Notice of Removal) [Def Appendix 0005-0012].

       4.      Zurich Commercial Insurance Policy No. GLO 3793060-07 (original Exhibit A to

the Complaint filed in Third Judicial District Court, Case No. 210906012, on November 8, 2021)

[Def Appendix 0013-0170].

       5.      Proof of Service of Complaint entitled Teddy Scott and Melanie Scott v. Dyno

Nobel, Inc., filed In the United States District Court for the Eastern District of Missouri, Case

No. 16-1440, upon Dyno Nobel, Inc. through C T Corporation System, Clayton, MO, on

September 27, 2016 (original Exhibit B to the Complaint filed in Third Judicial District Court,

Case No. 210906012, on November 8, 2021) [Def Appendix 0171-0172].

       6.      Summons and Complaint in the action entitled Teddy Scott and Melanie Scott v.

Dyno Nobel, Inc., filed In the United States District Court for the Eastern District of Missouri,

Case No. 16-1440, on September 9, 2016 (original Exhibit B to the Complaint filed in Third

Judicial District Court, Case No. 210906012, on November 8, 2021) [Def Appendix 0173-0181].

       7.      First Amended Complaint in the action entitled Teddy Scott and Melanie Scott v.

Dyno Nobel, Inc., filed In the United States District Court for the Eastern District of Missouri,

Case No. 16-1440, on March 3, 2017 (original Exhibit C to the Complaint filed in Third Judicial

District Court, Case No. 210906012, on November 8, 2021) [Def Appendix 0182-0195].

       8.      Return of Electronic Notification and Notice of Electronic Filing of the Complaint

filed in Third Judicial District Court, Case No. 210906012 on November 8, 2021 [Def Appendix

0196-0197].

       9.      Proof of Service of Summons and Complaint in the action entitled Dyno Nobel,

Inc. v. Steadfast Insurance Company, Case No. 210906012, served upon Steadfast Insurance

Company on December 7, 2021 [Def Appendix 0198].


                                                 2
       10.     Return of Electronic Notification and Notice of Electronic Filing of the Return of

Service referred to in Paragraph 9, filed in Third Judicial District Court, Case No. 210906012, on

November 8, 2021 [Def Appendix 0199-0200].

       DATED this 2nd day of May, 2022.

                                             SNOW CHRISTENSEN & MARTINEAU

                                             /s/ Richard A. Vazquez________________
                                             Richard A. Vazquez
                                             Attorneys for Defendant Steadfast Insurance
                                             Company




                                                3
                               CERTIFICATE OF SERVICE

          I hereby certify that on May 2, 2022, I electronically filed the foregoing SUMMARY
JUDGMENT APPENDIX OF DEFENDANT STEADFAST INSURANCE COMPANY
with the Clerk of Court using the Court’s CM/ECF system which will send electronic
notification of such filing to the following:


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              Ashley M. Walker
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              111 S. Main Street, Suite 2100
              Salt Lake City, UT 84111
              marsden.steve@dorsey.com
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              Minneapolis, MN 55402
              brown.daniel@dorsey.com

               Attorneys for Plaintiff Dyno Nobel, Inc.



                                                    /s/ Penny Brown
                                               Legal Assistant




                                                4
      Case 2:22-cv-00016-DBP Document 2 Filed 01/06/22 PageID.2 Page 1 of 3




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Attorneys for Defendant Steadfast Insurance Company



          IN THIRD JUDICIAL DISTRICT COURT FOR SALT LAKE COUNTY
                                        STATE OF UTAH



DYNO NOBEL, INC.,                                             NOTICE OF REMOVAL

        Plaintiff,                                               Civil No 210906012

vs.                                                              Judge Robert P. Faust

STEADFAST INSURANCE COMPANY,

        Defendant.



        PLEASE TAKE NOTICE that on January 6, 2022, a Notice of Removal of the above-

entitled action was filed in the United States District Court for the District of Utah on behalf of

Defendants pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. The filing of that Notice in the

United States District Court and the filing of this Notice in this State Court effects removal of

this action from the State Court. No further proceedings in this action before the State Court are

allowed unless and until the action is remanded by the United States District Court. A true and

correct copy of the Notice filed in the United States District Court is attached hereto as Exhibit

A.



                                                                                   Def Appendix 0001
Case 2:22-cv-00016-DBP Document 2 Filed 01/06/22 PageID.3 Page 2 of 3




  DATED this 6th day of January, 2022.

                                    SNOW CHRISTENSEN & MARTINEAU

                                    /s/ Richard A. Vazquez________________
                                    Richard A. Vazquez
                                    Attorneys for Defendant Steadfast Insurance
                                    Company




                                         2
                                                                     Def Appendix 0002
   Case 2:22-cv-00016-DBP Document 2 Filed 01/06/22 PageID.4 Page 3 of 3




                     CERTIFICATE OF SERVICE

      I hereby certify that on, I electronically filed the foregoing with the Clerk of
Court using the Greenfiling system which sent notification of such filing to the
following:
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             marsden.steve@dorsey.com
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             Minneapolis, MN 55402
             Subject to Admission Pro Hac Vice

             Attorneys for Plaintiff Dyno Nobel, Inc.



                                                  /s/ Penny Brown
                                              Legal Assistant




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JS 44 (Rev. 10/20)                                                                                  CIVIL COVER SHEET
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              Milo Steven Mar.sden, Dorsey ·& Whitney, 111 ·s .-Main St.,                                                                          R1chard Vazquez, Snow Christensen & Martineau , 10
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Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.6 Page 1 of 196




             Exhibit 1




                                                            Def Appendix 0005
 Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.7 Page 2 of 196




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Subject to Admission Pro Hac Vice

Attorneys for Plaintiff Dyno Nobel, Inc.


                          IN THE THIRD JUDICIAL DISTRICT COURT
                      IN AND FOR SALT LAKE COUNTY, STATE OF UTAH


 Dyno Nobel, Inc.,                                             COMPLAINT

        Plaintiff,                                               Civil No.

 vs.                                                               Judge

 Steadfast Insurance Company,                                    (TIER III)

        Defendant.


       Dyno Nobel, Inc. by and for its Complaint against Defendant Steadfast Insurance

Company, states and alleges as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff Dyno Nobel, Inc. (“Dyno Nobel”) is a Delaware corporation with its

principal place of business in Salt Lake City, Utah.




                                                                              Def Appendix 0006
 Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.8 Page 3 of 196




       2.      Defendant Steadfast Insurance Company (“SIC”) is a Delaware corporation with

its principal place of business in Schaumburg, Illinois.

       3.      This Court has personal jurisdiction over SIC pursuant to Utah Code Ann. §78-27-

24 because SIC transacts business in this state and issues insurance policies in this state, and

specifically issued insurance policies to Plaintiff Dyno Nobel, as the Named Insured at 2795 E.

Cottonwood Parkway, in Salt Lake City Utah.

       4.      Subject matter jurisdiction and venue is proper under Utah Code § 78A-5-102(2)

and § 78B-3-304(2).

       5.      The relief sought in this Complaint qualifies for Tier 3 discovery pursuant to Utah

R. Civ. P. 26(c) because Plaintiff seeks damages in excess of $300,000.

                                  GENERAL ALLEGATIONS

       6.      SIC issued commercial general liability insurance policies to Dyno Nobel for the

policy years 10-1-2014 to 10-1-2015 and 10-1-2015 to 10-1-2016, with policy numbers GLO-

3793060-07 and GLO-3793060-08, respectively (the “Policies”).

       7.      Both policies are identical in all respects material to this Complaint.

       8.      The Policies each contain a Declarations Page.

       9.      The Declarations Page of each Policy provides that the General Aggregate Limit

for each policy year is $3 million.

       10.     The Declarations Page of each Policy provides that the “Form(s) and

Endorsement(s) made a part of this Policy at the time of issue” can be found on the “Schedule of

Forms and Endorsements.”

       11.     Each Policy also then contains a Schedule of Forms and Endorsements, each listing

more than forty such forms and endorsements as being part of the Policy.




                                                 2                                Def Appendix 0007
 Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.9 Page 4 of 196




       12.     A true and correct copy of each of the Policies, including all Forms and

Endorsements listed on the Schedule of Forms and Endorsements is included as Exhibit A to this

Complaint.

       13.     Among the Forms and Endorsements listed and included in the Policies is an

Endorsement adding “Coverage D Pollution Bodily Injury and Property Damage” to the Coverages

under the Policies.

       14.     The Endorsement adds a “Pollution Liability Aggregate Limit: $3,000,000.”

       15.     The Endorsement adds a definition to the Policy for “Pollution liability hazard:”

                      “Pollution liability hazard” means all “bodily injury” and “property
                      damage” arising out of the discharge, release or escape of
                      “pollutants” at or from:

                      a. Premises you own, rent or occupy; or

                      b. Any site or location on which you or any contractors or
                         subcontractors working directly or indirectly on your behalf are
                         performing operations.

       16.     The Coverage D Insuring Agreement provides, in relevant part:

                      We will pay those sums that the insured becomes legally obligated
                      to pay as damages because of “bodily injury” or “property damage”
                      included within the “pollution liability hazard” to which this
                      insurance applies. We will have the right and duty to defend the
                      insured against any “suit” seeking those damages.

                                                     ****

                      This insurance applies to “bodily injury” and “property damage”
                      only if:

                           (1) The “bodily injury” or “property damage” is caused by an
                               “occurrence” that takes place in the “coverage territory.”

       17.     The Policies define “coverage territory” expressly to mean, in relevant part:

                      “Coverage territory” means:

                      a. The United States of America (including its territories and
                         possessions), Puerto Rico and Canada;



                                                3                               Def Appendix 0008
Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.10 Page 5 of 196




       18.     On September 9, 2016, Teddy Scott and Melanie Scott filed an action against Dyno

Nobel in the Eastern District of Missouri (the “Scott Action”), making claims against Dyno Nobel

allegedly arising from Dyno Nobel’s operations at a manufacturing facility in Pike County,

Missouri (the “Dyno Plant”). A copy of the original complaint is attached as Exhibit B.

       19.     On March 3, 2017, Teddy Scott and Melanie Scott filed a First Amended Complaint

in the Scott Action. A copy of the First Amended Complaint is attached as Exhibit C.

       20.     According to the First Amended Complaint, on March 20, 2015, the Dyno Plant

during start-up allegedly “released higher than normal levels of NOx emissions and other harmful

emissions.” (Exhibit C ¶40).

       21.     According to the First Amended Complaint, Teddy Scott “was exposed to, ingested,

and/or inhaled the start-up NOx emissions from Dyno’s Plant.” (Exhibit C ¶43).

       22.     According to the First Amended Complaint, Teddy Scott allegedly suffers and

continues to suffer both ongoing and periodic bodily injury as an alleged result of the alleged

exposure. (Exhibit C ¶¶57, 58, 66).

       23.     Dyno Nobel tendered the Scott Action to SIC.

       24.     On April 19, 2018, SIC acknowledged the tender, as well as the facts alleged in the

Scott Action set forth above.

       25.     SIC’s April 19, 2018 letter denied Dyno Nobel’s claim and refused to defend.

       26.     SIC’s April 19, 2018 denial was based entirely (and incorrectly) on alleged

exclusions relating to Coverage A under the Policies, not Coverage D.

       27.     There are no pollution exclusions applicable to Coverage D in the Policies.

       28.     Dyno Nobel denied any wrongdoing in the Scott Action, and vigorously defended

the Scott Action.




                                                4                               Def Appendix 0009
Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.11 Page 6 of 196




        29.      SIC breached its obligations to cover and defend the Scott Action.

        30.      On August 29, 2018, the Court in the Scott Action granted Dyno Nobel’s motion

for summary judgment and entered judgment dismissing the Scott Action.

        31.      The Scott Action plaintiffs appealed, and on July 24, 2020, the United States Court

of Appeals for the Eighth Circuit reversed the grant of summary judgment.

        32.      The petition for rehearing was denied on August 28, 2020, and the matter was

remanded to the United States District Court for the Eastern District of Missouri on September 4,

2020.

        33.      The matter is currently scheduled for trial starting on April 18, 2022.

        34.      On December 8, 2020, Dyno Nobel updated SIC regarding the status of the Scott

Action and again requested that SIC defend Dyno Nobel and cover the Scott Action, including

engaging in settlement negotiations. SIC refused.

        35.      Dyno Nobel has incurred and continues to incur substantial costs in defending the

Scott Action, and will continue to incur those costs.

        36.      Current defense costs total more than $1,000,000.

        37.      To date, SIC takes the position that the Scott Action is not covered, has not

defended Dyno Nobel, offered to pay, nor paid any amount of defense costs or toward settlement

of the matter.


                             COUNT I – BREACH OF CONTRACT

        38.      The foregoing paragraphs of the Complaint are incorporated herein.

        39.      The Policies include Coverage D, which covers the Scott Action, and requires SIC

to cover and defend the Scott Action.

        40.      SIC has refused to cover and/or defend the Scott Action.




                                                   5                               Def Appendix 0010
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       41.     SIC has failed to pay any amount of defense costs, even though, and among other

things, the defense is and was demonstrably reasonable and meritorious.

       42.     SIC is in breach of its insurance obligations.

       43.     Dyno Nobel has suffered damages in an amount in excess of $1,000,000 expended

in defense of the Scott Action, as a result of SIC’s breach, plus such other amounts as may be

incurred in the matter.

       44.     Dyno Nobel continues to incur additional damages as a result of the ongoing

defense of and resolution of the Scott Action, including an adverse judgment, if any.


                          COUNT II – DECLARATORY JUDGMENT

       45.     The foregoing paragraphs of the Complaint are incorporated herein.

       46.     SIC is obligated to cover and defend the Scott Action, including any ongoing and

subsequent proceedings, including an adverse judgment, if any.

       47.     SIC has denied that it is obligated to cover and defend the Scott Action, including

any ongoing and subsequent proceedings.

       48.     Pursuant to Utah Code § 78B-6-401, Dyno Nobel is entitled to declaratory

judgment that SIC is obligated to cover and defend the Scott Action, including any ongoing and

subsequent proceedings, and cover an adverse judgment, if any.

       WHEREFORE, Dyno Nobel demands judgment against SIC in an amount to be proven at

trial, not less than $1,000,000, and declaratory judgment against SIC that it is required to cover

and defend the Scott Action, including all ongoing and subsequent proceedings, as well as interest,

fees and all other relief the Court deems just and proper.




                                                 6                              Def Appendix 0011
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DATED this 8th day of November, 2021.       DORSEY & WHITNEY LLP




                                            By: /s/ Ashley M. Walker______________
                                                Milo Steven Marsden
                                                Ashley M. Walker

                                                Attorneys for Plaintiff Dyno Nobel, Inc.




                                        7                                Def Appendix 0012
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                EXHIBIT A

                                                             Def Appendix 0013
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COMMERCIAL INSURANCE
                                                                                                  COMMON POLICY DECLARATIONS
Policy Number        GLO 3793060-07                                      Renewal of Number          GLO 3793060-06
Named Insured and Mailing Address                                    Producer and Mailing Address
DYNO NOBEL, INC.                                                     MARSH USA, INC.
(SEE NAMED INSURED ENDT)                                             15 W SOUTH TEMPLE STE 700
2795 E COTTONWOOD PKWY                                               SALT LAKE CITY UT 84101-1533
SALT LAKE CITY UT 84121-7032

                                                          Producer Code     29067-000
Policy Period: Coverage begins           10-01-2014 at 12:01 A.M.; Coverage ends 10-01-2015                                    at 12:01 A.M.
The name insured is             Individual          Partnership       X Corporation
                                     Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.
  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
  GENERAL LIABILITY COVERAGE                                                                     PREMIUM           $       423,060.00
   issued by STEADFAST INSURANCE COMPANY




  THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                              TOTAL             $                   423,060.00
  This premium does not include Taxes and Surcharges.
  Taxes and Surcharges                                                               TOTAL             $


  The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
  FORMS and ENDORSEMENTS.
  Countersigned this                  day of
                                                                                               Authorized Representative

 THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

                                                                                                                           U-GU-D-310-A (01/ 93)
                                                                                                             Def Appendix 0014
                                                                                                                            Page 1 of 1
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                      COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                             Policy Number:   GLO 3793060-07
                               STEADFAST INSURANCE COMPANY

  Named Insured
  DYNO NOBEL, INC.


  Policy Period: Coverage begins 10-01-2014 at 12:01 A.M.; Coverage ends 10-01-2015 at 12:01 A.M.

  Producer Name: MARSH        USA, INC.                              Producer No. 29067-000
Item 1. Business Descript ion: EXPLOSIVES

Item 2. Limits of Insurance

The Limits of Insurance stated below are the most available to pay damages, medical expenses and
"allocated loss adjustment expenses" covered by this policy. Various provisions in this policy restrict
coverage. Read the entire policy carefully to determine rights, duties and what is and is not covered.
LI MITS
  GENERAL AGGREGATE LIMIT                          3,000,000
  PRO DUCTS-COMPLETED OPERATIONS AGGREGATE LI MIT  3,000,000
  EACH O CCURRENCE LIMI T                          3,000,000
        DAMAGE TO PREMISES
        RENTED TO YOU LIMIT              100,000                 Any one premises
        MEDICAL EXPENSE LIMIT            10,000                  Any one pers on
  PERSONAL AND ADVERTISING INJURY LIMIT           3,000,000
                                                  Any one person or organization




Item 3. Form of Business and Location Premises
CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 4. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 5. Premiums
Coverage Part Premium: $             388,754
Other Premium: $34,306TRIA
Total Premium: $              423,060




                                                                                       U-GL-D-1286-A CW (09/ 06)
                                                                                                    Pa ge 1 of 1
                                                                                    Def Appendix 0015
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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                    Policy Number: GLO     3793060-07
Named Insured: DYNO         NOBEL, INC.


Policy Period: Coverage begins 10-01-2014 at 12:01 A.M.; Coverage ends 10-01-2015 at 12:01 A.M.

Producer Name: MARSH            USA, INC.                                      Producer No. 29067-000


Item 1. Limits of Insurance



      $     3,000,000 Aggregate Limit
      $     3,000,000 Each Claim Limit

Item 2. Form of Business:
          Individual              Parnership           Joint Venture     X Corporation
          Other



Item 3. Premium Schedule:
     Code No.          Premium Basis                       Rate                             Advance Premium
                       (Estimated Number of Employees)

     92100             IF ANY                              $ INCL           Per Employee    $       INCL

                                                           $ INCL           Flat Charge     $       INCL


Total Advance Premium For This Coverage Part:         $           INCL


Audit Period:          Annual       Semi-annual           Quarterly         Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
9/30/2008           (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




                                                                                                 U-GL-D-849-B CW (9/04)
                                                                                                              Page 1 of 1
                                                                                           Def Appendix 0016
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                                                          Policy Number
                                                          GLO 3793060-07
                              SCHEDULE OF FORMS AND ENDORSEMENTS

                               Steadfast Insurance Company

Named Insured   DYNO NOBEL, INC.                                        Effective Date: 10-01-14
                                                                          12:01 A.M., Standard Time
Agent Name      MARSH USA, INC.                                         Agent No.   29067-000
COMMON & GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GU-D-310-A                01-93    COMMON POLICY DECLARATIONS
U-GL-D-1286-A CW            09-06    COMMERCIAL GEN LIAB COVERAGE PART DEC
U-GL-D-849-B CW             09-04    EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
U-GU-619-A CW               10-02    SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-621-A CW               10-02    SCHEDULE OF NAMED INSURED(S)
U-GL-1287-B CW              04-13    COMMERCIAL GEN LIAB COVERAGE FORM
U-GL-849-B CW               08-04    EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
STF-GU-199-B                01-09    IMPORTANT NOTICE SEV. OF SUIT/IN WITNESS
U-GL-1057-A CW              05-02    LTD CARE,CUSTODY OR CONTROL ENDT
U-GL-1063-A-CW              12-01    FUNGUS EXCLUSION ENDORSEMENT
UGL1171ACW                  07-03    FUNGI OR BACTERIA EXCLUSION
U-GL-1178ACW                07-03    ASBESTOS EXCLUSION ENDORSEMENT
U-GL-1205-B CW              01-08    WELDING HEALTH HAZARD EXCLUSION
U-GL-1326-B CW              10-07    DEDUCTIBLE
U-GL-1342-A CW              10-07    LEAD LIABILITY EXCLUSION
U-GL-1517-B CW              04-13    RECORD OR DISTRB OF MATRL OR INFO EXCL
U-GL-1521-A CW              10-12    BLANKET NOTIFICATION TO OTH CANC/NONREN
U-GL-441-B CW               12-01    AIRCRAFT PROD., GROUNDING & TESTING EXCL
U-GL-911-B CW               09-05    CLAIM SERIES ENDORSEMENT
U-GL-915-C CW               08-04    FELLOW EMPLOYEE COVERAGE ENDORSEMENT
U-GL-917-C CW               08-04    INCIDENTAL MEDICAL MALPRACTICE COV ENDT
U-GL-923-B CW               06-04    SILICA OR SILICA MIXED DUST EXCLUSION
U-GL-925-B CW               12-01    WAIVER OF SUBROGATION (BLANKET) ENDT.
U-GU-739-A CW               09-06    DEFENSE WITHIN LIMITS NOTICE
CG 01 23                    03-97    INDIANA CHANGES POLLUTION EXCLUSION
CG 01 34                    08-03    MISSOURI CHANGES -POLLUTION EXCLUSION
CG 01 54                    04-13    VERMONT CHANGES-POLLUTION
CG 01 86                    12-04    UT CHANGES
CG 20 11                    04-13    ADDL INSD-MANAGERS/LESSORS OF PREMISES
CG 20 12                    04-13    ADDL INS-ST,GOV AGY,SUB,POL SUB-PERM
CG 20 15                    04-13    ADDL INSD-VENDORS
CG 20 34                    04-13    ADDL INSD-LESSOR OF LEASED EQUI
CG 21 16                    04-13    EXCL-DESIGNATED PROFESSIONAL SERVICES
CG 21 47                    12-07    EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 49                    09-99    TOTAL POLLUTION EXCL ENDT
CG 21 55                    09-99    TOTAL POLLUTION EXCL. WITH HOSTILE FIRE
CG 24 17                    10-01    CONTRACTUAL LIABILITY - RAILROADS
IL 00 03                    09-08    CALCULATION OF PREMIUM
IL 00 17                    11-98    COMMON POLICY CONDITIONS
IL 00 21                    09-08    NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 66                    09-08    UTAH CHANGES-CANC & NONRENL
U-GU-767-A CW               01-08    CAP ON LOSSES FROM CERTIFIED ACTS OF TER
U-GU-692-C CW               06-13    DISCL OF PREM. RELATING TO DISP. OF TRIA
U-GL-1114-A CW              10-02    NOTICE OF CANCELLATION
U-GL-1114-A CW              10-02    BROAD NAMED INSURED




   U-GU-619-A CW (10/ 02)
                                                                      Def Appendix 0017
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                                                             Policy Number
                                                             GLO 3793060-07
                              SCHEDULE OF NAMED INSURED(S)

              STEADFAST INSURANCE COMPANY

 Named Insured    DYNO NOBEL, INC.                           Effective Date:      10-01-14
                                                                      12:01 A.M., Standard Time
 Agent Name       MARSH USA, INC.                            Agent No.        29067-000
                                    NAMED INSURED
DYNO NOBEL, INC.
TECH REAL ESTATE HOLDING LLC
SIMSBURY HOPMEADOW STREET LLC
MINNESOTA EXPLOSIVES CO
SJL DRILL SERVICES, INC
CMMPM LLC
CMMPM LP
MT. STATE BIT SERVICES,INC
DYNO NOBEL HOLDINGS USA II
DYNO NOBEL HOLDING AS
EVENSON EXPLOSIVES LLC
DNX DRILLING INC
HALL EXPLOSIVES, INC
ST LAWRENCE EXPLOSIVES CORP
DBA MOUNTAIN VALLEY EXPLOSIVES
DYNO EAST KENTUCKY INC
ETI EXPORT, INC
DBA EXPLO TECH
DBA EXPLOSIVES ENERGIES
DBA BLASTRITE SERVICES
DBA RIMROCK EXPLOSIVES
DBA GOLDEN STATE EXPLOSIVES
AMERICAN EAST EXPLOSIVES, INC
AMERICAN WEST EXPLOSIVES, INC
ETI HOLDING CORPORATION
DYNO NOBEL HOLDINGS USA II, INC
IRECO HOLDINGS CO
DYNO NOBEL TRANSPOTATION INC
DYNO NOBEL LEASING, INC
DYNO NOBEL HOLDINGS USA, INC
DYNO NOBEL HOLDINGS ASA
DYNO NOBEL ASA




U-GU-621-A CW (10/ 02)
                                                                        Def Appendix 0018
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   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The Limits of Insurance shown in the Declarations is the most available to pay any
combination of damages, medical expenses and "allocated loss adjustment expenses"
covered by this policy. Various other provisions in this policy restrict coverage. Read
the entire policy carefully to determine rights, duties and what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any
other person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our"
refer to the company providing this insurance.
The word "insured" means any person or organization qualifying as such under Section II – Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section V –Definitions.
SECTION I – COVERAGES
COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
1. Insuring Agreement
    a. We will pay those sums that the insured becomes legally obligated to pay as damages because of "bodily
       injury" or "property damage" to which this insurance applies. We will have the right and duty to defend
       the insured against any "suit" seeking those damages. However, we will have no duty to defend the
       insured against any "suit" seeking damages for "bodily injury" or "property damage" to which this
       insurance does not apply. We may, at our discretion, investigate any "occurrence" and settle any claim or
       "suit" that may result. But:
        (1) The amount we will pay for damages and "allocated loss adjustment expenses" is limited as
            described in Section III – Limits Of Insurance; and
       (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the
           payment of:
           (a) Judgments or settlements under Coverages A or B;
           (b) Medical expenses under Coverage C; or
           (c) "Allocated loss adjustment expenses".
       No other obligation or liability to pay sums or perform acts or services is covered.
    b. This insurance applies to "bodily injury" and "property damage" only if:
       (1) The "bodily injury" or "property damage" is caused by an "occurrence" that takes place in the
           "coverage territory";
       (2) The "bodily injury" or "property damage" occurs during the policy period; and
       (3) Prior to the policy period, no insured listed under Paragraph 1. of Section II – Who Is An Insured and
           no "employee" authorized by you to give or receive notice of an "occurrence" or claim, knew that the
           "bodily injury" or "property damage" had occurred, in whole or in part. If such a listed insured or
           authorized "employee" knew, prior to the policy period, that the "bodily injury" or "property damage"
           occurred, then any continuation, change or resumption of such "bodily injury" or "property damage"
           during or after the policy period will be deemed to have been known prior to the policy period.
    c. "Bodily injury" or "property damage" which occurs during the policy period and was not, prior to the policy
       period, known to have occurred by any insured listed under Paragraph 1. of Section II – Who Is An
       Insured or any "employee" authorized by you to give or receive notice of an "occurrence" or claim,
       includes any continuation, change or resumption of that "bodily injury" or "property damage" after the end
       of the policy period.
    d. "Bodily injury" or "property damage" will be deemed to have been known to have occurred at the earliest
       time when any insured listed under Paragraph 1. of Section II – Who Is An Insured or any "employee"
       authorized by you to give or receive notice of an "occurrence" or claim:
       (1) Reports all, or any part, of the "bodily injury" or "property damage" to us or any other insurer;
        (2) Receives a written or verbal demand or claim for damages because of the "bodily injury" or "property
            damage"; or
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         (3) Becomes aware by any other means that "bodily injury" or "property damage" has occurred or has
             begun to occur.
   e. Damages because of "bodily injury" include damages claimed by any person or organization for care, loss
       of services or death resulting at any time from the "bodily injury".
2. Exclusions
   This insurance does not apply to:
   a. Expected Or Intended Injury
       "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This
       exclusion does not apply to "bodily injury" resulting from the use of reasonable force to protect persons or
       property.
   b. Contractual Liability
       "Bodily injury" or "property damage" for which the insured is obligated to pay damages by reason of the
       assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
       (1) That the insured would have in the absence of the contract or agreement; or
       (2) Assumed in a contract or agreement that is an "insured contract", provided the "bodily injury" or
           "property damage" occurs subsequent to the execution of the contract or agreement. Solely for the
           purposes of liability assumed in an "insured contract", reasonable attorneys' fees and necessary
           litigation expenses incurred by or for a party other than an insured are deemed to be damages
           because of "bodily injury" or "property damage", provided:
           (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the
                 same "insured contract"; and
           (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or
                 alternative dispute resolution proceeding in which damages to which this insurance applies are
                 alleged.
    c. Liquor Liability
       "Bodily injury" or "property damage" for which any insured may be held liable by reason of:
       (1) Causing or contributing to the intoxication of any person;
       (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence
            of alcohol; or
       (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic
            beverages.
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in:
            (a) The supervision, hiring, employment, training or monitoring of others by that insured; or
            (b) Providing or failing to provide transportation with respect to any person that may be under the
                 influence of alcohol;
       if the "occurrence" which caused the "bodily injury" or "property damage", involved that which is described
       in Paragraph (1), (2) or (3) above.
       However, this exclusion applies only if you are in the business of manufacturing, distributing, selling,
       serving or furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring
       alcoholic beverages on your premises, for consumption on your premises, whether or not a fee is charged
       or a license is required for such activity, is not by itself considered the business of selling, serving or
       furnishing alcoholic beverages.
    d. Workers' Compensation And Similar Laws
       Any obligation of the insured under a workers' compensation, disability benefits or unemployment
       compensation law or any similar law.
    e. Employer's Liability
       "Bodily injury" to:
         (1) An "employee" of the insured arising out of and in the course of:
             (a) Employment by the insured; or
             (b) Performing duties related to the conduct of the insured's business; or
         (2) The spouse, child, parent, brother or sister of that "employee" as a consequence of Paragraph (1)
             above.

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         This exclusion applies whether the insured may be liable as an employer or in any other capacity and to
         any obligation to share damages with or repay someone else who must pay damages because of the
         injury.
         This exclusion does not apply to liability assumed by the insured under an "insured contract".
    f.   Pollution
         (1) "Bodily injury" or "property damage" arising out of the actual, alleged or threatened discharge,
              dispersal, seepage, migration, release or escape of "pollutants":
              (a) At or from any premises, site or location which is or was at any time owned or occupied by, or
                  rented or loaned to, any insured. However, this subparagraph does not apply to:
                  (i) "Bodily injury" if sustained within a building and caused by smoke, fumes, vapor or soot
                        produced by or originating from equipment that is used to heat, cool or dehumidify the
                        building, or equipment that is used to heat water for personal use, by the building's occupants
                        or their guests;
                  (ii) "Bodily injury" or "property damage" for which you may be held liable, if you are a contractor
                        and the owner or lessee of such premises, site or location has been added to your policy as
                        an additional insured with respect to your ongoing operations performed for that additional
                        insured at that premises, site or location and such premises, site or location is not and never
                        was owned or occupied by, or rented or loaned to, any insured, other than that additional
                        insured; or
                  (iii) "Bodily injury" or "property damage" arising out of heat, smoke or fumes from a "hostile fire";
             (b) At or from any premises, site or location which is or was at any time used by or for any insured or
                 others for the handling, storage, disposal, processing or treatment of waste;
             (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as
                 waste by or for:
                 (i) Any insured; or
                 (ii) Any person or organization for whom you may be legally responsible; or
             (d) At or from any premises, site or location on which any insured or any contractors or
                 subcontractors working directly or indirectly on any insured's behalf are performing operations if
                 the "pollutants" are brought on or to the premises, site or location in connection with such
                 operations by such insured, contractor or subcontractor. However, this subparagraph does not
                 apply to:
                 (i) "Bodily injury" or "property damage" arising out of the escape of fuels, lubricants or other
                       operating fluids which are needed to perform the normal electrical, hydraulic or mechanical
                       functions necessary for the operation of "mobile equipment" or its parts, if such fuels,
                       lubricants or other operating fluids escape from a vehicle part designed to hold, store or
                       receive them. This exception does not apply if the "bodily injury" or "property damage" arises
                       out of the intentional discharge, dispersal or release of the fuels, lubricants or other operating
                       fluids, or if such fuels, lubricants or other operating fluids are brought on or to the premises,
                       site or location with the intent that they be discharged, dispersed or released as part of the
                       operations being performed by such insured, contractor or subcontractor;
                 (ii) "Bodily injury" or "property damage" sustained within a building and caused by the release of
                       gases, fumes or vapors from materials brought into that building in connection with
                       operations being performed by you or on your behalf by a contractor or subcontractor; or
                 (iii) "Bodily injury" or "property damage" arising out of heat, smoke or fumes from a "hostile fire".
             (e) At or from any premises, site or location on which any insured or any contractors or
                 subcontractors working directly or indirectly on any insured's behalf are performing operations if
                 the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or
                 in any way respond to, or assess the effects of, "pollutants".
         (2) Any loss, cost or expense arising out of any:
             (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                 monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
                 assess the effects of, "pollutants"; or
             (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
                 monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                 responding to, or assessing the effects of, "pollutants".
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            However, this paragraph does not apply to liability for damages because of "property damage" that
            the insured would have in the absence of such request, demand, order or statutory or regulatory
            requirement, or such claim or "suit" by or on behalf of a governmental authority.
    g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to
       others of any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use
       includes operation and "loading or unloading".
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
       supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
       caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment
       to others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any
       insured.
       This exclusion does not apply to:
       (1) A watercraft while ashore on premises you own or rent;
         (2) A watercraft you do not own that is:
             (a) Less than 26 feet long; and
             (b) Not being used to carry persons or property for a charge;
         (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not
             owned by or rented or loaned to you or the insured;
         (4) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or
             watercraft; or
         (5) "Bodily injury" or "property damage" arising out of:
             (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                 qualify under the definition of "mobile equipment" if it were not subject to a compulsory or
                 financial responsibility law or other motor vehicle insurance law where it is licensed or principally
                 garaged; or
           (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the
                definition of "mobile equipment".
    h. Mobile Equipment
       "Bodily injury" or "property damage" arising out of:
       (1) The transportation of "mobile equipment" by an "auto" owned or operated by or rented or loaned to
           any insured; or
       (2) The use of "mobile equipment" in, or while in practice for, or while being prepared for, any
           prearranged racing, speed, demolition, or stunting activity.
    i. War
         "Bodily injury" or "property damage", however caused, arising, directly or indirectly, out of:
         (1) War, including undeclared or civil war;
         (2) Warlike action by a military force, including action in hindering or defending against an actual or
             expected attack, by any government, sovereign or other authority using military personnel or other
             agents; or
         (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
             hindering or defending against any of these.
    j.   Damage To Property
         "Property damage" to:
         (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other
             person, organization or entity, for repair, replacement, enhancement, restoration or maintenance of
             such property for any reason, including prevention of injury to a person or damage to another's
             property;
         (2) Premises you sell, give away or abandon, if the "property damage" arises out of any part of those
             premises;
         (3) Property loaned to you;
         (4) Personal property in the care, custody or control of the insured;

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        (5) That particular part of real property on which you or any contractors or subcontractors working directly
             or indirectly on your behalf are performing operations, if the "property damage" arises out of those
             operations; or
        (6) That particular part of any property that must be restored, repaired or replaced because "your work"
             was incorrectly performed on it.
        Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than damage by
        fire) to premises, including the contents of such premises, rented to you for a period of seven or fewer
        consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as
        described in Section III – Limits Of Insurance.
        Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never occupied,
        rented or held for rental by you.
        Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
        agreement.
        Paragraph (6) of this exclusion does not apply to "property damage" included in the "products-completed
        operations hazard".
    k. Damage To Your Product
       "Property damage" to "your product" arising out of it or any part of it.
    l. Damage To Your Work
        "Property damage" to "your work" arising out of it or any part of it and included in the "products-completed
        operations hazard".
        This exclusion does not apply if the damaged work or the work out of which the damage arises was
        performed on your behalf by a subcontractor.
    m. Damage To Impaired Property Or Property Not Physically Injured
       "Property damage" to "impaired property" or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in "your product" or "your work"; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
            accordance with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental
       physical injury to "your product" or "your work" after it has been put to its intended use.
    n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal,
       recall, inspection, repair, replacement, adjustment, removal or disposal of:
       (1) "Your product";
       (2) "Your work"; or
       (3) "Impaired property";
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in
       it.
    o. Personal And Advertising Injury
       "Bodily injury" arising out of "personal and advertising injury".
    p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability
       to manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of "bodily injury".
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created
       or used on, or transmitted to or from computer software, including systems and applications software,
       hard or floppy disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which
       are used with electronically controlled equipment.
    q. Recording And Distribution Of Material Or Information In Violation Of Law
       "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or
       omission that violates or is alleged to violate:

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         (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
             law;
      (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
      (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
          Fair and Accurate Credit Transaction Act (FACTA); or
      (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
          2003 or FCRA and their amendments and additions, or any other legal liability, at common law or
          otherwise, that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring,
          collecting, recording, use of, sending, transmitting, communicating or distribution of material or
          information.
  Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily
  occupied by you with permission of the owner. A separate limit of insurance applies to this coverage as
  described in Section III – Limits Of Insurance.
COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
1. Insuring Agreement
   a. We will pay those sums that the insured becomes legally obligated to pay as damages because of
       "personal and advertising injury" to which this insurance applies. We will have the right and duty to
       defend the insured against any "suit" seeking those damages. However, we will have no duty to defend
       the insured against any "suit" seeking damages for "personal and advertising injury" to which this
       insurance does not apply. We may, at our discretion, investigate any offense and settle any claim or
       "suit" that may result. But:
       (1) The amount we will pay for damages and "allocated loss adjustment expenses" is limited as
            described in Section III – Limits Of Insurance; and
       (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the
            payment of:
               (a) Judgments or settlements under coverages A or B;
               (b) Medical expenses under Coverage C; or
           (c) "Allocated loss adjustment expenses".
       No other obligation or liability to pay sums or perform acts or services is covered.
   b. This insurance applies to "personal and advertising injury" caused by an offense arising out of your
       business but only if the offense was committed in the "coverage territory" during the policy period.
2. Exclusions
   This insurance does not apply to:
   a. Knowing Violation Of Rights Of Another
       "Personal and advertising injury" caused by or at the direction of the insured with the knowledge that the
       act would violate the rights of another and would inflict "personal and advertising injury".
   b. Material Published With Knowledge Of Falsity
       "Personal and advertising injury" arising out of oral or written publication, in any manner, of material, if
       done by or at the direction of the insured with knowledge of its falsity.
   c. Material Published Prior To Policy Period
       "Personal and advertising injury" arising out of oral or written publication, in any manner, of material
       whose first publication took place before the beginning of the policy period.
   d. Criminal Acts
       "Personal and advertising injury" arising out of a criminal act committed by or at the direction of the
       insured.
    e. Contractual Liability
       "Personal and advertising injury" for which the insured has assumed liability in a contract or agreement.
       This exclusion does not apply to liability for damages that the insured would have in the absence of the
       contract or agreement.
    f. Breach Of Contract
         "Personal and advertising injury" arising out of a breach of contract, except an implied contract to use
         another's advertising idea in your "advertisement".

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    g. Quality Or Performance Of Goods – Failure To Conform To Statements
       "Personal and advertising injury" arising out of the failure of goods, products or services to conform with
       any statement of quality or performance made in your "advertisement".
    h. Wrong Description Of Prices
       "Personal and advertising injury" arising out of the wrong description of the price of goods, products or
       services stated in your "advertisement".
    i. Infringement Of Copyright, Patent, Trademark Or Trade Secret
       "Personal and advertising injury" arising out of the infringement of copyright, patent, trademark, trade
       secret or other intellectual property rights. Under this exclusion, such other intellectual property rights do
       not include the use of another's advertising idea in your "advertisement".
       However, this exclusion does not apply to infringement, in your "advertisement", of copyright, trade dress
       or slogan.
    j. Insureds In Media And Internet Type Businesses
       "Personal and advertising injury" committed by an insured whose business is:
         (1) Advertising, broadcasting, publishing or telecasting;
         (2) Designing or determining content of web sites for others; or
         (3) An Internet search, access, content or service provider.
         However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
         under the Definitions section.
       For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
       anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing
       or telecasting.
    k. Electronic Chatrooms Or Bulletin Boards
         "Personal and advertising injury" arising out of an electronic chatroom or bulletin board the insured hosts,
         owns, or over which the insured exercises control.
    l. Unauthorized Use Of Another's Name Or Product
       "Personal and advertising injury" arising out of the unauthorized use of another's name or product in your
       e-mail address, domain name or metatag, or any other similar tactics to mislead another's potential
       customers.
    m. Pollution
       "Personal and advertising injury" arising out of the actual, alleged or threatened discharge, dispersal,
       seepage, migration, release or escape of "pollutants" at any time.
    n. Pollution-related
       Any loss, cost or expense arising out of any:
       (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
           monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
           the effects of, "pollutants"; or
       (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
           monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
           responding to, or assessing the effects of, "pollutants".
    o. War
         "Personal and advertising injury", however caused, arising, directly or indirectly, out of:
         (1) War, including undeclared or civil war;
         (2) Warlike action by a military force, including action in hindering or defending against an actual or
             expected attack, by any government, sovereign or other authority using military personnel or other
             agents; or
         (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
             hindering or defending against any of these.
    p. Recording And Distribution Of Material Or Information In Violation Of Law
         "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission
         that violates or is alleged to violate:
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         (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
             law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
           Fair and Accurate Credit Transaction Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
           2003 or FCRA and their amendments and additions, or any other legal liability, at common law or
           otherwise, that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring,
           collecting, recording, use of, sending, transmitting, communicating or distribution of material or
           information.
COVERAGE C – MEDICAL PAYMENTS
1. Insuring Agreement
   a. We will pay medical expenses as described below for "bodily injury" caused by an accident:
       (1) On premises you own or rent;
         (2) On ways next to premises you own or rent; or
         (3) Because of your operations;
         provided that:
             (a) The accident takes place in the "coverage territory" and during the policy period;
             (b) The expenses are incurred and reported to us within one year of the date of the accident; and
               (c) The injured person submits to examination, at our expense, by physicians of our choice as often
                   as we reasonably require.
    b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
       insurance. We will pay reasonable expenses for:
         (1) First aid administered at the time of an accident;
         (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
      (3) Necessary ambulance, hospital, professional nursing and funeral services.
2. Exclusions
   We will not pay expenses for "bodily injury":
   a. Any Insured
      To any insured, except "volunteer workers".
   b. Hired Person
      To a person hired to do work for or on behalf of any insured or a tenant of any insured.
   c. Injury On Normally Occupied Premises
      To a person injured on that part of premises you own or rent that the person normally occupies.
    d. Workers' Compensation And Similar Laws
       To a person, whether or not an "employee" of any insured, if benefits for the "bodily injury" are payable or
       must be provided under a workers' compensation or disability benefits law or a similar law.
    e. Athletics Activities
       To a person injured while practicing, instructing or participating in any physical exercises or games,
       sports, or athletic contests.
    f. Products-Completed Operations Hazard
       Included within the "products-completed operations hazard".
    g. Coverage A Exclusions
      Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1. We will pay, with respect to any claim we investigate or settle, or any "suit" against an insured we defend:
    a. All expenses we incur.



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    b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the
       use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these
       bonds.
    c. The cost of bonds to release attachments, but only for bond amounts within the applicable limit of
       insurance. We do not have to furnish these bonds.
    d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense
       of the claim or "suit", including actual loss of earnings up to $250 a day because of time off from work.
    e. All court costs taxed against the insured in the "suit". However, these payments do not include attorneys'
       fees or attorneys' expenses taxed against the insured.
    f. Prejudgment interest awarded against the insured on that part of the judgment we pay. If we make an
       offer to pay the applicable limit of insurance, we will not pay any prejudgment interest based on that
       period of time after the offer.
    g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we
       have paid, offered to pay, or deposited in court the part of the judgment that is within the applicable limit
       of insurance.
   These payments will reduce the limits of insurance.
2. If we defend an insured against a "suit" and an indemnitee of the insured is also named as a party to the
   "suit", we will defend that indemnitee if all of the following conditions are met:
    a. The "suit" against the indemnitee seeks damages for which the insured has assumed the liability of the
       indemnitee in a contract or agreement that is an "insured contract";
    b. This insurance applies to such liability assumed by the insured;
    c. The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the
       insured in the same "insured contract";
    d. The allegations in the "suit" and the information we know about the "occurrence" are such that no conflict
       appears to exist between the interests of the insured and the interests of the indemnitee;
    e. The indemnitee and the insured ask us to conduct and control the defense of that indemnitee against
       such "suit" and agree that we can assign the same counsel to defend the insured and the indemnitee; and
    f.   The indemnitee:
         (1) Agrees in writing to:
             (a) Cooperate with us in the investigation, settlement or defense of the "suit";
             (b) Immediately send us copies of any demands, notices, summonses or legal papers received in
                 connection with the "suit";
             (c) Notify any other insurer whose coverage is available to the indemnitee; and
             (d) Cooperate with us with respect to coordinating other applicable insurance available to the
                 indemnitee; and
         (2) Provides us with written authorization to:
             (a) Obtain records and other information related to the "suit"; and
             (b) Conduct and control the defense of the indemnitee in such "suit".
    So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee,
    necessary litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at
    our request will be paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of
    Section I – Coverage A – Bodily Injury And Property Damage Liability, such payments will not be deemed to
    be damages for "bodily injury" and "property damage" but will reduce the limits of insurance as "allocated loss
    adjustment expenses".
   Our obligation to defend an insured's indemnitee and to pay for attorneys' fees and necessary litigation
   expenses as Supplementary Payments ends when we have used up the applicable limit of insurance in the
   payment of judgments, settlements or "allocated loss adjustment expenses" or the conditions set forth above,
   or the terms of the agreement described in Paragraph f. above, are no longer met.
SECTION II – WHO IS AN INSURED
1. If you are designated in the Declarations as:
   a. An individual, you and your spouse are insureds, but only with respect to the conduct of a business of
        which you are the sole owner.

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    b. A partnership or joint venture, you are an insured. Your members, your partners, and their spouses are
       also insureds, but only with respect to the conduct of your business.
   c. A limited liability company, you are an insured. Your members are also insureds, but only with respect to
      the conduct of your business. Your managers are insureds, but only with respect to their duties as your
      managers.
   d. An organization other than a partnership, joint venture or limited liability company, you are an insured.
      Your "executive officers" and directors are insureds, but only with respect to their duties as your officers
      or directors. Your stockholders are also insureds, but only with respect to their liability as stockholders.
   e. A trust, you are an insured. Your trustees are also insureds, but only with respect to their duties as
      trustees.
2. Each of the following is also an insured:
   a. Your "volunteer workers" only while performing duties related to the conduct of your business, or your
      "employees", other than either your "executive officers" (if you are an organization other than a
      partnership, joint venture or limited liability company) or your managers (if you are a limited liability
      company), but only for acts within the scope of their employment by you or while performing duties
      related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
      insureds for:
      (1) "Bodily injury" or "personal and advertising injury":
           (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
               (if you are a limited liability company), to a co-"employee" while in the course of his or her
               employment or performing duties related to the conduct of your business, or to your other
               "volunteer workers" while performing duties related to the conduct of your business;
           (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
               consequence of Paragraph (1)(a) above;
           (c) For which there is any obligation to share damages with or repay someone else who must pay
               damages because of the injury described in Paragraph (1)(a) or (b) above; or
           (d) Arising out of his or her providing or failing to provide professional health care services.
        (2) "Property damage" to property:
             (a) Owned, occupied or used by;
             (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for
                  any purpose by;
             you, any of your "employees", "volunteer workers", any partner or member (if you are a partnership or
             joint venture), or any member (if you are a limited liability company).
    b. Any person (other than your "employee" or "volunteer worker"), or any organization while acting as your
        real estate manager.
    c. Any person or organization having proper temporary custody of your property if you die, but only:
        (1) With respect to liability arising out of the maintenance or use of that property; and
        (2) Until your legal representative has been appointed.
    d. Your legal representative if you die, but only with respect to duties as such. That representative will have
        all your rights and duties under this Coverage Part.
3. Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company,
    and over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no
    other similar insurance available to that organization. However:
    a. Coverage under this provision is afforded only until the 90th day after you acquire or form the
        organization or the end of the policy period, whichever is earlier;
    b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired or
        formed the organization; and
    c. Coverage B does not apply to "personal and advertising injury" arising out of an offense committed before
        you acquired or formed the organization.
No person or organization is an insured with respect to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown as a Named Insured in the Declarations.




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SECTION III – LIMITS OF INSURANCE
1. The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of
   the number of:
   a. Insureds;
   b. Claims made or "suits" brought; or
   c. Persons or organizations making claims or bringing "suits".
2. The General Aggregate Limit is the most we will pay for the sum of:
   a. Medical expenses under Coverage C;
   b. Damages under Coverage A, except damages because of "bodily injury" or "property damage" included
        in the "products-completed operations hazard";
   c. Damages under Coverage B; and
   d. "Allocated loss adjustment expenses" arising from a., b., or c. above.
3. The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
   because of "bodily injury" and "property damage" included in the "products-completed operations hazard" and
   "allocated loss adjustment expenses" arising from claims or "suits" for damages under coverage A because of
   "bodily injury" or "property damage" included in the "products-completed operations hazard".
4. Subject to Paragaph 2. above, the Personal And Advertising Injury Limit is the most we will pay under
   Coverage B for the sum of all damages because of all "personal and advertising injury" sustained by any one
   person or organization and "allocated loss adjustment expenses" arising from claims or "suits" for damages
   under Coverage B.
5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for
   the sum of:
   a. Damages under Coverage A;
   b. "Allocated loss adjustment expenses" arising from damages under Coverage A; and
    c. Medical expenses under Coverage C
      because of all "bodily injury" and "property damage" arising out of any one "occurrence".
6. Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
     Coverage A for damages because of "property damage" to any one premises, while rented to you, or in the
     case of damage by fire, while rented to you or temporarily occupied by you with permission of the owner and
     related "allocated loss adjustment expenses".
7. Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all
     medical expenses because of "bodily injury" sustained by any one person.
The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any
remaining period of less than 12 months, starting with the beginning of the policy period shown in the
Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months.
In that case, the additional period will be deemed part of the last preceding period for purposes of determining the
Limits of Insurance.
SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
1. Bankruptcy
   Bankruptcy or insolvency of the insured or of the insured's estate will not relieve us of our obligations under
   this Coverage Part.
2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
    a. You must see to it that we are notified as soon as practicable of an "occurrence" or an offense which may
       result in a claim. To the extent possible, notice should include:
       (1) How, when and where the "occurrence" or offense took place;
       (2) The names and addresses of any injured persons and witnesses; and
       (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.
    b. If a claim is made or "suit" is brought against any insured, you must:
        (1) Immediately record the specifics of the claim or "suit" and the date received; and
        (2) Notify us as soon as practicable.
        You must see to it that we receive written notice of the claim or "suit" as soon as practicable.
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   c. You and any other involved insured must:
      (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
          connection with the claim or "suit";
      (2) Authorize us to obtain records and other information;
      (3) Cooperate with us in the investigation or settlement of the claim or defense against the "suit"; and
      (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
          may be liable to the insured because of injury or damage to which this insurance may also apply.
   d. No insured will, except at that insured's own cost, voluntarily make a payment, assume any obligation, or
      incur any expense, other than for first aid, without our consent.
3. Legal Action Against Us
   No person or organization has a right under this Coverage Part:
   a. To join us as a party or otherwise bring us into a "suit" asking for damages from an insured; or
   b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
   A person or organization may sue us to recover on an agreed settlement or on a final judgment against an
   insured; but we will not be liable for damages that are not payable under the terms of this Coverage Part or
   that are in excess of the applicable limit of insurance. An agreed settlement means a settlement and release
   of liability signed by us, the insured and the claimant or the claimant's legal representative.
4. Other Insurance
   If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B
   of this Coverage Part, our obligations are limited as follows:
   a. Primary Insurance
         This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
         obligations are not affected unless any of the other insurance is also primary. Then, we will share with all
         that other insurance by the method described in Paragraph c. below.
    b. Excess Insurance
         (1) This insurance is excess over:
             (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                 (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for "your
                       work";
                 (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with
                       permission of the owner;
                 (iii) That is insurance purchased by you to cover your liability as a tenant for "property damage"
                       to premises rented to you or temporarily occupied by you with permission of the owner; or
                 (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent
                       not subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage
                       Liability.
             (b) Any other primary insurance available to you covering liability for damages arising out of the
                 premises or operations, or the products and completed operations, for which you have been
                 added as an additional insured.
         (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the insured
             against any "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
             insurer defends, we will undertake to do so, but we will be entitled to the insured's rights against all
             those other insurers.
         (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the
             loss, if any, that exceeds the sum of:
             (a) The total amount that all such other insurance would pay for the loss in the absence of this
                 insurance; and
             (b) The total of all deductible and self-insured amounts under all that other insurance.
         (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
             Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance
             shown in the Declarations of this Coverage Part.



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   c. Method Of Sharing
      If all of the other insurance permits contribution by equal shares, we will follow this method also. Under
      this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or
      none of the loss remains, whichever comes first.
      If any of the other insurance does not permit contribution by equal shares, we will contribute by limits.
      Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the
      total applicable limits of insurance of all insurers.
5. Premium Audit
   a. We will compute all premiums for this Coverage Part in accordance with our rules and rates.
   b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of
      each audit period we will compute the earned premium for that period and send notice to the first Named
      Insured. The due date for audit and retrospective premiums is the date shown as the due date on the bill.
      If the sum of the advance and audit premiums paid for the policy period is greater than the earned
      premium, we will return the excess to the first Named Insured.
   c. The first Named Insured must keep records of the information we need for premium computation, and
       send us copies at such times as we may request.
6. Representations
   By accepting this policy, you agree:
    a. The statements in the Declarations are accurate and complete;
    b. Those statements are based upon representations you made to us; and
    c. We have issued this policy in reliance upon your representations.
7. Separation Of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage
   Part to the first Named Insured, this insurance applies:
   a. As if each Named Insured were the only Named Insured; and
   b. Separately to each insured against whom claim is made or "suit" is brought.
8. Transfer Of Rights Of Recovery Against Others To Us
   If the insured has rights to recover all or part of any payment we have made under this Coverage Part, those
   rights are transferred to us. The insured must do nothing after loss to impair them. At our request, the insured
   will bring "suit" or transfer those rights to us and help us enforce them.
9. When We Do Not Renew
   If we decide not to renew this Coverage Part, we will mail or deliver to the first Named Insured shown in the
   Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
   If notice is mailed, proof of mailing will be sufficient proof of notice.
10. Duties – Claim Settlement and Allocated Loss Adjustment Expenses
    As soon as our right and duty to defend the insured against any "suit" seeking damages end, you will
    promptly assume control of the settlement of claims and defense of "suits". A list of outstanding claims and
    "suits" will be made available to the First Named Insured upon request.
SECTION V – DEFINITIONS
1. "Advertisement" means a notice that is broadcast or published to the general public or specific market
   segments about your goods, products or services for the purpose of attracting customers or supporters. For
   the purposes of this definition:
   a. Notices that are published include material placed on the Internet or on similar electronic means of
       communication; and
   b. Regarding web sites, only that part of a web site that is about your goods, products or services for the
       purposes of attracting customers or supporters is considered an advertisement.
2. "Allocated loss adjustment expense" is an expense directly allocable to a specific claim and includes but is
   not limited to all Supplementary Payments as set forth in this policy; all court costs, fees and expenses; all
   costs, fees and expenses for all attorneys, witnesses, experts, depositions, reported or recorded statements,
   summonses, service of process, legal transcripts or testimony, copies of any public records; alternative
   dispute resolution; interest; investigative services, non-employee adjusters, medical examinations, autopsies,
   medical cost containment; declaratory judgment, subrogation, and any other fees, costs or expenses

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     reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under this
     policy.
3.  "Auto" means:
   a. A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached
       machinery or equipment; or
   b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
       insurance law where it is licensed or principally garaged.
   However, "auto" does not include "mobile equipment".
4. "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death resulting from
   any of these at any time.
5. "Coverage territory" means:
   a. The United States of America (including its territories and possessions), Puerto Rico and Canada;
   b. International waters or airspace, but only if the injury or damage occurs in the course of travel or
       transportation between any places included in Paragraph a. above; or
   c. All other parts of the world if the injury or damage arises out of:
       (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
       (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away
           for a short time on your business; or
       (3) "Personal and advertising injury" offenses that take place through the Internet or similar electronic
           means of communication;
   provided the insured's responsibility to pay damages is determined in a "suit" on the merits, in the territory
   described in Paragraph a. above or in a settlement we agree to.
6. "Employee" includes a "leased worker". "Employee" does not include a "temporary worker".
7. "Executive officer" means a person holding any of the officer positions created by your charter, constitution,
   bylaws or any other similar governing document.
8. "Hostile fire" means one which becomes uncontrollable or breaks out from where it was intended to be.
9. "Impaired property" means tangible property, other than "your product" or "your work", that cannot be used or
    is less useful because:
    a. It incorporates "your product" or "your work" that is known or thought to be defective, deficient,
         inadequate or dangerous; or
    b. You have failed to fulfill the terms of a contract or agreement;
    if such property can be restored to use by the repair, replacement, adjustment or removal of "your product" or
    "your work" or your fulfilling the terms of the contract or agreement.
10. "Insured contract" means:
    a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that
         indemnifies any person or organization for damage by fire to premises while rented to you or temporarily
         occupied by you with permission of the owner is not an "insured contract";
     b. A sidetrack agreement;
     c. Any easement or license agreement, except in connection with construction or demolition operations on
        or within 50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e. An elevator maintenance agreement;
     f. That part of any other contract or agreement pertaining to your business (including an indemnification of a
        municipality in connection with work performed for a municipality) under which you assume the tort liability
        of another party to pay for "bodily injury" or "property damage" to a third person or organization. Tort
        liability means a liability that would be imposed by law in the absence of any contract or agreement.
        Paragraph f. does not include that part of any contract or agreement:
         (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction or
             demolition operations, within 50 feet of any railroad property and affecting any railroad bridge or
             trestle, tracks, road-beds, tunnel, underpass or crossing;
         (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
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             (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                 surveys, field orders, change orders or drawings and specifications; or
             (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                 damage; or
         (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
             damage arising out of the insured's rendering or failure to render professional services, including
             those listed in (2) above and supervisory, inspection, architectural or engineering activities.
11. "Leased worker" means a person leased to you by a labor leasing firm under an agreement between you and
    the labor leasing firm, to perform duties related to the conduct of your business. "Leased worker" does not
    include a "temporary worker".
12. "Loading or unloading" means the handling of property:
    a. After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or
         "auto";
    b. While it is in or on an aircraft, watercraft or "auto"; or
    c. While it is being moved from an aircraft, watercraft or "auto" to the place where it is finally delivered;
    but "loading or unloading" does not include the movement of property by means of a mechanical device, other
    than a hand truck, that is not attached to the aircraft, watercraft or "auto".
13. "Mobile equipment" means any of the following types of land vehicles, including any attached machinery or
    equipment:
    a. Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
    b. Vehicles maintained for use solely on or next to premises you own or rent;
    c. Vehicles that travel on crawler treads;
    d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
       (1) Power cranes, shovels, loaders, diggers or drills; or
         (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
    e. Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained
       primarily to provide mobility to permanently attached equipment of the following types:
       (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
           exploration, lighting and well servicing equipment; or
       (2) Cherry pickers and similar devices used to raise or lower workers;
    f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than
         the transportation of persons or cargo.
         However, self-propelled vehicles with the following types of permanently attached equipment are not
         "mobile equipment" but will be considered "autos":
         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
        (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
            exploration, lighting and well servicing equipment.
    However, "mobile equipment" does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land
    vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
    considered "autos".
14. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same
    general harmful conditions.
15. "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of one or
    more of the following offenses:
    a. False arrest, detention or imprisonment;
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    b. Malicious prosecution;
    c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
        dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
        disparages a person's or organization's goods, products or services;
    e. Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f. The use of another's advertising idea in your "advertisement"; or
    g. Infringing upon another's copyright, trade dress or slogan in your "advertisement".
16. "Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
    reclaimed.
17. "Products-completed operations hazard":
    a. Includes all "bodily injury" and "property damage" occurring away from premises you own or rent and
        arising out of "your product" or "your work" except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, "your work" will be deemed
             completed at the earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work
                 at more than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.
    b. Does not include "bodily injury" or "property damage" arising out of:
        (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
            not owned or operated by you, and that condition was created by the "loading or unloading" of that
            vehicle by any insured;
        (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
        (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule,
            states that products-completed operations are subject to the General Aggregate Limit.
18. "Property damage" means:
    a. Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
        shall be deemed to occur at the time of the physical injury that caused it; or
    b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to
        occur at the time of the "occurrence" that caused it.
    For the purposes of this insurance, electronic data is not tangible property.
    As used in this definition, electronic data means information, facts or programs stored as or on, created or
    used on, or transmitted to or from computer software, including systems and applications software, hard or
    floppy disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with
    electronically controlled equipment.
19. "Suit" means a civil proceeding in which damages because of "bodily injury", "property damage" or "personal
    and advertising injury" to which this insurance applies are alleged. "Suit" includes:
    a. An arbitration proceeding in which such damages are claimed and to which the insured must submit or
        does submit with our consent; or
    b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
        insured submits with our consent.
20. "Temporary worker" means a person who is furnished to you to substitute for a permanent "employee" on
    leave or to meet seasonal or short-term workload conditions.
21. "Volunteer worker" means a person who is not your "employee", and who donates his or her work and acts at
    the direction of and within the scope of duties determined by you, and is not paid a fee, salary or other
    compensation by you or anyone else for their work performed for you.

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22. "Your product":
    a. Means:
       (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed
           of by:
           (a) You;
           (b) Others trading under your name; or
           (c) A person or organization whose business or assets you have acquired; and
       (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such
           goods or products.
    b. Includes:
       (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
           performance or use of "your product"; and
       (2) The providing of or failure to provide warnings or instructions.
    c. Does not include vending machines or other property rented to or located for the use of others but not
       sold.
23. "Your work":
    a. Means:
       (1) Work or operations performed by you or on your behalf; and
       (2) Materials, parts or equipment furnished in connection with such work or operations.
    b. Includes:
       (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
           performance or use of "your work"; and
       (2) The providing of or failure to provide warnings or instructions.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agreement                                                 (2) A "claim" will be deemed to have been made
                                                                            when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes
                                                                            corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an
                                                                            comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the
                                                                            same person or organization will be deemed to
        "insured’s" "employee benefit programs". We will
                                                                            have been made at the time the first of those
        have the right and duty to defend the "insured"
                                                                            "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against       2.   Exclusions
        any "suit" seeking damages for any act, error, or
        omission for which this insurance does not apply.               This insurance does not apply to:
        We may, at our discretion, investigate any "claim"              A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                        and advertising injury";
         (1) The amount we pay for damages is limited as                B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                        C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                     tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settlements un-             D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                 or other provider’s failure to perform its con-
                                                                           tract;
         No other obligation or liability to pay sums or per-
         form acts or services is covered unless explicitly             E. Any "claim" or "suit" arising out of your failure
         provided for under Supplementary Payments of this                 to comply with any workers compensation, un-
         Coverage Part.                                                    employment insurance, social security, disabil-
                                                                           ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                               F. Any "claim" or "suit" arising out of the failure of
                                                                           any of your "employee benefit plans" to meet
             a.   A "claim" arising out of the act, error or               obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                             G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                (1) Advice given to any person to participate
                  the "coverage territory";                                     or not participate in a plan or program in-
                                                                                cluded in "employee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                    (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                         any investment manager, administrator,
                  "claim" or "suit"; and                                        trustee, actuary, advisor, counsel, account-
                                                                                ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-          C. Subject to the Aggregate Limit provisions in B.
                 agement, administration or disposition of               above, the Each Claim Limit is the most we will
                 assets of your "employee benefit pro-                   pay for all damages sustained by any one "em-
                 grams"; or                                              ployee", including the "employee’s" dependents and
                                                                         beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as
                                                                         committed in the "administration" of your "em-
                 represented by any "insured".
                                                                         ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"
                                                                      D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:
                                                                         each consecutive annual period and to any remain-
              a.   The Employee Retirement Income Secu-                  ing period of less than 12 months starting with the
                   rity Act of 1974 (PL93-406) and its                   beginning of the policy period shown in the Decla-
                   amendments; or                                        rations, unless the policy period is extended after is-
                                                                         suance for an additional period of less than 12
             b.    The Internal Revenue Code of 1986 (in-                months. In that case, the additional period will be
                   cluding the Internal Revenue Code of                  deemed part of the last preceding period for pur-
                   1954) and its amendments.                             poses of determining the Limits of Insurance.
    3.   Supplementary Payments                                   III. Conditions
         We will pay, in addition to the applicable Limits of         A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                              Bankruptcy or insolvency of the "insured" or the "in-
                                                                          sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by           B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                Claim or Suit
            judgment which accrues after entry of the
                                                                          (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered
                                                                              plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment
                                                                              that we are notified as soon as practicable of
            which does not exceed the limit of our insur-
                                                                              any act, error, or omission which may result in
            ance.
                                                                              a "claim". To the extent possible, notice should
         B. Premiums on appeal bonds required and on                          include:
            bonds to release attachments in any "suit". We
                                                                              a.    How, when, and where the act, error, or
            do not have to furnish these bonds.
                                                                                    omission took place;
         C. All reasonable expenses incurred by the "in-
                                                                              b.    The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                    "employee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-
                                                                                    of any "employee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                    Notice of an act, error, or omission is not notice
                                                                              of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                   must:
            insurance, we will not pay any prejudgment in-
            terest based on that period of time after the of-                 a.    Immediately record the specifics of the
            fer.                                                                    "claim" and the date received; and

II. Limits of Insurance                                                       b.    Notify us as soon as practicable.

    A. The Limits of Insurance shown in the Declarations                      You must see to it that we receive written no-
       and the rules below establish the most we will pay                     tice of the "claim" as soon as practicable.
       regardless of the number of:                                       (3) You and any other involved "insured" must:
         (1) "Insureds";                                                      a.    Immediately send us copies of any de-
         (2) "Claims" made or "suits" brought; or                                   mands, notices, summonses, or legal papers
                                                                                    received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                          "suit";
             "employees" making "claims" or bringing "suits".
                                                                              b.    Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                          information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "employee benefit
       programs" during the policy period.


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       c.   Cooperate with us in the investigation, set-                When this insurance is excess, we will have no
            tlement, or defense of the "claim" or "suit";               duty to defend any "claim" or "suit" that any
            and                                                         other insurer has a duty to defend. If no other
                                                                        insurer defends, we will undertake to do so, but
       d.   Assist us, upon our request, in the en-
                                                                        we will be entitled to the "insured’s" rights
            forcement of any right against any person
                                                                        against all those other insurers.
            or organization which may be liable to the
            "insured" because of injury to which this in-               When this insurance is excess over other insur-
            surance may also apply.                                     ance, we will pay only our share of the amount
                                                                        of the loss, if any, that exceeds the sum of:
   (4) No insureds will, except at their own cost, vol-
       untarily make a payment, assume any obliga-                      i.    The total amount that all such other insur-
       tion, or incur any expense without our consent.                        ance would pay for the loss in the absence
                                                                              of this insurance; and
C. Legal Action Against Us
                                                                        ii. The total of all deductible and self-insured
   No person or organization has a right:
                                                                            amounts under all that other insurance.
   (1) To join us as a party or otherwise bring us into
                                                                        We will share the remaining loss, if any, with
       a "suit" asking for damages from an "insured";
                                                                        any other insurance that is not described in this
       or
                                                                        Excess Insurance provision and was not bought
   (2) To sue us on this Coverage Part unless all of its                specifically to apply in excess of the Limits of
       terms have been fully complied with.                             Insurance shown in the Declarations of this
                                                                        Coverage Part.
   A person or organization may sue us to recover on
   an agreed settlement or on a final judgment against              (3) Method of Sharing
   an "insured" obtained after an actual trial, but we
                                                                        If all of the other insurance permits contribu-
   will not be liable for damages that are not payable
                                                                        tion by equal shares, we will follow this method
   under the terms of this Coverage Part or that are in
                                                                        also. Under this approach, each insurer con-
   excess of the applicable limit of insurance. An
                                                                        tributes equal amounts until it has paid its ap-
   agreed settlement means a settlement and release
                                                                        plicable limit of insurance or none of the loss
   of liability signed by us, the "insured", and the
                                                                        remains, whichever comes first.
   claimant or the claimant’s legal representative.
                                                                        If any of the other insurance does not permit
D. Other Insurance
                                                                        contribution by equal shares, we will contribute
   If other valid and collectible insurance is available                by limits. Under this method, each insurer’s
   to the "insured" for a loss we cover under this Cov-                 share is based on the ratio of its applicable
   erage Part, our obligations are limited as follows:                  limit of insurance to the total applicable limits
                                                                        of insurance of all insurers.
   (1) Primary Insurance
                                                                E. Separation of Insureds
       This insurance is primary except when 2. below
       applies. If this insurance is primary, our obli-             Except with respect to the Limits of Insurance and
       gations are not affected unless any of the other             any rights or duties specifically assigned in this
       insurance is also primary. Then, we will share               Coverage Part to the first Named Insured, this in-
       with all that other insurance by the method de-              surance applies:
       scribed in 3. below.
                                                                    (1) As if each Named Insured were the only
   (2) Excess Insurance                                                 Named Insured; and
       This insurance is excess over any other insur-               (2) Separately to each "insured" against whom
       ance whether primary, excess, contingent, or on                  "claim" is made or "suit" is brought.
       any other basis that is effective prior to the be-
                                                                F. Transfer Of Rights Of Recovery Against Others To
       ginning of the policy period shown in the Dec-
                                                                   Us
       larations of this insurance and applies to an act,
       error, or omission on other than a claims-made               If the "insured" has rights to recover all or part of
       basis, if:                                                   any payment we made under this Coverage Part,
                                                                    those rights are transferred to us. The "insured"
       a.   No Retroactive Date is shown in the Dec-
                                                                    must do nothing after loss to impair them. At our
            larations of this insurance; or
                                                                    request, the "insured" will bring "suit" or transfer
       b.   The other insurance has a policy period                 those rights to us and help us enforce them.
            which continues after the Retroactive
                                                            IV. Definitions
            Date, if any, shown in the Declarations of
            this insurance.


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    A. "Advertisement" means a notice that is broadcast or             You and any of your partners, executive officers, di-
       published to the general public or specific market              rectors, members, stockholders or "employees",
       segments about your goods, products or services for             provided such "employee" is authorized to act in
       the purpose of attracting customers or supporters.              the "administration" of your "employee benefit pro-
       For the purposes of this definition:                            grams".
         (1) Notices that are published include material          I.   "Personal and advertising injury" means:
             placed on the Internet or on similar electronic
             means of communication; and                               Injury, including consequential "bodily injury", aris-
                                                                       ing out of one or more of the following offenses:
         (2) Regarding web-sites, only that part of a web-
             site that is about your goods, products or ser-           (1) False arrest, detention, or imprisonment;
             vices for the purposes of attracting customers or         (2) Malicious prosecution;
             supporters is considered an advertisement.
                                                                       (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                             or invasion of the right of private occupancy of,
         (1) Counseling "employees", including their de-                   a room, dwelling, or premises that a person oc-
             pendents and beneficiaries, with respect to                   cupies by or on behalf of its owner, landlord, or
             "employee benefit programs";                                  lessor;

         (2) Handling records in connection with "employee             (4) Oral or written publication, in any manner, of
             benefit programs"; or                                         material that slanders or libels a person or or-
                                                                           ganization or disparages a person’s or organi-
         (3) Effecting or terminating an "employee’s" par-                 zation’s goods, products, or services; or
             ticipation in a plan included in "employee
             benefit programs".                                        (5) Oral or written publication,’ in any manner, of
                                                                           material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-               vacy;
       ease sustained by a person, including death result-
       ing from any of these at any time.                              (6) The use of another’s advertising idea in your
                                                                           "advertisement"; or
     D. "Claim" means:
                                                                       (7) Infringing upon another’s copyright, trade dress
         The receipt by you of a demand for money or ser-                  or slogan in your "advertisement".
         vices which alleges an act, error, or omission in the
         "administration" of your "employee benefit pro-          J.   "Property damage" means:
         grams."                                                       (1) Physical injury to tangible property, including
     E. "Coverage territory" means:                                        all resulting loss of use of that property.

         (1) The United States of America (including its               (2) Loss of use of tangible property that is not
                                                                           physically injured.
             territories and possessions), Puerto Rico, and
             Canada; or                                                For the purposes of this insurance, electronic data is
         (2) All parts of the world if the "insured’s" respon-         not tangible property.
             sibility to pay damages is determined in a "suit"         As used in this definition, electronic data means in-
             on the merits, in the territory described in E. 1.        formation, facts or programs stored as or on, cre-
             above, or in a settlement to which we agree.              ated or used on, or transmitted to or from computer
    F. "Employee" means:                                               software, including systems and applications, soft-
                                                                       ware, hard or floppy disks, CD-ROMS, tapes,
         Your officers and employees, whether actively em-             drives, cells, data processing devices or any other
         ployed, disabled, or retired.                                 media which are used with electronically controlled
                                                                       equipment.
    G. "Employee benefit programs" mean:
                                                                  K. "Suit" means:
         Group life insurance, group accident or health in-
         surance, profit sharing plans, pension plans, em-             A civil proceeding in which damages to which this
         ployee stock subscription plans, workers compensa-            insurance applies is alleged. "Suit" includes:
         tion, unemployment insurance, salary continuation
         plans, social security, disability benefits insurance,        (1) An arbitration proceeding in which such dam-
         savings plans, vacation plans, or any other similar               ages are claimed and to which you must submit
         plans or programs.                                                or do submit with our consent; or

    H. "Insured" means:                                                (2) Any other alternative dispute resolution pro-
                                                                           ceeding in which such damages are claimed
                                                                           and to which you submit with our consent.



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Important Notice
Service of Suit and In Witness Clause



Service of Suit

In the event an action or proceeding arises under the contract, it is agreed that the Company, at your request, will submit
to the jurisdiction of a court of competent jurisdiction within the United States. Nothing in this condition constitutes or
should be understood to constitute a waiver or limitation of the right to arbitration as set forth herein or to commence an
action in any court of competent jurisdiction in the United States to remove an action to a United States District Court or to
seek a transfer of a case to another court as permitted by the laws of the United States or any state in the United States. It
is further agreed that service of process in such suit may be made upon Illinois Corporation Service Company, 801 Adlai
Stevenson Drive, Springfield, IL 62703. In any suit instituted against the Company upon this policy, the Company will
abide by the final decision of such court or of any appellate court in the event of an appeal.

Further, pursuant to any statute of any state, territory, or district of the United States which makes provision therefore, the
Company hereby designates the Superintendent, Commissioner or Director of Insurance, other officer specified for that
purpose in the statute, or his successors in office as its true and lawful attorney upon whom may be served any lawful
process in any action, suit, or proceeding instituted by or on behalf of the Insured of any beneficiary hereunder arising out
of this policy of insurance and hereby designates the above named Illinois Corporation Service Company as the entity to
whom the said officer is authorized to mail such process or a true copy thereof.


In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.

IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has caused
this policy to be countersigned by its duly Authorized Representative(s).




              President                                                                 Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                  Zurich in North America
                                                 Customer Inquiry Center
                                                     1400 American Lane
                                              Schaumburg, Illinois 60196-1056
                                     1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                             Email: info.source@zurichna.com




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                                                                                                        $                      $



This endorsement modifies insurance provided under the following:


Commercial General Liability Coverage Part

                                                              SCHEDULE


Each Occurrence Deductible:        ENDT

Each Occurrence Limit:             $ 1,000,000

Aggregate Limit:                   $ 1,000,000


    Insuring Agreement
    a.   We will pay for "property damage" to "covered property" in the care, custody, or control of the insured caused by an
         "occurrence" to which this insurance applies.


    b.   This insurance applies to "property damage" to "covered property" only if:
         (1) The "property damage" to "covered property" is caused by an "occurrence" that takes place in the "cover-
             age territory";
         (2) The "property damage" to "covered property" occurs during the policy period; and
         (3) The damages are incurred and reported to us within one year of the date of the "occurrence."


    c.   We will make these payments regardless of fault. These payments will not exceed the applicable limit of insurance.


    Exclusions
    We will not pay for damages for "property damage" to "covered property":
    a.   Eligible for coverage under COVERAGE A --- BODILY INJURY AND PROPERTY DAMAGE LIABILITY of
         the policy to which this endorsement is attached.
    b.   On premises owned, leased, rented or occupied with permission, by the insured.
    c.   Excluded under COVERAGE A --- BODILY INJURY AND PROPERTY DAMAGE LIABILITY, except for item
         (4) and (5) of exclusion j of the policy to which this endorsement is attached.
    d.   Which are tools or equipment of others in the care, custody or control of the insured.
    e.   Any architect, engineer, or surveyor engaged by you but only with respect to liability arising out of your premises or
         "your work."


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3.   Limits of Insurance
     a.   The Limited Care, Custody or Control Aggregate Limit shown in the SCHEDULE of this endorsement is
          the most we will pay for "property damage" to "covered property" under the coverage provided by this en-
          dorsement.
     b.   Subject to a. above, The Each Occurrence Limit shown in the SCHEDULE of this endorsement is the most
          we will pay in excess of the limited Care, Custody or Control deductible for "property damage" to "covered
          property" under the coverage provided by this endorsement arising out of any one "occurrence."


4. Other Insurance
If valid and collectible insurance is available to the insured for a loss we cover under this endorsement our obliga-
tions are limited as indicated in 4. Other Insurance of SECTION IV --- COMM ERCIAL GENERAL LIABILITY
CONDITIONS of the policy to which this endorsement is attached.


5. Definition
The following definition shall only apply as respects the Limited Care, Custody or Control coverage provided by this
endorsement.
"Covered Property" means:
a.   Personal property in the care, custody or control of the insured; or
b.   That particular part of real property on which you or any contractors or subcontractors working directly or indi-
     rectly on your behalf are performing operations, if the "property damage" arises out of those operations.




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Fungus Exclusion Endorsement

     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.          Producer             Add’l. Prem            Return Prem.
                                                                                                            $                      $


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products/ Completed Operations Liability Coverage Part


This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" caused directly or in-
directly, in whole or in part, by:
1.    Any "fungus(i)" or "spore(s)", or
2.    Any substance, vapor or gas produced by or arising out of any "fungus(i)" or "spore(s)", or
3.    Any material, product, building component, building or structure that contains, harbors, nurtures or acts as a medium
      for any "fungus(i)" or "spore(s)"
regardless of any other cause, event, material, product and/ or building component that contributed concurrently or in any
sequence to that injury or damage.


For purposes of this endorsement the following definitions are added:
      "Fungus(i)" includes, but is not limited to, any form or type of mold, mushroom or mildew.


      "Spore(s)" means any reproductive body produced by or arising out of any "fungus(i)".




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.       Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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Asbestos Exclusion Endorsement

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, demand, order, statutory or regulatory requirement, direction or determination that any insured or
              others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, demand, order, statutory or
              regulatory requirement, direction or determination that any insured or others test for, investigate, monitor,
              clean up, remove, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Welding Health Hazard Exclusion

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.     Eff. Date of End.          Producer             Add’l. Prem           Return Prem.
                                                                                                            $                     $




      THIS ENDORSEMENT CHANG ES TH E POLICY. PLEASE READ IT CAREFULLY.

This endorsem ent modifies insurance provided under the:
Commercial General Liability Coverage Part
Owners and Contractors Protective Liability Coverage Form-----Coverage For Operations of Designated Contractor
Products-Completed Operations Liability Coverage Part
Railroad Protective Liability Coverage Form

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.   Exclusions

     This insurance does not apply to:

     Welding Health Hazard

     "Bodily injury" caused directly or indirectly by the actual, alleged or threatened inhalation, ingestion, absorption, or ex-
     posure to harmful fumes or gases caused by "welding materials and equipment" used in connection with the process of
     welding or fusing together of any metals or other materials.
     For the purposes of this exclusion, the following definition applies:
         "Welding materials and equipment" means:
         (1) Welding machinery or other welding process equipment;
         (2) Welding rods;
         (3) Electrodes; or
         (4) Any consumable products including, but not limited to, wires, fluxes, coatings or cleaning agents.




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Deductible
  Policy No.        Eff. Date of Pol.    Eff. Date of
                                             End.




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Employee Benefits Liability Coverage Part
Liquor Liability Coverage Part
Stop Gap Employers Liability Coverage Part

                                                        DEDUCTIBLE SCHEDULE

                                Coverage                                Deductible Amount            Basis
Coverage       A.     "Bodily Injury" and "Property Damage" Liability
                      All persons or organizations                      $     500,000       Each "Occurrence"
                      "Bodily Injury" Liability Only
                      All persons or organizations                                          Each "Occurrence"
                      "Property Damage" Liability Only
                      All persons or organizations                                          Each "Occurrence"
Coverage       A.     "Bodily Injury" and "Property Damage" Liability
                                                                                            Each Claim

                      "Bodily Injury" Liability Only                                        Each Claim

                      "Property Damage" Liability Only                                      Each Claim
Coverage       B.     "Personal and Advertising Injury" Liability
                      By offense ---- Any one person or organization    $     500,000       Each Claim
Coverage       C.     Medical Payments                                                      Any One Person
Additional            Employee Benefits Liability                                           Each Act, Error or
Coverage                                                                $     500,000       Omission
Additional            Liquor Liability
Coverage                                                                                    Each Common Cause
Additional        Stop Gap Employers Liability                                              Each Accident
Coverage          Stop Gap Employers Liability - disease                                    Each "Employee"
Aggregate Deductible Amount                                                                       Adjustable at a
                                                                                                  rate      of per
                                                                                                        of

                                                                                                  Flat

Initial Exposure
Minimum Aggregate Deductible Amount




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                             ALLOCATED LOSS ADJUSTMENT EXPENSE SELECTION SCHEDULE
              Select
              One
Option 1        X      As respects each Deductible Amount, you will reimburse us for all "allocated loss
                       adjustment expense", even if there is no payment for other than "allocated loss
                       adjustment expense". "Allocated loss adjustment expense" reimbursements will
                       contribute toward your Deductible Amount and your Aggregate Deductible Amount
                       as shown in the Deductible Schedule.
Option 2               As respects each Deductible Amount, you will reimburse us for "allocated loss
                       adjustment expense" as follows:
                       (a)   If the total amount payable for other than "allocated loss adjustment expense"
                             as respects the basis for each Deductible Amount is equal to or less than the
                             Deductible Amount(s) or if there is no amount payable other than "allocated
                             loss adjustment expense", then you will reimburse us for all "allocated loss
                             adjustment expense". "Allocated loss adjustment expense" reimbursements will
                             not contribute toward either your Deductible Amount or your Aggregate
                             Deductible Amount as shown in the Deductible Schedule; or
                       (b)     If the total amount payable for other than "allocated loss adjustment expense"
                               exceeds the Deductible Amount, you will reimburse us a pro-rata share of total
                               "allocated loss adjustment expense" based on the ratio of the Deductible
                               Amount divided by the total amount payable for other than "allocated loss
                               adjustment expense" as respects the basis for each Deductible Amount.
                               "Allocated loss adjustment expense" reimbursements will not contribute toward
                               either your Deductible Amount or your Aggregate Deductible Amount as
                               shown in the Deductible Schedule.
Option 3               As respects each Deductible Amount, you will reimburse us for all "allocated loss
                       adjustment expense", even if there is no payment for other than "allocated loss
                       adjustment expense". "Allocated loss adjustment expense" reimbursements will not
                       contribute toward either your Deductible Amount or your Aggregate Deductible
                       Amount as shown in the Deductible Schedule.

If no option is selected, Option 3 will apply.

A. How the Deductible Amount Applies

    You will reimburse us for the Deductible Amount(s) shown in the Deductible Schedule and for "allocated loss
    adjustment expenses" incurred based on the Allocated Loss Adjustment Expense Selection Schedule. The Deductible
    Amount(s) applies as follows:

    1.   If an Each Occurrence Deductible is shown, the Deductible Amount applies to all sums payable because of any
         one "Occurrence", regardless of the number of persons or organizations who sustain damages because of that
         "Occurrence".

    2.   If an Each Claim Deductible is shown, the Deductible Amount applies to all sums payable for each claim, sustained
         by any one person or organization.

         a.   For Other than Coverage B, to all sums payable for each claim, sustained by any one person or organization,
              and

         b. For Coverage B, to all damages sustained by any one person or organization as the result of an offense.

    3.   Medical Payments - If an Any One Person limit is shown, the Deductible Amount applies to all sums payable to any
         one person as a result of an accident sustained by that person.


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   4.   Employee Benefits Liability - If an Each Act, Error or Omission Deductible is shown, the Deductible Amount
        applies to all sums payable for all damages sustained by any one "Employee", including the "Employee’s"
        dependents and beneficiaries, because of acts, errors or omissions committed in the administration of employee
        benefit programs.

   5.   Liquor Liability - If a Common Cause Deductible is shown, the Deductible Amount applies to all sums payable for
        all injury sustained by one or more persons or organizations as the result of the selling, serving or furnishing of
        any alcoholic beverage to any one person.

   6.   Stop Gap Employers Liability - If an Each Accident Deductible is shown, the Deductible Amount applies to all sums
        payable as the result of an accident, regardless of the number of people who sustain damages because of that
        accident.

   7.   Stop Gap Employers Liability - disease - If an Each Employee Deductible is shown, the Deductible Amount applies
        to all sums payable because of any one disease, and applies separately to each affected "Employee".

B. Deductible Provisions

   1.   If more than one Deductible Amount applies to sums payable arising from the same "incident" because more than
        one Coverage applies, you will be responsible for each and every applicable Deductible Amount.

   2.   Deductible Amount(s) apply separately to each consecutive annual period and to any remaining period of less
        than 12 months, starting with the beginning of the policy period shown in the Declarations.

   3.   Your obligation to pay the Deductible Amount(s) shown on this policy is not fulfilled by:

        a. The payment of a Deductible Amount under any other policy; or

        b. Any payment made by us or another insurance company;

        even if 3.a. or 3.b. above applies to the same "incident" as the Deductible Amount due under this policy.

   4.   If more than one policy issued by us applies to sums payable because of a single continuous "incident", the
        Deductible Amount(s) applies separately to each policy that we issue to which this endorsement or a similar
        Deductible Endorsement applies. Deductible Amounts also apply separately to each annual period and any
        remaining period of less than 12 months as described in B.2. above.

   5.   If a Coverage Part or Additional Coverage of this policy specifically applies a separate deductible(s):

        a. the separate additional deductible amount applies to any loss separately and before the Deductible Amount(s)
           shown on the Schedule of this endorsement; and

        b. the Deductible Amount(s) shown on the Schedule of this endorsement applies only if the loss exceeds the
           separate additional deductible amount described in 5.a. above, subject to the other terms and conditions of
           this endorsement.

C. Aggregate Deductible Amount

    1. The Aggregate Deductible Amount shown in the Deductible Schedule is the most you must reimburse us for the
       sum of:

         a. all applicable Deductible Amount(s) as shown in the Deductible Schedule; and

         b. all applicable "allocated loss adjustment expense" in accordance with the Allocated Loss Adjustment Expense
            Selection Schedule, above.

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            This single Aggregate Deductible Amount applies to the entire policy period and to any remaining extension pe-
            riod.

      2.    If an Aggregate Deductible Amount is shown in the Deductible Schedule and is designated as adjustable, the
            final Aggregate Deductible Amount will be determined at the end of the policy period by an audit of your records,
            and will be based upon the Rate shown in the Deductible Schedule multiplied by the final audited Exposure. The
            amount shown in the Deductible Schedule as the Aggregate Deductible Amount is an estimated amount, and is
            based on an estimate of what the audit of your records will develop.

            In no event will the final audited Aggregate Deductible Amount be less than the Aggregate Deductible Amount
            shown in the Deductible Schedule, unless a Minimum Aggregate Deductible Amount is shown in the Deductible
            Schedule. If a Minimum Aggregate Deductible Amount is shown, the final audited Aggregate Deductible Amount
            will not be less than the Minimum Aggregate Deductible Amount.

      3.    If an Aggregate Deductible Amount is shown in the Deductible Schedule and is designated as Flat, the Aggregate
            Deductible Amount will not be adjusted. In no event will the Flat Aggregate Deductible Amount be less than or
            more than the Aggregate Deductible Amount shown in the Deductible Schedule.

      4.    If no Aggregate Deductible Amount is stated in the Deductible Schedule, then your obligation to reimburse us for
            the sum of all applicable Deductible Amount(s) as shown in the Deductible Schedule and all applicable "allocated
            loss adjustment expense" in accordance with the Allocated Loss Adjustment Expense Selection Schedule above,
            is unlimited.

D. Allocated Loss Adjustment Expense Reimbursement

     In accordance with the Allocated Loss Adjustment Expense Selection Schedule:

     1.    If Option 1 is selected, "allocated loss adjustment expense" reimbursements made by you contribute to your
           Deductible Amount and Aggregate Deductible Amount.

     2.    If Option 2 or Option 3 is selected, then you will reimburse us for all or pro-rata "allocated loss adjustment
           expense", as may apply, in accordance with the Allocated Loss Adjustment Expense Selection Schedule above,
           even if the Deductible Amount or the Aggregate Deductible Amount, if applicable, is exceeded.

E. Application of the Deductible Amount to Payable Amounts

     1.    You will reimburse us for "allocated loss adjustment expense" according to the option selected in the Allocated
           Loss Adjustment Expense Selection Schedule.

     2.    Upon settlement or final adjudication of a claim, we will apply the Deductible Amount against payable amounts as
           follows:

           a.   Sums other than those attributable to "allocated loss adjustment expense"; then

           b. "Allocated loss adjustment expense" already reimbursed by you; then

           c.   "Allocated loss adjustment expense" yet to be reimbursed by you, if applicable.

F.   Effect of Deductible Amount on Limits of Insurance

     The applicable limits of insurance for the coverage part to which a Deductible Amount applies will be reduced only by
     that portion of the Deductible Amount that is not attributable to "allocated loss adjustment expenses".

G. Conditions

     1.    Voluntary Payments
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          If you voluntarily make any payment, assume any obligation or incur any expense, without our consent, then you
          do so at your own cost. Any such voluntary payment, assumed obligation or incurred expense does not
          contribute towards any applicable Deductible Amount(s) or Aggregate Deductible Amount under this policy.

     2. Application of Recovered Amounts

          We have your rights and the rights of persons entitled to the benefits of this insurance to recover sums that are
          reimbursable under this endorsement and any Deductible Amount from anyone liable for the injury or damages.
          You will do everything necessary to protect those rights for us and to help us enforce them.

          If we recover any payment made under this policy from anyone liable for injury or damages, the recovered amount
          will first be applied to any payments made by us in excess of the Deductible Amount. The remainder of the
          recovery, if any, will then be applied to reduce the Deductible Amount reimbursed or reimbursable by you as
          respects that injury or damages.

     3.   Payment of Amounts Owed Under This Endorsement

          a. We may pay any part or all of any Deductible Amount(s) or "allocated loss adjustment expense" to effect
             settlement of any claim and, upon notification of the action taken you will reimburse us for such part of any
             Deductible Amount(s) or "allocated loss adjustment expense" as shown on the billing from us. You must pay
             us for all amounts for which you are responsible under this endorsement and reimburse us for any such
             amounts that we pay by the due date shown on the billing from us.

          b. If you fail to reimburse us for any amounts as required by this endorsement or policy, we may cancel this
             policy for nonpayment in accordance with the applicable law. Cancellation of this policy does not relieve you
             from any deductible obligations reimbursable by you.

          c. The first Named Insured shown in the Declarations is authorized to and will reimburse us for all amounts paid
             by us on behalf of all "insureds".

          d. Each Named Insured is jointly and severally liable for all reimbursements due to us under this endorsement,
             whether or not that Named Insured is involved in the claim, proceeding or "suit" causing any such amount to
             be due to us.

H. Definitions

     1.   "Allocated loss adjustment expense" is an expense directly allocable to a specific claim including but not limited to:
          all supplementary payments as set forth in this policy; all court costs, fees and expenses; all costs, fees and
          expenses for or incurred in connection with all attorneys, witnesses, experts, depositions, reported or recorded
          statements, summonses, service of process, legal transcripts or testimony, copies of any public records;
          alternative dispute resolution proceedings; interest; investigative services, non-employee adjusters, medical
          examinations, autopsies, medical cost containment; declaratory judgment, subrogation claims and proceedings,
          and any other fees, costs or expenses reasonably chargeable to the investigation, negotiation, settlement or
          defense of a claim or a loss under this policy.

     2.   "Incident", for purposes of this endorsement only, means an "occurrence", offense, claim, accident, act, error or
          omission, common cause, disease or any other event, as defined or used in our policy, to which a Deductible
          Amount(s) applies.

I.   Other Terms

     1. The terms of this insurance apply irrespective of the application of any Deductible Amount(s), including those with
        respect to:

          a.   Our right and duty to investigate or defend the insured against any "suits" seeking those damages; and


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     b. Your duties in the event of a claim or circumstances likely to result in a claim.

2.   You understand that your duties under this endorsement may continue after this policy expires or is cancelled.




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Lead Liability Exclusion

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer           Add’l. Prem       Ret urn Prem.
                                                                                                $                 $




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part




The following exclusion is added to Paragraph 2. Exclusions, of Section I - Coverage A - Bodily Injury And Property Dam-
age Liability and Paragraph 2. Exclusions, of Coverage B - Personal And Advertising Injury Liability:
This insurance does not apply to:
Lead
(1) "Bodily injury", "property damage" or "personal and advertising injury" arising out of, resulting from, caused by or related
    to: the actual, alleged or threatened:
    (a) Exposure to or existence of lead, paint containing lead, or any other material, product or substance containing lead;
        or
    (b) Manufacture, distribution, sale, resale, re-branding, installation, repair, removal, encapsulation, abatement, replace-
        ment or handling of lead, paint containing lead, or any other material, product or substance containing lead,
    whether the lead is or was at any time airborne, ingested, inhaled, absorbed, transmitted in any fashion, or found in any
    form whatsoever, or whether any other cause, event, material, product or substance contributed concurrently or in any se-
    quence to the injury or damage.;
(2) Any sums that any insured or other entity must pay, repay or reimburse because of any:
    (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for, sample, monitor,
        clean up, remove, abate, cover, contain, treat, mitigate, or neutralize lead, paint containing lead, or any other mate-
        rial, product or substance containing lead, or in any way respond to, or assess the effects of lead in any form; or
    (b) Claim or "suit" for damages relating to testing for, sampling, monitoring, cleaning up, removing, abating, covering,
        containing, treating, mitigating, or neutralizing lead, paint containing lead, or any other material, product or sub-
        stance containing lead or in any way responding to or assessing the effects of lead in any form.
(3) Any other loss, cost or expense arising out of, caused by or relating in any way to lead.




                                                                                                            U-GL- 1342-A
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Recording And Distribution Of Material                                                                     Or
Information In Violation Of Law Exclusion

    Policy No.        Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.    Producer No.        Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
   Exclusions of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         q. Recording And Distribution Of Material Or Information In Violation Of Law
             "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
             that violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or
             (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                 or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                 that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                 use of, sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2. Exclusions of
   Section I ---- Coverage B ---- Personal And Advertising Injury Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         p. Recording And Distribution Of Material Or Information In Violation Of Law
            "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
            violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                use of, sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Blanket Notification to Others of Cancellation
or Non-Renewal

    Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem        Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. If we cancel or non-renew this Coverage Part by written notice to the first Named Insured, we will mail or deliver
   notification that such Coverage Part has been cancelled or non-renewed to each person or organization shown in a
   list provided to us by the first Named Insured if you are required by written contact or written agreement to provide
   such notification. However, such notification will not be mailed or delivered if a conditional notice of renewal has been
   sent to the first Named Insured. Such list:
    1.   Must be provided to us prior to cancellation or non-renewal;
    2.   Must contain the names and addresses of only the persons or organizations requiring notification that such
         Coverage Part has been cancelled or non-renewed; and
    3.   Must be in an electronic format that is acceptable to us.
B. Our notification as described in Paragraph A. of this endorsement will be based on the most recent list in our records
   as of the date the notice of cancellation or non-renewal is mailed or delivered to the first Named Insured. We will mail
   or deliver such notification to each person or organization shown in the list:
    1. Within seven days of the effective date of the notice of cancellation, if we cancel for non-payment of premium; or
    2.   At least 30 days prior to the effective date of:
         a.   Cancellation, if cancelled for any reason other than nonpayment of premium; or
         b. Non-renewal, but not including conditional notice of renewal.
C. Our mailing or delivery of notification described in Paragraphs A. and B. of this endorsement is intended as a courtesy
   only. Our failure to provide such mailing or delivery will not:
    1.   Extend the Coverage Part cancellation or non-renewal date;
    2.   Negate the cancellation or non-renewal; or
    3. Provide any additional insurance that would not have been provided in the absence of this endorsement.
D. We are not responsible for the accuracy, integrity, timeliness and validity of information contained in the list provided
   to us as described in Paragraphs A. and B. of this endorsement.


All other terms and conditions of this policy remain unchanged




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Aircraft Products, Grounding,
and Testing Exclusion

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer          Add’l. Prem        Ret urn Prem.
                                                                                                    $                  $



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured:
Address (including Zip Code):
This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products and Completed Operations Coverage Part
This policy does not apply to any "bodily injury" or "property         "Grounding" means:
damage" arising out of "Aircraft Products," "Grounding" or
                                                                            1.    the withdrawal of any "aircraft products" from flight
"Testing."
                                                                                  operations, or
"Aircraft Products" means:
                                                                            2.    the imposing of speed, passenger or load restric-
    1.   aircraft, missiles or spacecraft; or                                     tions on such "aircraft products" due to the existence
                                                                                  of, or the alleged or suspected existence of any de-
    2.   any other goods or products produced or furnished
                                                                                  fect, fault or condition in any "aircraft products";
         by the insured for the manufacture, repair, opera-
         tion, maintenance, use or entrustment to others of                 whether the "aircraft products" withdrawn are owned or
         aircraft, missiles or spacecraft, including but not                operated by the same or different persons, firms or cor-
         limited to the following items:                                    porations.
         (A) goods or products installed in, used in connec-                A "grounding" begins:
             tion with, or used as spare parts in aircraft, mis-
             siles or spacecraft; or                                              (1) on the date that any accident or occurrence re-
                                                                                      sults in disclosure of a known or suspected de-
         (B) ground support and control equipment; or                                 fect, fault or condition; or
         (C) ground handling tools and equipment;                                 (2) on the date the "aircraft products" are first
                                                                                      withdrawn from service due to a known or sus-
    3.   any training aids, instructions, manuals blueprints,
                                                                                      pected defect, fault or condition,
         engineering data or engineering advice relating to
         the items described in 1 and 2 above; or                           whichever first occurs.
    4.    any services or labor provided by the insured or by          "Testing" means examination, observation, evaluation or
          others trading under the insured’s name relating to          measuring of the performance of "aircraft products," either
          1., 2., or 3. above.                                         while in the air or on the ground.


Countersigned: _________________________________________________________________________________________
                Authorized Representative




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Claim Series Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer       Add’l. Prem          Ret urn Prem.
                                                                                             $                    $



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


1.   Section I. Coverage A Bodily Injury and Property Damage is amended to include the following:
     All "occurrences" which result in a series of claims or "suits" that the insured becomes legally obligated to pay as dam-
     ages because of "bodily injury" or "property damage" due to a "common cause or condition" of "your products" or "your
     work" shall be deemed to be just one "occurrence", regardless of the total number of:
     a.   insureds;
     b.   claims made or "suits" brought;
     c.   persons or organizations making claims or bringing "suits"; or
     d.   potential "occurrences" that might otherwise have applied in the absence of this endorsement.
2.   The following additional Definition is added:
     "Common Cause or Condition" means the same or similar design error, omission or defect, manufacturing defect, or fail-
     ure by the insured to warn of a potential hazard in or of "your products" or "your work".




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Fellow Employee Coverage Endorsement

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Ret urn Prem.
                                                                                                       $                      $



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part




1.   It is agreed that paragraph 2. a. (1) of SECTION II - WHO IS AN INSURED is deleted and replaced by the following:
     (1) "Bodily injury" or "personal and advertising injury":
         (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you are a
             limited liability company);
         (b) For which there is any obligation to share damages with or repay someone else who must pay damages because
             of the injury described in Paragraph (1) (a) above; or
         (c) Arising out of his or her providing or failing to provide professional health care services.




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Incidental Medical Malpractice
Coverage Endorsement

      Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Ret urn Prem.
                                                                                                        $                      $



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part




I.   Sections 2.a.(1)(d) of Section II. WHO IS AN INSURED are deleted and replaced by the following:
     2.   Each of the following is also an insured:
          a.   Your "volunteer workers" only while performing duties related to the conduct of your business, or your "employ-
               ees", other than either your "executive officers" (if you are an organization other than a partnership, joint venture
               or limited liability company) or your managers (if you are a limited liability company), but only for acts within
               the scope of their employment by you or while performing duties related to the conduct of your business. How-
               ever, none of these "employees" or "volunteer workers" are insured for:
               (1) "Bodily injury" or "personal and advertising injury":
                   (d) Arising out of his or her providing or failing to provide professional health care services, except any
                       "bodily injury" or "personal and advertising injury" arising out of:
                        (1) medical or paramedical services to persons performed by any physician, dentist, nurse, emergency
                            medical technician, paramedic or other licensed medical care person employed by you to provide
                            such services: or
                        (2) emergency cardiopulmonary resuscitation (CPR) or first aid services performed by any other em-
                            ployee of yours who is not a licensed medical professional.
II. Any insurance coverage provided by this endorsement is excess over any other valid and collectible insurance.




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 Silica or Silica Mixed Dust Exclusion

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Ret urn Prem.
                                                                                                       $                      $




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products-Completed Operations Liability Coverage Part

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.   Exclusions

     This insurance does not apply to:

     Silica or Silica Mixed Dust

     A. "Bodily injury", "property damage" or "personal and advertising injury" caused directly or indirectly, in whole or in
        part, by the actual, alleged or threatened inhalation, ingestion, absorption, exposure to, existence of or presence of
        "silica"; or
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any manner responding to or assessing the effects of "sil-
        ica" by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definition applies:
         "Silica" means:
         (1) Any form of crystalline or non-crystalline (amorphous) silica, silica particles, silica compounds, silica dust or sil-
             ica mixed or combined with dust or other particles; or
         (2) Synthetic silica, including precipitated silica, silica gel, pyrogenic or fumed silica or silica-flour.




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Waiver Of Subrogation (Blanket) Endorsement

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer       Add’l. Prem       Ret urn Prem.
                                                                                            $                 $



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part




The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
If you are required by a written contract or agreement, which is executed before a loss, to waive your rights of recovery from
others, we agree to waive our rights of recovery. This waiver of rights shall not be construed to be a waiver with respect to
any other operations in which the insured has no contractual interest.




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                  DEFENSE WITHIN LIMITS NOTICE

  UNLIKE MOST LIABILITY IN SU RANCE POLICIES IN WHICH PAYMENT
  OF D EFEN SE COSTS DOES NOT REDUCE TH E POLICY LIMITS, THIS
  POLICY CONTAIN S A "D EFEN SE WITHIN TH E LIMITS" PROVISION.
  TH E PROVISION INCLUD ES TH E IN SU RER’S COSTS FOR PROVIDING
  LEGAL D EFEN SE AGAIN ST A CLAIM ALONG WITH ANY CLAIM
  SETTLEMENT AMOUNT WITHIN TH E STATED POLICY LIMITS. WE
  HAV E TH E RIGHT AND DU TY TO D EFEND TH E IN SU RED AGAIN ST
  ANY SUIT SEEKING DAMAG ES FOR BODILY INJU RY OR PROPERTY
  DAMAG E TO WHICH THIS IN SU RANCE APPLIES. HOWEV ER, ONCE
  TH E POLICY LIMIT IS REACH ED, TH E IN SU RER’S RESPON SIBILITY
  TO PAY ANY FU RTH ER AMOUNTS FOR D EFEN SE COSTS OR FOR ANY
  DAMAG ES THAT MAY BE AWARD ED ENDS, EXCEPT THAT TH E
  IN SU RER WILL PAY DAMAG ES FOR STATU TORILY REQUIRED
  LIABILITY IN SU RANCE TO TH E LIMIT REQUIRED BY LAW.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 01 23 03 97

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        INDIANA CHANGES - POLLUTION EXCLUSION


This endorsement modifies insurance provided under the following:

    COMME RCIAL GENE RAL LIABILITY COVE RAGE PART

The following is added to Subparagraph f., Pollution of Paragraph 2., Exclusions of Bodily Injury And Property D amage
Liability Coverage (Section I - Coverages) and to Paragraph 2., Exclusions of Personal And Advertising Injury Liability
Coverage (Section I - Coverages) or to any amendment to or replacement thereof:

This Pollution Exclusion applies whether or not such irritant or contaminant has any function in your business, operations,
premises, site or location.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 01 34 08 03

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MISSOURI CHANGES --- POLLUTION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Subparagraph f., Pollution of Paragraph 2., Exclusions under Section I ---- Coverage A ----
Bodily Injury And Property Damage Liability Coverage and to Subparagraph m., Pollution of Paragraph 2., Exclu-
sions under Section I ---- Coverage B --- Personal And Advertising Injury Liability or to any amendment to or re-
placement thereof:
This Pollution Exclusion applies even if such irritant or contaminant has a function in your business, operations,
premises, site or location.




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POLICY NUMBER: GLO        3793060-07                                            COMMERCIAL GENERAL LIABILITY
                                                                                               CG 01 54 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      VERMONT CHANGES --- POLLUTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM (OCCURRENCE VERSION)

                                                     SCHEDULE

Pollution Liability Aggregate Limit:      $    3,000,000

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to Section             I    ---            (2) The "bodily injury" or "property damage"
   Coverages:                                                            occurs during the policy period; and
   Coverage D Pollution Bodily Injur y And                           (3) A claim for damages because of the
   Property Damage                                                       "bodily injury" or "property damage" is
   1. Insuring Agreement                                                 first made against any insured, in
                                                                         accordance with Paragraph c. below,
      a. We will pay those sums that the insured                         during the policy period.
          becomes legally obligated to pay as
          damages because of "bodily injury" or                    c. A claim by a person or organization seeking
          "property damage" included within the                        damages will be deemed to have been made
          "pollution liability hazard" to which this                   at the earlier of the following times:
          insurance applies. We will have the right                   (1) When notice of such claim is received
          and duty to defend the insured against any                       and recorded by any insured or by us,
          "suit" seeking those damages. However, we                        whichever comes first; or
          will have no duty to defend the insured                     (2) When we make a settlement in
          against any "suit" seeking damages for                           accordance with Paragraph 1.a. above.
          "bodily injury" or "property damage" to
          which this insurance does not apply. We                      All claims for damages because of "bodily
          may, at our discretion, investigate any                      injury" to the same person, including
          "occurrence" and settle any claim or "suit"                  damages claimed by any person or
          that may result. But:                                        organization for care, loss of services, or
                                                                       death resulting at any time from the "bodily
         (1) The amount we will pay for damages is                     injury" will be deemed to have been made at
              limited as described in Section III ----                 the time the first of those claims is made
              Limits Of Insurance; and                                 against any insured.
         (2) Our right and duty to defend end when
                                                                      All claims for damages because of "property
              we have used up the Pollution Liability                 damage" causing loss to the same person
              Aggregate Limit in the payment of                       or organization as a result of an
              judgments or settlements.                               "occurrence" will be deemed to have been
          No other obligation or liability to pay sums                made at the time the first of those claims is
          or perform acts or services is covered                      made against any insured.
          unless explicitly provided for under                        All claims for injury or damage arising out of
          Supplementary Payments ---- Coverages A, B                  a discharge, release or escape of
          and D.                                                      "pollutants", including all injury or damage
      b. This insurance applies to "bodily injury" and                arising out of all subsequent exposure of
          "property damage" only if:                                  persons and property to such "pollutants",
         (1) The "bodily injury" or "property damage"                 shall be deemed to have been made at the
              is caused by an "occurrence" that takes                 time the first of those claims is made
              place in the "coverage territory";                      against any insured.


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   2. Exclusions                                                  e. Aircraft, Auto Or Watercraft
      This insurance does not apply to:                               "Bodily injury" or "property damage" arising
      a. Ex pected O r I ntended I njury                              out of the ownership, maintenance, use or
                                                                      entrustment to others of any aircraft, "auto"
         "Bodily injury" or "property damage"                         or watercraft owned or operated by or
         expected or intended from the standpoint of                  rented or loaned to any insured. Use
         the insured. This exclusion does not apply                   includes operation and "loading or
         to "bodily injury" resulting from the use of                 unloading".
         reasonable force to protect persons or
         property.                                                    This exclusion applies to claims against any
                                                                      insured that allege negligence or other
      b. Contractual Liability                                        wrongdoing in the supervision, hiring,
          "Bodily injury" or "property damage" for                    employment, training or monitoring of
          which the insured is obligated to pay                       others by that insured, if the "occurrence"
          damages by reason of the assumption of                      which resulted in the "bodily injury" or
          liability in a contract or agreement. This                  "property damage" involved the ownership,
          exclusion does not apply to liability for                   maintenance, use or entrustment to others
          damages:                                                    of any aircraft, "auto" or watercraft that is
         (1) Assumed in a contract or agreement that                  owned or operated by or rented or loaned
              is an "insured contract", provided the                  to any insured.
              "bodily injury" or "property damage"                    This exclusion does not apply to:
              occurs subsequent to the execution of                  (1) A watercraft while ashore on premises
              the contract or agreement; or                               you own or rent;
         (2) That the insured would have in the                      (2) A watercraft you do not own that is:
              absence of the contract or agreement.
                                                                         (a) Less than 26 feet long; and
      c. Wor kers Compensation And Similar
          Laws                                                           (b) Not being used to carry persons or
                                                                              property for a charge;
          Any obligation of the insured under a
          workers compensation, disability benefits                  (3) Parking an "auto" on, or on the ways
          or unemployment compensation law or any                         next to, premises you own or rent,
          similar law.                                                    provided the "auto" is not owned by or
                                                                          rented or loaned to you or the insured;
      d. Employer s Liability
                                                                     (4) Liability assumed under any "insured
          "Bodily injury" to:                                             contract"      for      the    ownership,
         (1) An "employee" of the insured arising out                     maintenance or use of aircraft or
              of and in the course of:                                    watercraft; or
             (a) Employment by the insured; or                       (5) "Bodily injury" or "property damage"
             (b) Performing duties related to the                         arising out of:
                   conduct of the insured s business; or                 (a) The operation of machinery or
         (2) The spouse, child, parent, brother or                            equipment that is attached to, or part
              sister of that "employee" as a                                  of, a land vehicle that would qualify
              consequence of Paragraph (1) above.                             under the definition of "mobile
                                                                              equipment" if it were not subject to a
          This exclusion applies:                                             compulsory or financial responsibility
         (1) Whether the insured may be liable as an                          law or other motor vehicle insurance
             employer or in any other capacity; and                           law where it is licensed or principally
                                                                              garaged; or
         (2) To any obligation to share damages with
             or repay someone else who must pay                          (b) The operation of any of the
             damages because of the injury.                                   machinery or equipment listed in
                                                                              Paragraph f.(2) or f.(3) of the
          This exclusion does not apply to liability
                                                                              definition of "mobile equipment".
          assumed by the insured under an "insured
          contract".




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      f. Mobile Equipment                                          j. Statutory Or Regulatory Clean-up Costs
          "Bodily injury" or "property damage" arising                 Any loss, cost or expense arising out of
          out of:                                                      any:
         (1) The transportation of "mobile equipment"                 (1) Request, demand, order or statutory or
             by an "auto" owned or operated by or                          regulatory requirement that any insured
             rented or loaned to any insured; or                           or others test for, monitor, clean up,
         (2) The use of "mobile equipment" in, or                          remove, contain, treat, detoxify or
             while in practice for, or while being                         neutralize, or in any way respond to, or
             prepared for, any prearranged racing,                         assess the effects of, "pollutants"; or
             speed, demolition or stunting activity.                  (2) Claim or suit by or on behalf of a
      g. War                                                               governmental authority for damages
                                                                           because of testing for, monitoring,
         "Bodily injury" or "property damage",                             cleaning up, removing, containing,
         however caused, arising, directly or                              treating, detoxifying or neutralizing, or in
         indirectly, out of:                                               any way responding to, or assessing the
        (1) War, including undeclared or civil war;                        effects of, "pollutants".
             or                                                        However, this paragraph does not apply to
         (2) Warlike action by a military force,                       liability for damages because of "property
             including action in hindering or                          damage" that the insured would have in the
             defending against an actual or expected                   absence of such request, demand, order or
             attack, by any government, sovereign or                   statutory or regulatory requirement, or such
             other authority using military personnel                  claim or "suit" by or on behalf of a
             or other agents; or                                       governmental authority.
         (3) Insurrection,    rebellion,   revolution,            k. Bodily Injury Or Property Damage
             usurped power, or action taken by                         "Bodily injury" or "property damage" which
             governmental authority in hindering or                    are covered under Coverage A --- Bodily
             defending against any of these.                           Injury And Property Damage Liability.
      h. Damage To Property                                B. Supplementary Payments ---- Coverages A And B
           "Property damage" to:                              is replaced by the following:
          (1) Property you own, rent or occupy,                Supplementary Payments --- Coverages A, B
               including any costs or expenses                 And D
               incurred by you, or any other person,           We will pay, with respect to any claim we
               organization or entity, for repair,             investigate or settle, or any "suit" against an
               replacement, enhancement, restoration           insured we defend:
               or maintenance of such property for any
               reason, including prevention of injury to       1. All expenses we incur.
               a person or damage to another s                 2. Up to $250 for cost of bail bonds required
               property;                                          because of accidents or traffic law violations
          (2) Premises you sell, give away or                     arising out of the use of any vehicle to which
               abandon, if the "property damage" arises           the Bodily Injury Liability Coverage applies. We
               out of any part of those premises;                 do not have to furnish these bonds.
          (3) Property loaned to you; or                       3. The cost of bonds to release attachments, but
                                                                  only for bond amounts within the applicable
          (4) Personal property in the care, custody              limit of insurance. We do not have to furnish
               or control of the insured.                         these bonds.
           Paragraphs (3) and (4) of this exclusion do         4. All reasonable expenses incurred by the
           not apply to liability assumed under a                 insured at our request to assist us in the
           sidetrack agreement.                                   investigation or defense of the claim or "suit",
       i. Products-Completed Operations Hazard                    including actual loss of earnings up to $250 a
           "Bodily injury" or "property damage"                   day because of time off from work.
           included within the "products-completed
           operations hazard".




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   5. All court costs taxed against the insured in the      D. Paragraph 4. Other Insurance of Section IV ----
      "suit". However, these payments do not include           Conditions is amended as follows:
      attorneys fees or attorneys expenses taxed               All references to Coverage A or B are amended to
      against the insured.                                     read Coverage A, B or D.
   6. Prejudgment interest awarded against the              E. The following additional definition applies:
      insured on that part of the judgment we pay. If
      we make an offer to pay the applicable limit of          "Pollution liability hazard" means all "bodily injury"
      insurance, we will not pay any prejudgment               and "property damage" arising out of the
      interest based on that period of time after the          discharge, release or escape of "pollutants" at or
      offer.                                                   from:
   7. All interest on the full amount of any judgment              a. Premises you own, rent or occupy; or
      that accrues after entry of the judgment and                 b. Any site or location on which you or any
      before we have paid, offered to pay, or                         contractors or subcontractors working
      deposited in court the part of the judgment that                directly or indirectly on your behalf are
      is within the applicable limit of insurance.                    performing operations.
   These payments will not reduce the limits of
   insurance.
C. The following is added to Section I II ---- Limits Of
   Insurance:
   The Pollution Liability Aggregate Limit is the most
   we will pay under Coverage D for all damages
   because of injury and damage for which claim is
   first made during the policy period.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 01 86 12 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       UTAH CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. Any Condition titled:
      Duties In the Event of An Electronic Data Incident
      Duties in the Event of Occurrence, Offense, Claim or Suit
      Duties in the Event of Occurrence, Claim or Suit
      Duties in the Event of Injury, Claim or Suit
      Duties in the Event of A Pollution Incident, Claim or Suit
      Duties In the Event of A Claim Or Suit Or A Defect Or Product Withdrawal
      Insured’s Duties in the Event of a Loss
      Duties in the Event of An Underground Storage Tank Incident
   requiring notice to us is amended to include:
      "Notice to our authorized representative is notice to us".
B. The Legal Action Against Us Condition does not apply.




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POLICY NUMBER:GLO        3793060-07                                             COMMERCIAL GENERAL LIABILITY
                                                                                               CG 20 11 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ADDITIONAL INSURED --- MANAGERS OR
                        LESSORS OF PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

 Designation Of Premises (Part Leased To You):
 ALL PREMISES AS REQUIRED IN A WRITTEN CONTRACT OR LEASE
 AGREEMENT SIGNED PRIOR TO LOSS AND NOT PROHIBITED BY LAW.

 Name Of Person(s) Or Organization(s) (Additional Insured):
 ALL PERSONS AND ORGANIZATIONS AS REQUIRED IN A WRITTEN
 CONTRACT OR LEASE AGREEMENT SIGNED PRIOR TO LOSS AND NOT
 PROHIBITED BY LAW.
 Additional Premium: INCL.

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II ---- Who Is An Insured is amended to              2. If coverage provided to the additional insured
   include as an additional insured the person(s) or                is required by a contract or agreement, the
   organization(s) shown in the Schedule, but only                  insurance afforded to such additional insured
   with respect to liability arising out of the                     will not be broader than that which you are
   ownership, maintenance or use of that part of the                required by the contract or agreement to
   premises leased to you and shown in the                          provide for such additional insured.
   Schedule and subject to the following additional          B. With respect to the insurance afforded to these
   exclusions:                                                  additional insureds, the following is added to
   This insurance does not apply to:                            Section III --- Limits Of Insurance:
   1. Any "occurrence" which takes place after you              If coverage provided to the additional insured is
       cease to be a tenant in that premises.                   required by a contract or agreement, the most we
   2. Structural alterations, new construction or               will pay on behalf of the additional insured is the
      demolition operations performed by or on                  amount of insurance:
      behalf of the person(s) or organization(s)                1. Required by the contract or agreement; or
      shown in the Schedule.                                    2. Available under the applicable Limits of
   However:                                                         Insurance shown in the Declarations;
   1. The insurance afforded to such additional                 whichever is less.
      insured only applies to t he extent permitted             This endorsement shall not increase the
      by law; and                                               applicable Limits of Insurance shown in the
                                                                Declarations.




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POLICY NUMBER: GLO       3793060-07                                             COMMERCIAL GENERAL LIABILITY
                                                                                               CG 20 12 04 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    ADDITIONAL INSURED --- STATE OR GOVERNMENTAL
        AGENCY OR SUBDIVISION OR POLITICAL
      SUBDIVISION --- PERMITS OR AUTHORIZATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                  SCHEDULE

State Or Governmental Agency Or Subdivision Or Political Subdivision:
ONLY THOSE STATE OR POLITICAL SUBDIVISIONS AS REQUIRED BY WRITTEN
CONTRACT OR PERMIT




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II ---- Who Is An Insured is amended to            2. This insurance does not apply to:
   include as an additional insured any state or                  a. "Bodily injury", "property damage" or
   governmental agency or subdivision or political                   "personal and advertising injury" arising out
   subdivision shown in the Schedule, subject to the                 of operations performed for the federal
   following provisions:                                             government, state or municipality; or
   1. This insurance applies only with respect to                 b. "Bodily injury" or "property damage"
      operations performed by you or on your behalf                  included within the "products-completed
      for which the state or governmental agency or                  operations hazard".
      subdivision or political subdivision has issued      B. With respect to the insurance afforded to these
      a permit or authorization.                              additional insureds, the following is added to
                                                              Section III --- Limits Of Insurance:
      However:
                                                              If coverage provided to the additional insured is
      a. The insurance afforded to such additional            required by a contract or agreement, the most we
          insured only applies to the extent permitted        will pay on behalf of the additional insured is the
          by law; and                                         amount of insurance:
      b. If coverage provided to the additional               1. Required by the contract or agreement; or
          insured is required by a contract or                2. Available under the applicable Limits of
          agreement, the insurance afforded to such               Insurance shown in the Declarations;
          additional insured will not be broader than
                                                              whichever is less.
          that which you are required by the contract
          or agreement to provide for such additional         This endorsement shall not increase the
          insured.                                            applicable Limits of Insurance shown in the
                                                              Declarations.




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POLICY NUMBER: GLO        3793060-07                                             COMMERCIAL GENERAL LIABILITY
                                                                                                CG 20 15 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED --- VENDORS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                    SCHEDULE

        Name Of Additional Insured Person(s) Or
              Organization(s) (Vendor)                                            Your Products
ALL VENDORS AS REQUIRED IN A                                ALL PRODUCTS COVERED UNDER
WRITTEN CONTRACT OR AGREEMENT                               THIS POLICY.
SIGNED PRIOR TO LOSS AND NOT
PROHIBITED BY LAW.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II ---- Who Is An Insured is amended to          B. With respect to the insurance afforded to these
   include as an additional insured any person(s) or           vendors, the following additional exclusions apply:
   organization(s) (referred to throughout this                1. The insurance afforded the vendor does not
   endorsement as vendor) shown in the Schedule,                  apply to:
   but only with respect to "bodily injury" or "property          a. "Bodily injury" or "property damage" for
   damage" arising out of "your products" shown in                   which the vendor is obligated to pay
   the Schedule which are distributed or sold in the                 damages by reason of the assumption of
   regular course of the vendor’s business.                          liability in a contract or agreement. This
   However:                                                          exclusion does not apply to liability for
                                                                     damages that the vendor would have in the
   1. The insurance afforded to such vendor only                     absence of the contract or agreement;
       applies to the extent permitted by law; and                b. Any express warranty unauthorized by you;
   2. If coverage provided to the vendor is required              c. Any physical or chemical change in the
       by a contract or agreement, the insurance                     product made intentionally by the vendor;
       afforded to such vendor will not be broader                d. Repackaging, except when unpacked solely
       than that which you are required by the                       for      the   purpose       of    inspection,
       contract or agreement to provide for such                     demonstration, testing, or the substitution
       vendor.                                                       of parts under instructions from the
                                                                     manufacturer, and then repackaged in the
                                                                     original container;


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      e. Any failure to make such inspections,                     (2) Such inspections, adjustments, tests or
          adjustments, tests or servicing as the
                                                                        servicing as the vendor has agreed to
          vendor has agreed to make or normally
                                                                        make or normally undertakes to make in
          undertakes to make in the usual course of                     the usual course of business, in
          business,     in    connection     with  the                  connection with the distribution or sale
          distribution or sale of the products;                         of the products.
       f. Demonstration, installation, servicing or          2. This insurance does not apply to any insured
          repair operations, except such operations              person or organization, from whom you have
          performed at the vendor’s premises in                  acquired such products, or any ingredient, part
          connection with the sale of the product;               or container, entering into, accompanying or
      g. Products which, after distribution or sale by           containing such products.
          you, have been labeled or relabeled or used     C. With respect to the insurance afforded to these
          as a container, part or ingredient of any          vendors, the following is added to Section III ----
          other thing or substance by or for the             Limits Of Insurance:
          vendor; or
                                                             If coverage provided to the vendor is required by a
      h. "Bodily injury" or "property damage" arising        contract or agreement, the most we will pay on
          out of the sole negligence of the vendor for       behalf of the vendor is the amount of insurance:
          its own acts or omissions or those of its
          employees or anyone else acting on its             1. Required by the contract or agreement; or
          behalf. However, this exclusion does not            2. Available under the applicable Limits of
          apply to:                                              Insurance shown in the Declarations;
         (1) The exceptions contained       in   Sub-         whichever is less.
             paragraphs d. or f.; or
                                                              This endorsement shall not increase the
                                                              applicable Limits of Insurance shown in the
                                                              Declarations.




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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 20 34 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ADDITIONAL INSURED --- LESSOR OF LEASED
              EQUIPMENT --- AUTOMATIC STATUS WHEN
             REQUIRED IN LEASE AGREEMENT WITH YOU
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Section II ---- Who Is An Insured is amended to               A person’s or organization’s status as an
   include as an additional insured any person(s) or             additional insured under this endorsement ends
   organization(s) from whom you lease equipment                 when their contract or agreement with you for
   when you and such person(s) or organization(s)                such leased equipment ends.
   have agreed in writing in a contract or agreement          B. With respect to the insurance afforded to these
   that such person(s) or organization(s) be added               additional insureds, this insurance does not apply
   as an additional insured on your policy. Such                 to any "occurrence" which takes place after the
   person(s) or organization(s) is an insured only               equipment lease expires.
   with respect to liability for "bodily injury", "property
   damage" or "personal and advertising injury"               C. With respect to the insurance afforded to these
   caused, in whole or in part, by your maintenance,             additional insureds, the following is added to
   operation or use of equipment leased to you by                Section III --- Limits Of Insurance:
   such person(s) or organization(s).                            The most we will pay on behalf of the additional
   However, the insurance afforded to such                       insured is the amount of insurance:
   additional insured:                                           1. Required by the contract or agreement you
   1. Only applies to the extent permitted by law; and              have entered into with the additional insured;
                                                                    or
   2. Will not be broader than that which you are
      required by the contract or agreement to                   2. Available under the applicable Limits of
      provide for such additional insured.                          Insurance shown in the Declarations;
                                                                 whichever is less.
                                                                 This endorsement shall not increase the
                                                                 applicable Limits of Insurance shown in the
                                                                 Declarations.




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POLICY NUMBER: GLO         3793060-07                                            COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 16 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  EXCLUSION --- DESIGNATED PROFESSIONAL SERVICES
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE

                                          Description Of Professional Services
1. ALL    PROFESSIONAL SERVICES




2.




3.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to any professional services shown in          This exclusion applies even if the claims against any
the Schedule, the following exclusion is added to           insured allege negligence or other wrongdoing in the
Paragraph 2. Exclusions of Section I ---- Coverage A ----   supervision,    hiring, employment,      training  or
Bodily Injury And Property Damage Liability and             monitoring of others by that insured, if the
Paragraph 2. Exclusions of Section I ---- Coverage B ----   "occurrence" which caused the "bodily injury" or
Personal And Advertising Injury Liability:                  "property damage", or the offense which caused the
This insurance does not apply to "bodily injury",           "personal and advertising injury", involved the
"property damage" or "personal and advertising injury"      rendering of or failure to render any professional
due to the rendering of or failure to render any            service.
professional service.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                    employment, during employment or after em-
       ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 21 49 09 99

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        TOTAL POLLUTION EXCLUSION ENDORSEMENT


This endorsement modifies insurance provided under the following:

     COMME RCIAL GENE RAL LIABILITY COVE RAGE PART

Exclusion f. under Paragraph 2., Exclusions of Section                        (a) Request, demand, order or statutory or
I - Coverage A - Bodily Injury And Property Damage                                regulatory requirement that any insured or
Liability is replaced by the following:                                           others test for, monitor, clean up, remove,
                                                                                  contain, treat, detoxify or neutralize, or in
This insurance does not apply to:                                                 any way respond to, or assess the effects of
                                                                                  "pollutants"; or
f.   Pollution
     (1) "Bodily injury" or "property damage" which                           (b) Claim or suit by or on behalf of a govern-
         would not have occurred in whole or part but                             mental authority for damages because of
         for the actual, alleged or threatened discharge,                         testing for, monitoring,cleaning up, remov-
         dispersal, seepage, migration, release or es-                            ing, containing, treating, detoxifying or
         cape of "pollutants" at any time.                                        neutralizing, or in any way responding to,
                                                                                  or assessing the effects of, "pollutants".
     (2) Any loss,cost or expense arising out of any:




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 21 55 09 99

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                     TOTAL POLLUTION EXCLUSION
                                    WITH A HOSTILE FIRE EXCEPTION

This endorsement modifies insurance provided under the following:

     COMME RCIAL GENE RAL LIABILITY COVE RAGE PART

Exclusion f. under Paragraph 2., Exclusions of Section                         (b) At any premises, site or location on which
I - Coverage A - Bodily Injury And Property Damage                                 any insured or any contractors or subcon-
Liability is replaced by the following:                                            tractors working directly or indirectly on
                                                                                   any insured’s behalf are performing opera-
This insurance does not apply to:                                                  tions to test for, monitor, clean up, remove,
                                                                                   contain, treat, detoxify, neutralize or in any
f.   Pollution                                                                     way respond to, or assess the effects of,
                                                                                   "pollutants".
     (1) "Bodily injury" or "property damage" which
         would not have occurred in whole or part but                      (2) Any loss,cost or expense arising out of any:
         for the actual, alleged or threatened discharge,
         dispersal, seepage, migration, release or es-                         (a) Request, demand, order or statutory or
         cape of "pollutants" at any time.                                         regulatory requirement that any insured or
                                                                                   others test for, monitor, clean up, remove,
         This exclusion does not apply to"bodily injury"                           contain, treat, detoxify or neutralize, or in
         or "property damage" arising out of heat,                                 any way respond to, or assess the effects of
         smoke or fumes from a "hostile fire" unless that                          "pollutants"; or
         "hostile fire" occurred or originated:
                                                                               (b) Claim or suit by or on behalf of a govern-
         (a) At any premises, site or location which is                            mental authority for damages because of
             or was at any time used by or for any in-                             testing for, monitoring, cleaning up, re-
             sured or others for the handling, storage,                            moving, containing, treating, detoxifying or
             disposal, processing or treatment of waste;                           neutralizing, or in any way responding to,
             or                                                                    or assessing the effects of, "pollutants".




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POLICY NUMBER:        GLO 3793060-07                                         COMMERCIAL GENERAL LIABILITY
                                                                                            CG 24 17 10 01

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CONTRACTUAL LIABILITY - RAILROADS
This endorsement modifies insurance provided under the following:


   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE


Scheduled Railroad:                                        Designated Job Site:
ALL RAILROADS AS REQUIRED IN A                             ALL RAILROAD JOBSITES
WRITTEN CONTRACT SIGNED PRIOR TO
LOSS AND NOT PROHIBITED BY LAW.



 (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)


With respect to operations performed for, or affecting,            Paragraph f. does not include that part of any
a Scheduled Railroad at a Designated Job Site, the                 contract or agreement:
definition of "insured contract" in the Definitions sec-          (1) That indemnifies an architect, engineer or
tion is replaced by the following:                                    surveyor for injury or damage arising out
9. "Insured Contract" means:                                          of:
   a. A contract for a lease of premises. However,                    (a) Preparing, approving or failing to pre-
      that portion of the contract for a lease of                          pare or approve maps, shop drawings,
      premises that indemnifies any person or or-                          opinions, reports, surveys, field orders,
      ganization for damage by fire to premises while                      change orders or drawings and specifi-
      rented to you or temporarily occupied by you                         cations; or
      with permission of the owner is not an "insured                (b) Giving directions or instructions, or
      contract";                                                           failing to give them, if that is the primary
   b. A sidetrack agreement;                                               cause of the injury or damage;
   c. Any easement or license agreement;                          (2) Under which the insured, if an architect,
   d. An obligation, as required by ordinance, to                      engineer or surveyor, assumes liability for
      indemnify a municipality, except in connection                   an injury or damage arising out of the in-
      with work for a municipality;                                    sured’s rendering or failure to render pro-
                                                                       fessional services, including those listed in
   e. An elevator maintenance agreement;                               Paragraph (1) above and supervisory, in-
   f. That part of any other contract or agreement                     spection, architectural or engineering activi-
      pertaining to your business (including an in-                    ties.
      demnification of a municipality in connection
      with work performed for a municipality) under
      which you assume the tort liability of another
      party to pay for "bodily injury" or "property
      damage" to a third person or organization. Tort
      liability means a liability that would be imposed
      by law in the absence of any contract or
      agreement.




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                                                                                IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                   and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a. Are safe or healthful; or
    3.We will mail or deliver our notice to the first                            b. Comply with laws, regulations, codes or
      Named Insured’s last mailing address known to                                  standards.
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                         service or similar organization which makes in-
      on that date.                                                            surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                               vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
   This policy contains all the agreements between                         1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded. The                           and
   first Named Insured shown in the Declarations is                         2.  Will be the payee for any return premiums we
   authorized to make changes in the terms of this                              pay.
   policy with our consent. This policy’s terms can be                  F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                         Policy
   us and made a part of this policy.
                                                                           Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                   transferred without our written consent except in
   We may examine and audit your books and records                         the case of death of an individual named insured.
   as they relate to this policy at any time during the                    If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                          to your legal representative but only while acting
D. Inspections And Surveys                                                 within the scope of duties as your legal representa-
   1. We have the right to:                                                tive. Until your legal representative is appointed,
                                                                           anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                       property will have your rights and duties but only
                                                                           with respect to that property.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any
                                                             2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)              or place prepared or used for the storage or
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                                      IL 02 66 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      UTAH CHANGES --- CANCELLATION
                            AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS COVERAGE PART


A. The following is added to the Cancellation Com-          B. The following is added and supersedes any provi-
   mon Policy Condition:                                       sions to the contrary:
   7. If this policy has been in effect for more than 60       NONRENEWAL
      days or if this is a renewal of a policy we is-          1. If we elect to not renew this policy, we will mail,
      sued, we may cancel this policy only for one or             by first-class mail, written notice of nonrenewal
      more of the following reasons:                              to the first Named Insured, at the last mailing
      a. Nonpayment of premium;                                   address known to us, at least 30 days before
      b. Material misrepresentation;                              the expiration or anniversary date of this policy.
      c. Substantial change in the risk assumed                2. We need not mail this notice if:
           unless we should reasonably have foreseen              a. You have accepted replacement coverage;
           the change or contemplated the risk when               b. You have requested or agreed to nonre-
          entering the contract; or                                   newal; or
      d. Substantial breaches of contractual duties,               c. This policy is expressly designated as non-
           conditions or warranties.                                  renewable.
      If we cancel for nonpayment of premium, notice            3. If notice is mailed, proof of mailing is sufficient
      of cancellation must state the reason for can-               proof of notice.
      cellation.
   8. With respect to the Commercial Automobile
      Coverage Part, the following applies in addition
      to the provisions of Paragraph 7. above:
      We may cancel this policy if your driver’s li-
      cense, or the driver’s license of a person who
      customarily drives a "covered auto", is sus-
      pended or revoked.
   9. Notice of cancellation must be delivered or
      mailed by first-class mail.



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     CAP ON LOSSES FROM CERTIFIED ACTS OF
     TERRORISM
     Insureds Name                                                                Policy Number                     Effective     Endorsement
                                                                                                                    Date          Number




                       THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


     This endorsement modifies your insurance:


     This endorsement applies to all Coverage Parts included in this policy.

A.       Cap on Losses From Certified Terrorism Losses
         "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
         Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
         Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
         shall certify an act of terrorism:
         1.          to be an act of terrorism;
         2.          to be a violent act or an act that is dangerous to human life, property or infrastructure;
         3.          to have resulted in damage within the United States, or outside of the United States in the case of an air
                     carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
                     vessel based principally in the United States, on which United States income tax is paid and whose
                     insurance coverage is subject to regulation in the United States), or the premises of a United States mission;
                     and
         4.          to have been committed by an individual or individuals as part of an effort to coerce the civilian population
                     of the United States or to influence the policy or affect the conduct of the United States Government by
                     coercion.
         No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
         Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
         subject to TRIA, do not exceed $5,000,000.
         If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
         Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
         Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
         in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
         established by the Secretary of Treasury.

B.       Application of Other Exclusions
         The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
         terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
         limited or restricted under this policy.




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    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS
           AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                         DISCLOSURE OF PREMIUM
                    (RELATING TO DISPOSITION OF TRIA)
                                                           SCHEDULE*


(1) Premium attributable to risk of loss from certified acts of terrorism through the end of the policy period based on the
extension of the Terrorism Risk Insurance Act of 2002, as amended by the Terrorism Risk Insurance Extension Act of 2005,
(“TRIA”) for lines subject to TRIA and the Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA):


$34,306.00

If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by any
change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.
(2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:

    No change unless one of the following is completed -


     Return Premium: N/A


     Additional Premium: N/A


If we notify you of an additional premium charge, the additional premium will be due as specified in such notice.
*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure of Premium                                                     December 31, 2014 unless extended by the federal
                                                                             government.
   In accordance with the TRIA, we are required to
   provide you with a notice disclosing the portion of                    C. Possibility of Additional or Return Premium
   your premium, if any, attributable to the risk of loss                    The premium attributable to the risk of loss from
   from terrorist acts certified under that Act for lines                    certified acts of terrorism coverage is calculated
   subject to TRIA. That portion of your premium                             based on the coverage (if any) in effect at the
   attributable is shown in the Schedule of this                             beginning of your policy for certified acts of
   endorsement or in the Declarations.                                       terrorism. If your policy contains a Conditional
B. Disclosure of Federal Participation in Payment of                         Endorsement, the termination of TRIA or extension
   Terrorism Losses                                                          of the federal program with certain modifications (as
                                                                             explained in that endorsement) may modify the
   The United States Government, Department of the                           extent of coverage (if any) your policy provides for
   Treasury, will pay a share of terrorism losses insured                    terrorism. If TRIA terminates or the Conditional
   under the federal program. The federal share equals                       Endorsement becomes applicable to your policy, the
   85% of that portion of the amount of such insured                         return premium (if any) or additional premium (if
   losses that exceeds the applicable insurer retention.                     any) shown in (2) of the Schedule will apply. If the
   The Act currently provides for no insurance industry                      level or terms of federal participation change, the
   or United States government participation in                              premium shown in (1) of the Schedule attributable to
   terrorism losses that exceed $100 billion in any one                      that part of the policy period extending beyond such a
   calendar year. The federal program established by                         change may not be appropriate and we will notify
   the Act is scheduled to terminate at the end of                           you of any changes in your premium.

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                                                           Policy Number
                                                           GLO 3793060-07
                                      ENDORSEMENT

               STEADFAST INSURANCE COMPANY

 Named Insured     DYNO NOBEL, INC.                        Effective Date:     10-01-14
                                                                     12:01 A.M., Standard Time
 Agent Name        MARSH USA, INC.                         Agent No.        29067-000
                               NOTICE OF CANCELLATION
 IT IS AGREED THAT IN THE EVENT OF CANCELLATION OR NON-RENEWAL, A
 WRITTEN NOTICE WILL BE GIVEN TO THE INSURED NINETY (90) DAYS PRIOR TO
 THE EFFECTIVE DATE OF SUCH CANCELLATION OR NON-RENEWAL, EXCEPT IN THE
 EVENT OF NON-PAYMENT OF PREMIUM WHERE TEN (10) DAYS NOTICE WILL BE
 GIVEN.




U-GL-1114-A CW (10/ 02)                                               Def Appendix 0088
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                                                           Policy Number
                                                           GLO 3793060-07
                                      ENDORSEMENT

               STEADFAST INSURANCE COMPANY

 Named Insured     DYNO NOBEL, INC.                        Effective Date:     10-01-14
                                                                     12:01 A.M., Standard Time
 Agent Name        MARSH USA, INC.                         Agent No.        29067-000
                                BROAD NAMED INSURED
 ANY SUBSIDIARY COMPANY AS NOW FORMED OR CONSTITUTED AND ANY OTHER
 COMPANY OVER WHICH THE NAMED INSURED HAS ACTIVE CONTROL, SO LONG AS
 THE NAMED INSURED OR ANY SUBSIDIARY COMPANY HAS AN OWNERSHIP INTEREST
 OF MORE THAN 50% OF SUCH COMPANY




U-GL-1114-A CW (10/ 02)                                               Def Appendix 0089
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COMMERCIAL INSURANCE
                                                                                                  COMMON POLICY DECLARATIONS
Policy Number        GLO 3793060-08                                      Renewal of Number          GLO 3793060-07
Named Insured and Mailing Address                                    Producer and Mailing Address
DYNO NOBEL, INC.                                                     MARSH USA INC
(SEE NAMED INSURED ENDT)                                             15 W SOUTH TEMPLE STE 700
2795 E COTTONWOOD PKWY                                               SALT LAKE CITY UT 84101-1533
SALT LAKE CITY UT 84121-7032

                                                          Producer Code     29067-000
Policy Period: Coverage begins           10-01-2015 at 12:01 A.M.; Coverage ends 10-01-2016                                    at 12:01 A.M.
The name insured is             Individual          Partnership       X Corporation
                                     Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
  GENERAL LIABILITY COVERAGE                                                                     PREMIUM           $       287,329.00
   issued by STEADFAST INSURANCE COMPANY




  THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                              TOTAL             $                   287,329.00
  This premium does not include Taxes and Surcharges.
  Taxes and Surcharges                                                               TOTAL             $


  The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
  FORMS and ENDORSEMENTS.
  Countersigned this                  day of
                                                                                               Authorized Representative

 THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

                                                                                                                           U-GU-D-310-A (01/ 93)
                                                                                                             Def Appendix 0090
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                      COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                             Policy Number:   GLO 3793060-08
                               STEADFAST INSURANCE COMPANY

  Named Insured
  DYNO NOBEL, INC.


  Policy Period: Coverage begins 10-01-2015 at 12:01 A.M.; Coverage ends 10-01-2016 at 12:01 A.M.

  Producer Name: MARSH        USA INC                                Producer No. 29067-000
Item 1. Business Descript ion: EXPLOSIVES

Item 2. Limits of Insurance

The Limits of Insurance stated below are the most available to pay damages, medical expenses and
"allocated loss adjustment expenses" covered by this policy. Various provisions in this policy restrict
coverage. Read the entire policy carefully to determine rights, duties and what is and is not covered.

LI MITS
  GENERAL AGGREGATE LIMIT                          3,000,000
  PRO DUCTS-COMPLETED OPERATIONS AGGREGATE LI MIT  3,000,000
  EACH O CCURRENCE LIMI T                          3,000,000
        DAMAGE TO PREMISES
        RENTED TO YOU LIMIT              100,000                 Any one premises
        MEDICAL EXPENSE LIMIT            10,000                  Any one pers on
  PERSONAL AND ADVERTISING INJURY LIMIT           3,000,000
                                                  Any one person or organization




Item 3. Form of Business and Location Premises
CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 4. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 5. Premiums
Coverage Part Premium: $             287,329
Other Premium:
Total Premium: $              287,329




                                                                                       U-GL-D-1286-A CW (09/ 06)
                                                                                                    Pa ge 1 of 1
                                                                                    Def Appendix 0091
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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                    Policy Number: GLO     3793060-08
Named Insured: DYNO         NOBEL, INC.


Policy Period: Coverage begins 10-01-2015 at 12:01 A.M.; Coverage ends 10-01-2016 at 12:01 A.M.

Producer Name: MARSH            USA INC                                        Producer No. 29067-000


Item 1. Limits of Insurance



      $     3,000,000 Aggregate Limit
      $     3,000,000 Each Claim Limit

Item 2. Form of Business:
          Individual              Parnership           Joint Venture     X Corporation
          Other



Item 3. Premium Schedule:
     Code No.          Premium Basis                       Rate                             Advance Premium
                       (Estimated Number of Employees)

     92100             IF ANY                              $ INCL           Per Employee    $       INCL

                                                           $ INCL           Flat Charge     $       INCL


Total Advance Premium For This Coverage Part:         $           INCL


Audit Period:          Annual       Semi-annual           Quarterly         Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
9/30/2008           (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




                                                                                                 U-GL-D-849-B CW (9/04)
                                                                                                              Page 1 of 1
                                                                                           Def Appendix 0092
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                                                            Policy Number
                                                            GLO 3793060-08
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                                Steadfast Insurance Company

Named Insured   DYNO NOBEL, INC.                                         Effective Date: 10-01-15
                                                                           12:01 A.M., Standard Time
Agent Name      MARSH USA INC                                            Agent No.   29067-000
COMMON & GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GU-D-310-A                01-93      COMMON POLICY DECLARATIONS
U-GL-D-1286-A CW            09-06      COMMERCIAL GEN LIAB COVERAGE PART DEC
U-GL-D-849-B CW             09-04      EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
U-GU-619-A CW               10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-621-A CW               10-02      SCHEDULE OF NAMED INSURED(S)
U-GL-1287-B CW              04-13      COMMERCIAL GEN LIAB COVERAGE FORM
U-GL-849-B CW               08-04      EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
STF-GU-199-B                01-09      IMPORTANT NOTICE SEV. OF SUIT/IN WITNESS
U-GL-1063-A-CW              12-01      FUNGUS EXCLUSION ENDORSEMENT
UGL1171ACW                  07-03      FUNGI OR BACTERIA EXCLUSION
U-GL-1175-F CW              04-13      ADDL INSD-AUTO-OWNERS LESSEES CONTRACTR
U-GL-1178ACW                07-03      ASBESTOS EXCLUSION ENDORSEMENT
U-GL-1205-B CW              01-08      WELDING HEALTH HAZARD EXCLUSION
U-GL-1342-A CW              10-07      LEAD LIABILITY EXCLUSION
U-GL-1449-A CW              04-10      SELF INSURED RETENTION
U-GL-1475-A CW              02-11      WHO IS AN INSURED AMENDMENT BROAD FORM
U-GL-1521-A CW              10-12      BLANKET NOTIFICATION TO OTH CANC/NONREN
U-GL-441-B CW               12-01      AIRCRAFT PROD., GROUNDING & TESTING EXCL
U-GL-911-B CW               09-05      CLAIM SERIES ENDORSEMENT
U-GL-915-C CW               08-04      FELLOW EMPLOYEE COVERAGE ENDORSEMENT
U-GL-917-C CW               08-04      INCIDENTAL MEDICAL MALPRACTICE COV ENDT
U-GL-923-B CW               06-04      SILICA OR SILICA MIXED DUST EXCLUSION
U-GL-925-B CW               12-01      WAIVER OF SUBROGATION (BLANKET) ENDT.
U-GU-739-A CW               09-06      DEFENSE WITHIN LIMITS NOTICE
CG 01 23                    03-97      INDIANA CHANGES POLLUTION EXCLUSION
CG 01 34                    08-03      MISSOURI CHANGES -POLLUTION EXCLUSION
CG 01 54                    04-13      VERMONT CHANGES-POLLUTION
CG 01 86                    12-04      UT CHANGES
CG 20 11                    04-13      ADDL INSD-MANAGERS/LESSORS OF PREMISES
CG 20 12                    04-13      ADDL INS-ST,GOV AGY,SUB,POL SUB-PERM
CG 20 15                    04-13      ADDL INSD-VENDORS
CG 20 34                    04-13      ADDL INSD-LESSOR OF LEASED EQUI
CG 21 06                    05-14      EXCL-ACC/DISCL OF CONFI OR PERSONAL INFO
CG 21 16                    04-13      EXCL-DESIGNATED PROFESSIONAL SERVICES
CG 21 47                    12-07      EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 49                    09-99      TOTAL POLLUTION EXCL ENDT
CG 21 55                    09-99      TOTAL POLLUTION EXCL. WITH HOSTILE FIRE
CG 21 73                    01-15      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
CG 24 17                    10-01      CONTRACTUAL LIABILITY - RAILROADS
CG 26 88                    01-15      AK EXCL OF CERTIFIED ACTS OF TERRORISM
IL 00 03                    09-08      CALCULATION OF PREMIUM
IL 00 17                    11-98      COMMON POLICY CONDITIONS
IL 00 21                    09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 66                    09-08      UTAH CHANGES-CANC & NONRENL
U-GU-298-B CW               04-94      CANCELLATION BY US
U-GU-1191-A CW              03-15      SANCTIONS EXCLUSION ENDORSEMENT
U-GU-630-D CW               01-15      DISCLOSURE OF INFO RELATING TO TRIA




   U-GU-619-A CW (10/ 02)
                                                                       Def Appendix 0093
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                                                             Policy Number
                                                             GLO 3793060-08
                              SCHEDULE OF NAMED INSURED(S)

              STEADFAST INSURANCE COMPANY

 Named Insured    DYNO NOBEL, INC.                           Effective Date:      10-01-15
                                                                      12:01 A.M., Standard Time
 Agent Name       MARSH USA INC                              Agent No.        29067-000
                                  NAMED INSURED
DYNO NOBEL, INC.
DYNO NOBEL ASA
DYNO NOBEL HOLDINGS ASA
DYNO NOBEL HOLDINGS USA, INC.
DYNO NOBEL LEASING, INC.
DYNO NOBEL TRANSPORTATION INC.
IRECO HOLDINGS CO
DYNO NOBEL HOLDINGS USA II, INC.
ETI HOLDING CORPORATION
AMERICAN WEST EXPLOSIVES, INC.
AMERICAN EAST EXPLOSIVES, INC.
DBA GOLDEN STATE EXPLOSIVES
DBA RIMROCK EXPLOSIVES
DBA BLASTRITE SERVICES
DBA EXPLOSIVES ENERGIES
DBA EXPLO TECH
ETI EXPORT, INC
DYNO EAST KENTUCKY INC
DBA MOUNTAIN VALLEY EXPLOSIVES
ST LAWRENCE EXPLOSIVES CORP
HALL EXPLOSIVES, INC
DNX DRILLING INC
EVENSON EXPLOSIVES LLC
DYNO NOBEL HOLDING AS
DYNO NOBEL HOLDINGS USA II
MT. STATE BIT SERVICES, INC
CMMPM LP
CMMPM LLC
SJL DRILL SERVICES, INC
MINNESOTA EXPLOSIVES CO
SIMSBURY HOPMEADOW STREET LLC
TECH REAL ESTATE HOLDING LLC
DYNO NOBEL LOUISIANA AMMONIA LLC (DNLA)




U-GU-621-A CW (10/ 02)
                                                                        Def Appendix 0094
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   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The Limits of Insurance shown in the Declarations is the most available to pay any
combination of damages, medical expenses and "allocated loss adjustment expenses"
covered by this policy. Various other provisions in this policy restrict coverage. Read
the entire policy carefully to determine rights, duties and what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any
other person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our"
refer to the company providing this insurance.
The word "insured" means any person or organization qualifying as such under Section II – Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section V –Definitions.
SECTION I – COVERAGES
COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
1. Insuring Agreement
    a. We will pay those sums that the insured becomes legally obligated to pay as damages because of "bodily
       injury" or "property damage" to which this insurance applies. We will have the right and duty to defend
       the insured against any "suit" seeking those damages. However, we will have no duty to defend the
       insured against any "suit" seeking damages for "bodily injury" or "property damage" to which this
       insurance does not apply. We may, at our discretion, investigate any "occurrence" and settle any claim or
       "suit" that may result. But:
        (1) The amount we will pay for damages and "allocated loss adjustment expenses" is limited as
            described in Section III – Limits Of Insurance; and
       (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the
           payment of:
           (a) Judgments or settlements under Coverages A or B;
           (b) Medical expenses under Coverage C; or
           (c) "Allocated loss adjustment expenses".
       No other obligation or liability to pay sums or perform acts or services is covered.
    b. This insurance applies to "bodily injury" and "property damage" only if:
       (1) The "bodily injury" or "property damage" is caused by an "occurrence" that takes place in the
           "coverage territory";
       (2) The "bodily injury" or "property damage" occurs during the policy period; and
       (3) Prior to the policy period, no insured listed under Paragraph 1. of Section II – Who Is An Insured and
           no "employee" authorized by you to give or receive notice of an "occurrence" or claim, knew that the
           "bodily injury" or "property damage" had occurred, in whole or in part. If such a listed insured or
           authorized "employee" knew, prior to the policy period, that the "bodily injury" or "property damage"
           occurred, then any continuation, change or resumption of such "bodily injury" or "property damage"
           during or after the policy period will be deemed to have been known prior to the policy period.
    c. "Bodily injury" or "property damage" which occurs during the policy period and was not, prior to the policy
       period, known to have occurred by any insured listed under Paragraph 1. of Section II – Who Is An
       Insured or any "employee" authorized by you to give or receive notice of an "occurrence" or claim,
       includes any continuation, change or resumption of that "bodily injury" or "property damage" after the end
       of the policy period.
    d. "Bodily injury" or "property damage" will be deemed to have been known to have occurred at the earliest
       time when any insured listed under Paragraph 1. of Section II – Who Is An Insured or any "employee"
       authorized by you to give or receive notice of an "occurrence" or claim:
       (1) Reports all, or any part, of the "bodily injury" or "property damage" to us or any other insurer;
        (2) Receives a written or verbal demand or claim for damages because of the "bodily injury" or "property
            damage"; or
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         (3) Becomes aware by any other means that "bodily injury" or "property damage" has occurred or has
             begun to occur.
   e. Damages because of "bodily injury" include damages claimed by any person or organization for care, loss
       of services or death resulting at any time from the "bodily injury".
2. Exclusions
   This insurance does not apply to:
   a. Expected Or Intended Injury
       "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This
       exclusion does not apply to "bodily injury" resulting from the use of reasonable force to protect persons or
       property.
   b. Contractual Liability
       "Bodily injury" or "property damage" for which the insured is obligated to pay damages by reason of the
       assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
       (1) That the insured would have in the absence of the contract or agreement; or
       (2) Assumed in a contract or agreement that is an "insured contract", provided the "bodily injury" or
           "property damage" occurs subsequent to the execution of the contract or agreement. Solely for the
           purposes of liability assumed in an "insured contract", reasonable attorneys' fees and necessary
           litigation expenses incurred by or for a party other than an insured are deemed to be damages
           because of "bodily injury" or "property damage", provided:
           (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the
                 same "insured contract"; and
           (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or
                 alternative dispute resolution proceeding in which damages to which this insurance applies are
                 alleged.
    c. Liquor Liability
       "Bodily injury" or "property damage" for which any insured may be held liable by reason of:
       (1) Causing or contributing to the intoxication of any person;
       (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence
            of alcohol; or
       (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic
            beverages.
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in:
            (a) The supervision, hiring, employment, training or monitoring of others by that insured; or
            (b) Providing or failing to provide transportation with respect to any person that may be under the
                 influence of alcohol;
       if the "occurrence" which caused the "bodily injury" or "property damage", involved that which is described
       in Paragraph (1), (2) or (3) above.
       However, this exclusion applies only if you are in the business of manufacturing, distributing, selling,
       serving or furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring
       alcoholic beverages on your premises, for consumption on your premises, whether or not a fee is charged
       or a license is required for such activity, is not by itself considered the business of selling, serving or
       furnishing alcoholic beverages.
    d. Workers' Compensation And Similar Laws
       Any obligation of the insured under a workers' compensation, disability benefits or unemployment
       compensation law or any similar law.
    e. Employer's Liability
       "Bodily injury" to:
         (1) An "employee" of the insured arising out of and in the course of:
             (a) Employment by the insured; or
             (b) Performing duties related to the conduct of the insured's business; or
         (2) The spouse, child, parent, brother or sister of that "employee" as a consequence of Paragraph (1)
             above.

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         This exclusion applies whether the insured may be liable as an employer or in any other capacity and to
         any obligation to share damages with or repay someone else who must pay damages because of the
         injury.
         This exclusion does not apply to liability assumed by the insured under an "insured contract".
    f.   Pollution
         (1) "Bodily injury" or "property damage" arising out of the actual, alleged or threatened discharge,
              dispersal, seepage, migration, release or escape of "pollutants":
              (a) At or from any premises, site or location which is or was at any time owned or occupied by, or
                  rented or loaned to, any insured. However, this subparagraph does not apply to:
                  (i) "Bodily injury" if sustained within a building and caused by smoke, fumes, vapor or soot
                        produced by or originating from equipment that is used to heat, cool or dehumidify the
                        building, or equipment that is used to heat water for personal use, by the building's occupants
                        or their guests;
                  (ii) "Bodily injury" or "property damage" for which you may be held liable, if you are a contractor
                        and the owner or lessee of such premises, site or location has been added to your policy as
                        an additional insured with respect to your ongoing operations performed for that additional
                        insured at that premises, site or location and such premises, site or location is not and never
                        was owned or occupied by, or rented or loaned to, any insured, other than that additional
                        insured; or
                  (iii) "Bodily injury" or "property damage" arising out of heat, smoke or fumes from a "hostile fire";
             (b) At or from any premises, site or location which is or was at any time used by or for any insured or
                 others for the handling, storage, disposal, processing or treatment of waste;
             (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as
                 waste by or for:
                 (i) Any insured; or
                 (ii) Any person or organization for whom you may be legally responsible; or
             (d) At or from any premises, site or location on which any insured or any contractors or
                 subcontractors working directly or indirectly on any insured's behalf are performing operations if
                 the "pollutants" are brought on or to the premises, site or location in connection with such
                 operations by such insured, contractor or subcontractor. However, this subparagraph does not
                 apply to:
                 (i) "Bodily injury" or "property damage" arising out of the escape of fuels, lubricants or other
                       operating fluids which are needed to perform the normal electrical, hydraulic or mechanical
                       functions necessary for the operation of "mobile equipment" or its parts, if such fuels,
                       lubricants or other operating fluids escape from a vehicle part designed to hold, store or
                       receive them. This exception does not apply if the "bodily injury" or "property damage" arises
                       out of the intentional discharge, dispersal or release of the fuels, lubricants or other operating
                       fluids, or if such fuels, lubricants or other operating fluids are brought on or to the premises,
                       site or location with the intent that they be discharged, dispersed or released as part of the
                       operations being performed by such insured, contractor or subcontractor;
                 (ii) "Bodily injury" or "property damage" sustained within a building and caused by the release of
                       gases, fumes or vapors from materials brought into that building in connection with
                       operations being performed by you or on your behalf by a contractor or subcontractor; or
                 (iii) "Bodily injury" or "property damage" arising out of heat, smoke or fumes from a "hostile fire".
             (e) At or from any premises, site or location on which any insured or any contractors or
                 subcontractors working directly or indirectly on any insured's behalf are performing operations if
                 the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or
                 in any way respond to, or assess the effects of, "pollutants".
         (2) Any loss, cost or expense arising out of any:
             (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                 monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
                 assess the effects of, "pollutants"; or
             (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
                 monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                 responding to, or assessing the effects of, "pollutants".
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            However, this paragraph does not apply to liability for damages because of "property damage" that
            the insured would have in the absence of such request, demand, order or statutory or regulatory
            requirement, or such claim or "suit" by or on behalf of a governmental authority.
    g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to
       others of any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use
       includes operation and "loading or unloading".
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
       supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
       caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment
       to others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any
       insured.
       This exclusion does not apply to:
       (1) A watercraft while ashore on premises you own or rent;
         (2) A watercraft you do not own that is:
             (a) Less than 26 feet long; and
             (b) Not being used to carry persons or property for a charge;
         (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not
             owned by or rented or loaned to you or the insured;
         (4) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or
             watercraft; or
         (5) "Bodily injury" or "property damage" arising out of:
             (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                 qualify under the definition of "mobile equipment" if it were not subject to a compulsory or
                 financial responsibility law or other motor vehicle insurance law where it is licensed or principally
                 garaged; or
           (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the
                definition of "mobile equipment".
    h. Mobile Equipment
       "Bodily injury" or "property damage" arising out of:
       (1) The transportation of "mobile equipment" by an "auto" owned or operated by or rented or loaned to
           any insured; or
       (2) The use of "mobile equipment" in, or while in practice for, or while being prepared for, any
           prearranged racing, speed, demolition, or stunting activity.
    i. War
         "Bodily injury" or "property damage", however caused, arising, directly or indirectly, out of:
         (1) War, including undeclared or civil war;
         (2) Warlike action by a military force, including action in hindering or defending against an actual or
             expected attack, by any government, sovereign or other authority using military personnel or other
             agents; or
         (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
             hindering or defending against any of these.
    j.   Damage To Property
         "Property damage" to:
         (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other
             person, organization or entity, for repair, replacement, enhancement, restoration or maintenance of
             such property for any reason, including prevention of injury to a person or damage to another's
             property;
         (2) Premises you sell, give away or abandon, if the "property damage" arises out of any part of those
             premises;
         (3) Property loaned to you;
         (4) Personal property in the care, custody or control of the insured;

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        (5) That particular part of real property on which you or any contractors or subcontractors working directly
             or indirectly on your behalf are performing operations, if the "property damage" arises out of those
             operations; or
        (6) That particular part of any property that must be restored, repaired or replaced because "your work"
             was incorrectly performed on it.
        Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than damage by
        fire) to premises, including the contents of such premises, rented to you for a period of seven or fewer
        consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as
        described in Section III – Limits Of Insurance.
        Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never occupied,
        rented or held for rental by you.
        Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
        agreement.
        Paragraph (6) of this exclusion does not apply to "property damage" included in the "products-completed
        operations hazard".
    k. Damage To Your Product
       "Property damage" to "your product" arising out of it or any part of it.
    l. Damage To Your Work
        "Property damage" to "your work" arising out of it or any part of it and included in the "products-completed
        operations hazard".
        This exclusion does not apply if the damaged work or the work out of which the damage arises was
        performed on your behalf by a subcontractor.
    m. Damage To Impaired Property Or Property Not Physically Injured
       "Property damage" to "impaired property" or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in "your product" or "your work"; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
            accordance with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental
       physical injury to "your product" or "your work" after it has been put to its intended use.
    n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal,
       recall, inspection, repair, replacement, adjustment, removal or disposal of:
       (1) "Your product";
       (2) "Your work"; or
       (3) "Impaired property";
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in
       it.
    o. Personal And Advertising Injury
       "Bodily injury" arising out of "personal and advertising injury".
    p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability
       to manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of "bodily injury".
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created
       or used on, or transmitted to or from computer software, including systems and applications software,
       hard or floppy disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which
       are used with electronically controlled equipment.
    q. Recording And Distribution Of Material Or Information In Violation Of Law
       "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or
       omission that violates or is alleged to violate:

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         (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
             law;
      (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
      (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
          Fair and Accurate Credit Transaction Act (FACTA); or
      (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
          2003 or FCRA and their amendments and additions, or any other legal liability, at common law or
          otherwise, that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring,
          collecting, recording, use of, sending, transmitting, communicating or distribution of material or
          information.
  Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily
  occupied by you with permission of the owner. A separate limit of insurance applies to this coverage as
  described in Section III – Limits Of Insurance.
COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
1. Insuring Agreement
   a. We will pay those sums that the insured becomes legally obligated to pay as damages because of
       "personal and advertising injury" to which this insurance applies. We will have the right and duty to
       defend the insured against any "suit" seeking those damages. However, we will have no duty to defend
       the insured against any "suit" seeking damages for "personal and advertising injury" to which this
       insurance does not apply. We may, at our discretion, investigate any offense and settle any claim or
       "suit" that may result. But:
       (1) The amount we will pay for damages and "allocated loss adjustment expenses" is limited as
            described in Section III – Limits Of Insurance; and
       (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the
            payment of:
               (a) Judgments or settlements under coverages A or B;
               (b) Medical expenses under Coverage C; or
           (c) "Allocated loss adjustment expenses".
       No other obligation or liability to pay sums or perform acts or services is covered.
   b. This insurance applies to "personal and advertising injury" caused by an offense arising out of your
       business but only if the offense was committed in the "coverage territory" during the policy period.
2. Exclusions
   This insurance does not apply to:
   a. Knowing Violation Of Rights Of Another
       "Personal and advertising injury" caused by or at the direction of the insured with the knowledge that the
       act would violate the rights of another and would inflict "personal and advertising injury".
   b. Material Published With Knowledge Of Falsity
       "Personal and advertising injury" arising out of oral or written publication, in any manner, of material, if
       done by or at the direction of the insured with knowledge of its falsity.
   c. Material Published Prior To Policy Period
       "Personal and advertising injury" arising out of oral or written publication, in any manner, of material
       whose first publication took place before the beginning of the policy period.
   d. Criminal Acts
       "Personal and advertising injury" arising out of a criminal act committed by or at the direction of the
       insured.
    e. Contractual Liability
       "Personal and advertising injury" for which the insured has assumed liability in a contract or agreement.
       This exclusion does not apply to liability for damages that the insured would have in the absence of the
       contract or agreement.
    f. Breach Of Contract
         "Personal and advertising injury" arising out of a breach of contract, except an implied contract to use
         another's advertising idea in your "advertisement".

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    g. Quality Or Performance Of Goods – Failure To Conform To Statements
       "Personal and advertising injury" arising out of the failure of goods, products or services to conform with
       any statement of quality or performance made in your "advertisement".
    h. Wrong Description Of Prices
       "Personal and advertising injury" arising out of the wrong description of the price of goods, products or
       services stated in your "advertisement".
    i. Infringement Of Copyright, Patent, Trademark Or Trade Secret
       "Personal and advertising injury" arising out of the infringement of copyright, patent, trademark, trade
       secret or other intellectual property rights. Under this exclusion, such other intellectual property rights do
       not include the use of another's advertising idea in your "advertisement".
       However, this exclusion does not apply to infringement, in your "advertisement", of copyright, trade dress
       or slogan.
    j. Insureds In Media And Internet Type Businesses
       "Personal and advertising injury" committed by an insured whose business is:
         (1) Advertising, broadcasting, publishing or telecasting;
         (2) Designing or determining content of web sites for others; or
         (3) An Internet search, access, content or service provider.
         However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
         under the Definitions section.
       For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
       anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing
       or telecasting.
    k. Electronic Chatrooms Or Bulletin Boards
         "Personal and advertising injury" arising out of an electronic chatroom or bulletin board the insured hosts,
         owns, or over which the insured exercises control.
    l. Unauthorized Use Of Another's Name Or Product
       "Personal and advertising injury" arising out of the unauthorized use of another's name or product in your
       e-mail address, domain name or metatag, or any other similar tactics to mislead another's potential
       customers.
    m. Pollution
       "Personal and advertising injury" arising out of the actual, alleged or threatened discharge, dispersal,
       seepage, migration, release or escape of "pollutants" at any time.
    n. Pollution-related
       Any loss, cost or expense arising out of any:
       (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
           monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
           the effects of, "pollutants"; or
       (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
           monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
           responding to, or assessing the effects of, "pollutants".
    o. War
         "Personal and advertising injury", however caused, arising, directly or indirectly, out of:
         (1) War, including undeclared or civil war;
         (2) Warlike action by a military force, including action in hindering or defending against an actual or
             expected attack, by any government, sovereign or other authority using military personnel or other
             agents; or
         (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
             hindering or defending against any of these.
    p. Recording And Distribution Of Material Or Information In Violation Of Law
         "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission
         that violates or is alleged to violate:
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         (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
             law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
           Fair and Accurate Credit Transaction Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
           2003 or FCRA and their amendments and additions, or any other legal liability, at common law or
           otherwise, that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring,
           collecting, recording, use of, sending, transmitting, communicating or distribution of material or
           information.
COVERAGE C – MEDICAL PAYMENTS
1. Insuring Agreement
   a. We will pay medical expenses as described below for "bodily injury" caused by an accident:
       (1) On premises you own or rent;
         (2) On ways next to premises you own or rent; or
         (3) Because of your operations;
         provided that:
             (a) The accident takes place in the "coverage territory" and during the policy period;
             (b) The expenses are incurred and reported to us within one year of the date of the accident; and
               (c) The injured person submits to examination, at our expense, by physicians of our choice as often
                   as we reasonably require.
    b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
       insurance. We will pay reasonable expenses for:
         (1) First aid administered at the time of an accident;
         (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
      (3) Necessary ambulance, hospital, professional nursing and funeral services.
2. Exclusions
   We will not pay expenses for "bodily injury":
   a. Any Insured
      To any insured, except "volunteer workers".
   b. Hired Person
      To a person hired to do work for or on behalf of any insured or a tenant of any insured.
   c. Injury On Normally Occupied Premises
      To a person injured on that part of premises you own or rent that the person normally occupies.
    d. Workers' Compensation And Similar Laws
       To a person, whether or not an "employee" of any insured, if benefits for the "bodily injury" are payable or
       must be provided under a workers' compensation or disability benefits law or a similar law.
    e. Athletics Activities
       To a person injured while practicing, instructing or participating in any physical exercises or games,
       sports, or athletic contests.
    f. Products-Completed Operations Hazard
       Included within the "products-completed operations hazard".
    g. Coverage A Exclusions
      Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1. We will pay, with respect to any claim we investigate or settle, or any "suit" against an insured we defend:
    a. All expenses we incur.



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    b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the
       use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these
       bonds.
    c. The cost of bonds to release attachments, but only for bond amounts within the applicable limit of
       insurance. We do not have to furnish these bonds.
    d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense
       of the claim or "suit", including actual loss of earnings up to $250 a day because of time off from work.
    e. All court costs taxed against the insured in the "suit". However, these payments do not include attorneys'
       fees or attorneys' expenses taxed against the insured.
    f. Prejudgment interest awarded against the insured on that part of the judgment we pay. If we make an
       offer to pay the applicable limit of insurance, we will not pay any prejudgment interest based on that
       period of time after the offer.
    g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we
       have paid, offered to pay, or deposited in court the part of the judgment that is within the applicable limit
       of insurance.
   These payments will reduce the limits of insurance.
2. If we defend an insured against a "suit" and an indemnitee of the insured is also named as a party to the
   "suit", we will defend that indemnitee if all of the following conditions are met:
    a. The "suit" against the indemnitee seeks damages for which the insured has assumed the liability of the
       indemnitee in a contract or agreement that is an "insured contract";
    b. This insurance applies to such liability assumed by the insured;
    c. The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the
       insured in the same "insured contract";
    d. The allegations in the "suit" and the information we know about the "occurrence" are such that no conflict
       appears to exist between the interests of the insured and the interests of the indemnitee;
    e. The indemnitee and the insured ask us to conduct and control the defense of that indemnitee against
       such "suit" and agree that we can assign the same counsel to defend the insured and the indemnitee; and
    f.   The indemnitee:
         (1) Agrees in writing to:
             (a) Cooperate with us in the investigation, settlement or defense of the "suit";
             (b) Immediately send us copies of any demands, notices, summonses or legal papers received in
                 connection with the "suit";
             (c) Notify any other insurer whose coverage is available to the indemnitee; and
             (d) Cooperate with us with respect to coordinating other applicable insurance available to the
                 indemnitee; and
         (2) Provides us with written authorization to:
             (a) Obtain records and other information related to the "suit"; and
             (b) Conduct and control the defense of the indemnitee in such "suit".
    So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee,
    necessary litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at
    our request will be paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of
    Section I – Coverage A – Bodily Injury And Property Damage Liability, such payments will not be deemed to
    be damages for "bodily injury" and "property damage" but will reduce the limits of insurance as "allocated loss
    adjustment expenses".
   Our obligation to defend an insured's indemnitee and to pay for attorneys' fees and necessary litigation
   expenses as Supplementary Payments ends when we have used up the applicable limit of insurance in the
   payment of judgments, settlements or "allocated loss adjustment expenses" or the conditions set forth above,
   or the terms of the agreement described in Paragraph f. above, are no longer met.
SECTION II – WHO IS AN INSURED
1. If you are designated in the Declarations as:
   a. An individual, you and your spouse are insureds, but only with respect to the conduct of a business of
        which you are the sole owner.

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    b. A partnership or joint venture, you are an insured. Your members, your partners, and their spouses are
       also insureds, but only with respect to the conduct of your business.
   c. A limited liability company, you are an insured. Your members are also insureds, but only with respect to
      the conduct of your business. Your managers are insureds, but only with respect to their duties as your
      managers.
   d. An organization other than a partnership, joint venture or limited liability company, you are an insured.
      Your "executive officers" and directors are insureds, but only with respect to their duties as your officers
      or directors. Your stockholders are also insureds, but only with respect to their liability as stockholders.
   e. A trust, you are an insured. Your trustees are also insureds, but only with respect to their duties as
      trustees.
2. Each of the following is also an insured:
   a. Your "volunteer workers" only while performing duties related to the conduct of your business, or your
      "employees", other than either your "executive officers" (if you are an organization other than a
      partnership, joint venture or limited liability company) or your managers (if you are a limited liability
      company), but only for acts within the scope of their employment by you or while performing duties
      related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
      insureds for:
      (1) "Bodily injury" or "personal and advertising injury":
           (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
               (if you are a limited liability company), to a co-"employee" while in the course of his or her
               employment or performing duties related to the conduct of your business, or to your other
               "volunteer workers" while performing duties related to the conduct of your business;
           (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
               consequence of Paragraph (1)(a) above;
           (c) For which there is any obligation to share damages with or repay someone else who must pay
               damages because of the injury described in Paragraph (1)(a) or (b) above; or
           (d) Arising out of his or her providing or failing to provide professional health care services.
        (2) "Property damage" to property:
             (a) Owned, occupied or used by;
             (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for
                  any purpose by;
             you, any of your "employees", "volunteer workers", any partner or member (if you are a partnership or
             joint venture), or any member (if you are a limited liability company).
    b. Any person (other than your "employee" or "volunteer worker"), or any organization while acting as your
        real estate manager.
    c. Any person or organization having proper temporary custody of your property if you die, but only:
        (1) With respect to liability arising out of the maintenance or use of that property; and
        (2) Until your legal representative has been appointed.
    d. Your legal representative if you die, but only with respect to duties as such. That representative will have
        all your rights and duties under this Coverage Part.
3. Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company,
    and over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no
    other similar insurance available to that organization. However:
    a. Coverage under this provision is afforded only until the 90th day after you acquire or form the
        organization or the end of the policy period, whichever is earlier;
    b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired or
        formed the organization; and
    c. Coverage B does not apply to "personal and advertising injury" arising out of an offense committed before
        you acquired or formed the organization.
No person or organization is an insured with respect to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown as a Named Insured in the Declarations.




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SECTION III – LIMITS OF INSURANCE
1. The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of
   the number of:
   a. Insureds;
   b. Claims made or "suits" brought; or
   c. Persons or organizations making claims or bringing "suits".
2. The General Aggregate Limit is the most we will pay for the sum of:
   a. Medical expenses under Coverage C;
   b. Damages under Coverage A, except damages because of "bodily injury" or "property damage" included
        in the "products-completed operations hazard";
   c. Damages under Coverage B; and
   d. "Allocated loss adjustment expenses" arising from a., b., or c. above.
3. The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
   because of "bodily injury" and "property damage" included in the "products-completed operations hazard" and
   "allocated loss adjustment expenses" arising from claims or "suits" for damages under coverage A because of
   "bodily injury" or "property damage" included in the "products-completed operations hazard".
4. Subject to Paragaph 2. above, the Personal And Advertising Injury Limit is the most we will pay under
   Coverage B for the sum of all damages because of all "personal and advertising injury" sustained by any one
   person or organization and "allocated loss adjustment expenses" arising from claims or "suits" for damages
   under Coverage B.
5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for
   the sum of:
   a. Damages under Coverage A;
   b. "Allocated loss adjustment expenses" arising from damages under Coverage A; and
    c. Medical expenses under Coverage C
      because of all "bodily injury" and "property damage" arising out of any one "occurrence".
6. Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
     Coverage A for damages because of "property damage" to any one premises, while rented to you, or in the
     case of damage by fire, while rented to you or temporarily occupied by you with permission of the owner and
     related "allocated loss adjustment expenses".
7. Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all
     medical expenses because of "bodily injury" sustained by any one person.
The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any
remaining period of less than 12 months, starting with the beginning of the policy period shown in the
Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months.
In that case, the additional period will be deemed part of the last preceding period for purposes of determining the
Limits of Insurance.
SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
1. Bankruptcy
   Bankruptcy or insolvency of the insured or of the insured's estate will not relieve us of our obligations under
   this Coverage Part.
2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
    a. You must see to it that we are notified as soon as practicable of an "occurrence" or an offense which may
       result in a claim. To the extent possible, notice should include:
       (1) How, when and where the "occurrence" or offense took place;
       (2) The names and addresses of any injured persons and witnesses; and
       (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.
    b. If a claim is made or "suit" is brought against any insured, you must:
        (1) Immediately record the specifics of the claim or "suit" and the date received; and
        (2) Notify us as soon as practicable.
        You must see to it that we receive written notice of the claim or "suit" as soon as practicable.
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   c. You and any other involved insured must:
      (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
          connection with the claim or "suit";
      (2) Authorize us to obtain records and other information;
      (3) Cooperate with us in the investigation or settlement of the claim or defense against the "suit"; and
      (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
          may be liable to the insured because of injury or damage to which this insurance may also apply.
   d. No insured will, except at that insured's own cost, voluntarily make a payment, assume any obligation, or
      incur any expense, other than for first aid, without our consent.
3. Legal Action Against Us
   No person or organization has a right under this Coverage Part:
   a. To join us as a party or otherwise bring us into a "suit" asking for damages from an insured; or
   b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
   A person or organization may sue us to recover on an agreed settlement or on a final judgment against an
   insured; but we will not be liable for damages that are not payable under the terms of this Coverage Part or
   that are in excess of the applicable limit of insurance. An agreed settlement means a settlement and release
   of liability signed by us, the insured and the claimant or the claimant's legal representative.
4. Other Insurance
   If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B
   of this Coverage Part, our obligations are limited as follows:
   a. Primary Insurance
         This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
         obligations are not affected unless any of the other insurance is also primary. Then, we will share with all
         that other insurance by the method described in Paragraph c. below.
    b. Excess Insurance
         (1) This insurance is excess over:
             (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                 (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for "your
                       work";
                 (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with
                       permission of the owner;
                 (iii) That is insurance purchased by you to cover your liability as a tenant for "property damage"
                       to premises rented to you or temporarily occupied by you with permission of the owner; or
                 (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent
                       not subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage
                       Liability.
             (b) Any other primary insurance available to you covering liability for damages arising out of the
                 premises or operations, or the products and completed operations, for which you have been
                 added as an additional insured.
         (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the insured
             against any "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
             insurer defends, we will undertake to do so, but we will be entitled to the insured's rights against all
             those other insurers.
         (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the
             loss, if any, that exceeds the sum of:
             (a) The total amount that all such other insurance would pay for the loss in the absence of this
                 insurance; and
             (b) The total of all deductible and self-insured amounts under all that other insurance.
         (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
             Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance
             shown in the Declarations of this Coverage Part.



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   c. Method Of Sharing
      If all of the other insurance permits contribution by equal shares, we will follow this method also. Under
      this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or
      none of the loss remains, whichever comes first.
      If any of the other insurance does not permit contribution by equal shares, we will contribute by limits.
      Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the
      total applicable limits of insurance of all insurers.
5. Premium Audit
   a. We will compute all premiums for this Coverage Part in accordance with our rules and rates.
   b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of
      each audit period we will compute the earned premium for that period and send notice to the first Named
      Insured. The due date for audit and retrospective premiums is the date shown as the due date on the bill.
      If the sum of the advance and audit premiums paid for the policy period is greater than the earned
      premium, we will return the excess to the first Named Insured.
   c. The first Named Insured must keep records of the information we need for premium computation, and
       send us copies at such times as we may request.
6. Representations
   By accepting this policy, you agree:
    a. The statements in the Declarations are accurate and complete;
    b. Those statements are based upon representations you made to us; and
    c. We have issued this policy in reliance upon your representations.
7. Separation Of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage
   Part to the first Named Insured, this insurance applies:
   a. As if each Named Insured were the only Named Insured; and
   b. Separately to each insured against whom claim is made or "suit" is brought.
8. Transfer Of Rights Of Recovery Against Others To Us
   If the insured has rights to recover all or part of any payment we have made under this Coverage Part, those
   rights are transferred to us. The insured must do nothing after loss to impair them. At our request, the insured
   will bring "suit" or transfer those rights to us and help us enforce them.
9. When We Do Not Renew
   If we decide not to renew this Coverage Part, we will mail or deliver to the first Named Insured shown in the
   Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
   If notice is mailed, proof of mailing will be sufficient proof of notice.
10. Duties – Claim Settlement and Allocated Loss Adjustment Expenses
    As soon as our right and duty to defend the insured against any "suit" seeking damages end, you will
    promptly assume control of the settlement of claims and defense of "suits". A list of outstanding claims and
    "suits" will be made available to the First Named Insured upon request.
SECTION V – DEFINITIONS
1. "Advertisement" means a notice that is broadcast or published to the general public or specific market
   segments about your goods, products or services for the purpose of attracting customers or supporters. For
   the purposes of this definition:
   a. Notices that are published include material placed on the Internet or on similar electronic means of
       communication; and
   b. Regarding web sites, only that part of a web site that is about your goods, products or services for the
       purposes of attracting customers or supporters is considered an advertisement.
2. "Allocated loss adjustment expense" is an expense directly allocable to a specific claim and includes but is
   not limited to all Supplementary Payments as set forth in this policy; all court costs, fees and expenses; all
   costs, fees and expenses for all attorneys, witnesses, experts, depositions, reported or recorded statements,
   summonses, service of process, legal transcripts or testimony, copies of any public records; alternative
   dispute resolution; interest; investigative services, non-employee adjusters, medical examinations, autopsies,
   medical cost containment; declaratory judgment, subrogation, and any other fees, costs or expenses

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      reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under this
      policy.
3.  "Auto" means:
   a. A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached
       machinery or equipment; or
   b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
       insurance law where it is licensed or principally garaged.
   However, "auto" does not include "mobile equipment".
4. "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death resulting from
   any of these at any time.
5. "Coverage territory" means:
   a. The United States of America (including its territories and possessions), Puerto Rico and Canada;
   b. International waters or airspace, but only if the injury or damage occurs in the course of travel or
       transportation between any places included in Paragraph a. above; or
   c. All other parts of the world if the injury or damage arises out of:
       (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
       (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away
           for a short time on your business; or
       (3) "Personal and advertising injury" offenses that take place through the Internet or similar electronic
           means of communication;
   provided the insured's responsibility to pay damages is determined in a "suit" on the merits, in the territory
   described in Paragraph a. above or in a settlement we agree to.
6. "Employee" includes a "leased worker". "Employee" does not include a "temporary worker".
7. "Executive officer" means a person holding any of the officer positions created by your charter, constitution,
   bylaws or any other similar governing document.
8. "Hostile fire" means one which becomes uncontrollable or breaks out from where it was intended to be.
9. "Impaired property" means tangible property, other than "your product" or "your work", that cannot be used or
    is less useful because:
    a. It incorporates "your product" or "your work" that is known or thought to be defective, deficient,
         inadequate or dangerous; or
    b. You have failed to fulfill the terms of a contract or agreement;
    if such property can be restored to use by the repair, replacement, adjustment or removal of "your product" or
    "your work" or your fulfilling the terms of the contract or agreement.
10. "Insured contract" means:
    a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that
         indemnifies any person or organization for damage by fire to premises while rented to you or temporarily
         occupied by you with permission of the owner is not an "insured contract";
     b. A sidetrack agreement;
     c. Any easement or license agreement, except in connection with construction or demolition operations on
        or within 50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e. An elevator maintenance agreement;
     f. That part of any other contract or agreement pertaining to your business (including an indemnification of a
        municipality in connection with work performed for a municipality) under which you assume the tort liability
        of another party to pay for "bodily injury" or "property damage" to a third person or organization. Tort
        liability means a liability that would be imposed by law in the absence of any contract or agreement.
        Paragraph f. does not include that part of any contract or agreement:
         (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction or
             demolition operations, within 50 feet of any railroad property and affecting any railroad bridge or
             trestle, tracks, road-beds, tunnel, underpass or crossing;
         (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
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             (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                 surveys, field orders, change orders or drawings and specifications; or
             (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                 damage; or
         (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
             damage arising out of the insured's rendering or failure to render professional services, including
             those listed in (2) above and supervisory, inspection, architectural or engineering activities.
11. "Leased worker" means a person leased to you by a labor leasing firm under an agreement between you and
    the labor leasing firm, to perform duties related to the conduct of your business. "Leased worker" does not
    include a "temporary worker".
12. "Loading or unloading" means the handling of property:
    a. After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or
         "auto";
    b. While it is in or on an aircraft, watercraft or "auto"; or
    c. While it is being moved from an aircraft, watercraft or "auto" to the place where it is finally delivered;
    but "loading or unloading" does not include the movement of property by means of a mechanical device, other
    than a hand truck, that is not attached to the aircraft, watercraft or "auto".
13. "Mobile equipment" means any of the following types of land vehicles, including any attached machinery or
    equipment:
    a. Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
    b. Vehicles maintained for use solely on or next to premises you own or rent;
    c. Vehicles that travel on crawler treads;
    d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
       (1) Power cranes, shovels, loaders, diggers or drills; or
         (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
    e. Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained
       primarily to provide mobility to permanently attached equipment of the following types:
       (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
           exploration, lighting and well servicing equipment; or
       (2) Cherry pickers and similar devices used to raise or lower workers;
    f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than
         the transportation of persons or cargo.
         However, self-propelled vehicles with the following types of permanently attached equipment are not
         "mobile equipment" but will be considered "autos":
         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
        (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
            exploration, lighting and well servicing equipment.
    However, "mobile equipment" does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land
    vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
    considered "autos".
14. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same
    general harmful conditions.
15. "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of one or
    more of the following offenses:
    a. False arrest, detention or imprisonment;
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    b. Malicious prosecution;
    c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
        dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
        disparages a person's or organization's goods, products or services;
    e. Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f. The use of another's advertising idea in your "advertisement"; or
    g. Infringing upon another's copyright, trade dress or slogan in your "advertisement".
16. "Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
    reclaimed.
17. "Products-completed operations hazard":
    a. Includes all "bodily injury" and "property damage" occurring away from premises you own or rent and
        arising out of "your product" or "your work" except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, "your work" will be deemed
             completed at the earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work
                 at more than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.
    b. Does not include "bodily injury" or "property damage" arising out of:
        (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
            not owned or operated by you, and that condition was created by the "loading or unloading" of that
            vehicle by any insured;
        (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
        (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule,
            states that products-completed operations are subject to the General Aggregate Limit.
18. "Property damage" means:
    a. Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
        shall be deemed to occur at the time of the physical injury that caused it; or
    b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to
        occur at the time of the "occurrence" that caused it.
    For the purposes of this insurance, electronic data is not tangible property.
    As used in this definition, electronic data means information, facts or programs stored as or on, created or
    used on, or transmitted to or from computer software, including systems and applications software, hard or
    floppy disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with
    electronically controlled equipment.
19. "Suit" means a civil proceeding in which damages because of "bodily injury", "property damage" or "personal
    and advertising injury" to which this insurance applies are alleged. "Suit" includes:
    a. An arbitration proceeding in which such damages are claimed and to which the insured must submit or
        does submit with our consent; or
    b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
        insured submits with our consent.
20. "Temporary worker" means a person who is furnished to you to substitute for a permanent "employee" on
    leave or to meet seasonal or short-term workload conditions.
21. "Volunteer worker" means a person who is not your "employee", and who donates his or her work and acts at
    the direction of and within the scope of duties determined by you, and is not paid a fee, salary or other
    compensation by you or anyone else for their work performed for you.

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22. "Your product":
    a. Means:
       (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed
           of by:
           (a) You;
           (b) Others trading under your name; or
           (c) A person or organization whose business or assets you have acquired; and
       (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such
           goods or products.
    b. Includes:
       (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
           performance or use of "your product"; and
       (2) The providing of or failure to provide warnings or instructions.
    c. Does not include vending machines or other property rented to or located for the use of others but not
       sold.
23. "Your work":
    a. Means:
       (1) Work or operations performed by you or on your behalf; and
       (2) Materials, parts or equipment furnished in connection with such work or operations.
    b. Includes:
       (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
           performance or use of "your work"; and
       (2) The providing of or failure to provide warnings or instructions.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agreement                                                 (2) A "claim" will be deemed to have been made
                                                                            when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes                   corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an                   comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the              same person or organization will be deemed to
        "insured’s" "employee benefit programs". We will                    have been made at the time the first of those
        have the right and duty to defend the "insured"                     "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against       2.   Exclusions
        any "suit" seeking damages for any act, error, or
                                                                        This insurance does not apply to:
        omission for which this insurance does not apply.
        We may, at our discretion, investigate any "claim"              A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                        and advertising injury";
         (1) The amount we pay for damages is limited as                B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                        C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                     tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settlements un-             D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                 or other provider’s failure to perform its con-
                                                                           tract;
         No other obligation or liability to pay sums or per-
                                                                        E. Any "claim" or "suit" arising out of your failure
         form acts or services is covered unless explicitly
                                                                           to comply with any workers compensation, un-
         provided for under Supplementary Payments of this
         Coverage Part.                                                    employment insurance, social security, disabil-
                                                                           ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                               F. Any "claim" or "suit" arising out of the failure of
                                                                           any of your "employee benefit plans" to meet
             a.   A "claim" arising out of the act, error or               obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                             G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                (1) Advice given to any person to participate
                  the "coverage territory";                                     or not participate in a plan or program in-
                                                                                cluded in "employee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                    (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                         any investment manager, administrator,
                  "claim" or "suit"; and                                        trustee, actuary, advisor, counsel, account-
                                                                                ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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              (3) Any investment activity, including the man-         C. Subject to the Aggregate Limit provisions in B.
                  agement, administration or disposition of              above, the Each Claim Limit is the most we will
                  assets of your "employee benefit pro-                  pay for all damages sustained by any one "em-
                  grams"; or                                             ployee", including the "employee’s" dependents and
                                                                         beneficiaries, because of acts, errors, or omissions
              (4) Failure of any investment to perform as                committed in the "administration" of your "em-
                  represented by any "insured".
                                                                         ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"       D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:                              each consecutive annual period and to any remain-
              a.   The Employee Retirement Income Secu-                  ing period of less than 12 months starting with the
                   rity Act of 1974 (PL93-406) and its                   beginning of the policy period shown in the Decla-
                   amendments; or                                        rations, unless the policy period is extended after is-
                                                                         suance for an additional period of less than 12
              b.   The Internal Revenue Code of 1986 (in-                months. In that case, the additional period will be
                   cluding the Internal Revenue Code of                  deemed part of the last preceding period for pur-
                   1954) and its amendments.                             poses of determining the Limits of Insurance.
    3.   Supplementary Payments                                   III. Conditions
         We will pay, in addition to the applicable Limits of         A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                              Bankruptcy or insolvency of the "insured" or the "in-
                                                                          sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by           B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                Claim or Suit
            judgment which accrues after entry of the                     (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered                      plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment                  that we are notified as soon as practicable of
            which does not exceed the limit of our insur-                     any act, error, or omission which may result in
            ance.                                                             a "claim". To the extent possible, notice should
         B. Premiums on appeal bonds required and on                          include:
            bonds to release attachments in any "suit". We                    a.    How, when, and where the act, error, or
            do not have to furnish these bonds.                                     omission took place;
         C. All reasonable expenses incurred by the "in-                      b.    The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                    "employee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-                         of any "employee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                    Notice of an act, error, or omission is not notice
                                                                              of a "claim".
          D. Prejudgment interest awarded against the "in-
             sured" on that part of the judgment we pay. If               (2) If a "claim" is received by any "insured", you
             we make an offer to pay the applicable limit of                  must:
             insurance, we will not pay any prejudgment in-
                                                                              a.    Immediately record the specifics of the
             terest based on that period of time after the of-
                                                                                    "claim" and the date received; and
             fer.
                                                                              b.    Notify us as soon as practicable.
II. Limits of Insurance
                                                                              You must see to it that we receive written no-
    A. The Limits of Insurance shown in the Declarations
                                                                              tice of the "claim" as soon as practicable.
       and the rules below establish the most we will pay
       regardless of the number of:                                       (3) You and any other involved "insured" must:
         (1) "Insureds";                                                      a.    Immediately send us copies of any de-
                                                                                    mands, notices, summonses, or legal papers
         (2) "Claims" made or "suits" brought; or
                                                                                    received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                          "suit";
             "employees" making "claims" or bringing "suits".
                                                                              b.    Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                          information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "employee benefit
       programs" during the policy period.


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        c.   Cooperate with us in the investigation, set-                When this insurance is excess, we will have no
             tlement, or defense of the "claim" or "suit";               duty to defend any "claim" or "suit" that any
             and                                                         other insurer has a duty to defend. If no other
                                                                         insurer defends, we will undertake to do so, but
        d.   Assist us, upon our request, in the en-                     we will be entitled to the "insured’s" rights
             forcement of any right against any person                   against all those other insurers.
             or organization which may be liable to the
             "insured" because of injury to which this in-               When this insurance is excess over other insur-
             surance may also apply.                                     ance, we will pay only our share of the amount
                                                                         of the loss, if any, that exceeds the sum of:
    (4) No insureds will, except at their own cost, vol-
        untarily make a payment, assume any obliga-                      i.    The total amount that all such other insur-
        tion, or incur any expense without our consent.                        ance would pay for the loss in the absence
                                                                               of this insurance; and
C. Legal Action Against Us
                                                                         ii. The total of all deductible and self-insured
    No person or organization has a right:                                   amounts under all that other insurance.
    (1) To join us as a party or otherwise bring us into                 We will share the remaining loss, if any, with
        a "suit" asking for damages from an "insured";                   any other insurance that is not described in this
        or                                                               Excess Insurance provision and was not bought
    (2) To sue us on this Coverage Part unless all of its                specifically to apply in excess of the Limits of
        terms have been fully complied with.                             Insurance shown in the Declarations of this
                                                                         Coverage Part.
    A person or organization may sue us to recover on
    an agreed settlement or on a final judgment against              (3) Method of Sharing
    an "insured" obtained after an actual trial, but we                  If all of the other insurance permits contribu-
    will not be liable for damages that are not payable                  tion by equal shares, we will follow this method
    under the terms of this Coverage Part or that are in                 also. Under this approach, each insurer con-
    excess of the applicable limit of insurance. An                      tributes equal amounts until it has paid its ap-
    agreed settlement means a settlement and release                     plicable limit of insurance or none of the loss
    of liability signed by us, the "insured", and the                    remains, whichever comes first.
    claimant or the claimant’s legal representative.
                                                                         If any of the other insurance does not permit
 D. Other Insurance                                                      contribution by equal shares, we will contribute
    If other valid and collectible insurance is available                by limits. Under this method, each insurer’s
    to the "insured" for a loss we cover under this Cov-                 share is based on the ratio of its applicable
    erage Part, our obligations are limited as follows:                  limit of insurance to the total applicable limits
                                                                         of insurance of all insurers.
    (1) Primary Insurance
                                                                 E. Separation of Insureds
        This insurance is primary except when 2. below
        applies. If this insurance is primary, our obli-             Except with respect to the Limits of Insurance and
        gations are not affected unless any of the other             any rights or duties specifically assigned in this
        insurance is also primary. Then, we will share               Coverage Part to the first Named Insured, this in-
        with all that other insurance by the method de-              surance applies:
        scribed in 3. below.                                         (1) As if each Named Insured were the only
    (2) Excess Insurance                                                 Named Insured; and
        This insurance is excess over any other insur-               (2) Separately to each "insured" against whom
        ance whether primary, excess, contingent, or on                  "claim" is made or "suit" is brought.
        any other basis that is effective prior to the be-       F. Transfer Of Rights Of Recovery Against Others To
        ginning of the policy period shown in the Dec-              Us
        larations of this insurance and applies to an act,
        error, or omission on other than a claims-made               If the "insured" has rights to recover all or part of
        basis, if:                                                   any payment we made under this Coverage Part,
                                                                     those rights are transferred to us. The "insured"
        a.   No Retroactive Date is shown in the Dec-                must do nothing after loss to impair them. At our
             larations of this insurance; or                         request, the "insured" will bring "suit" or transfer
        b.   The other insurance has a policy period                 those rights to us and help us enforce them.
             which continues after the Retroactive           IV. Definitions
             Date, if any, shown in the Declarations of
             this insurance.



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    A. "Advertisement" means a notice that is broadcast or             You and any of your partners, executive officers, di-
       published to the general public or specific market              rectors, members, stockholders or "employees",
       segments about your goods, products or services for             provided such "employee" is authorized to act in
       the purpose of attracting customers or supporters.              the "administration" of your "employee benefit pro-
       For the purposes of this definition:                            grams".
         (1) Notices that are published include material          I.   "Personal and advertising injury" means:
             placed on the Internet or on similar electronic
                                                                       Injury, including consequential "bodily injury", aris-
             means of communication; and
                                                                       ing out of one or more of the following offenses:
         (2) Regarding web-sites, only that part of a web-
                                                                       (1) False arrest, detention, or imprisonment;
             site that is about your goods, products or ser-
             vices for the purposes of attracting customers or         (2) Malicious prosecution;
             supporters is considered an advertisement.
                                                                       (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                             or invasion of the right of private occupancy of,
                                                                           a room, dwelling, or premises that a person oc-
         (1) Counseling "employees", including their de-
                                                                           cupies by or on behalf of its owner, landlord, or
             pendents and beneficiaries, with respect to
                                                                           lessor;
             "employee benefit programs";
                                                                       (4) Oral or written publication, in any manner, of
         (2) Handling records in connection with "employee
                                                                           material that slanders or libels a person or or-
             benefit programs"; or
                                                                           ganization or disparages a person’s or organi-
         (3) Effecting or terminating an "employee’s" par-                 zation’s goods, products, or services; or
             ticipation in a plan included in "employee
                                                                       (5) Oral or written publication,’ in any manner, of
             benefit programs".
                                                                           material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-               vacy;
       ease sustained by a person, including death result-
                                                                       (6) The use of another’s advertising idea in your
       ing from any of these at any time.
                                                                           "advertisement"; or
     D. "Claim" means:
                                                                       (7) Infringing upon another’s copyright, trade dress
         The receipt by you of a demand for money or ser-                  or slogan in your "advertisement".
         vices which alleges an act, error, or omission in the
                                                                  J.   "Property damage" means:
         "administration" of your "employee benefit pro-
         grams."                                                       (1) Physical injury to tangible property, including
                                                                           all resulting loss of use of that property.
     E. "Coverage territory" means:
                                                                       (2) Loss of use of tangible property that is not
         (1) The United States of America (including its
                                                                           physically injured.
             territories and possessions), Puerto Rico, and
             Canada; or                                                For the purposes of this insurance, electronic data is
                                                                       not tangible property.
         (2) All parts of the world if the "insured’s" respon-
             sibility to pay damages is determined in a "suit"         As used in this definition, electronic data means in-
             on the merits, in the territory described in E. 1.        formation, facts or programs stored as or on, cre-
             above, or in a settlement to which we agree.              ated or used on, or transmitted to or from computer
                                                                       software, including systems and applications, soft-
    F. "Employee" means:
                                                                       ware, hard or floppy disks, CD-ROMS, tapes,
         Your officers and employees, whether actively em-             drives, cells, data processing devices or any other
         ployed, disabled, or retired.                                 media which are used with electronically controlled
                                                                       equipment.
    G. "Employee benefit programs" mean:
                                                                  K. "Suit" means:
         Group life insurance, group accident or health in-
         surance, profit sharing plans, pension plans, em-             A civil proceeding in which damages to which this
         ployee stock subscription plans, workers compensa-            insurance applies is alleged. "Suit" includes:
         tion, unemployment insurance, salary continuation
                                                                       (1) An arbitration proceeding in which such dam-
         plans, social security, disability benefits insurance,
                                                                           ages are claimed and to which you must submit
         savings plans, vacation plans, or any other similar
                                                                           or do submit with our consent; or
         plans or programs.
                                                                       (2) Any other alternative dispute resolution pro-
    H. "Insured" means:
                                                                           ceeding in which such damages are claimed
                                                                           and to which you submit with our consent.



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Important Notice
Service of Suit and In Witness Clause



Service of Suit

In the event an action or proceeding arises under the contract, it is agreed that the Company, at your request, will submit
to the jurisdiction of a court of competent jurisdiction within the United States. Nothing in this condition constitutes or
should be understood to constitute a waiver or limitation of the right to arbitration as set forth herein or to commence an
action in any court of competent jurisdiction in the United States to remove an action to a United States District Court or to
seek a transfer of a case to another court as permitted by the laws of the United States or any state in the United States. It
is further agreed that service of process in such suit may be made upon Illinois Corporation Service Company, 801 Adlai
Stevenson Drive, Springfield, IL 62703. In any suit instituted against the Company upon this policy, the Company will
abide by the final decision of such court or of any appellate court in the event of an appeal.

Further, pursuant to any statute of any state, territory, or district of the United States which makes provision therefore, the
Company hereby designates the Superintendent, Commissioner or Director of Insurance, other officer specified for that
purpose in the statute, or his successors in office as its true and lawful attorney upon whom may be served any lawful
process in any action, suit, or proceeding instituted by or on behalf of the Insured of any beneficiary hereunder arising out
of this policy of insurance and hereby designates the above named Illinois Corporation Service Company as the entity to
whom the said officer is authorized to mail such process or a true copy thereof.


In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.

IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has caused
this policy to be countersigned by its duly Authorized Representative(s).




              President                                                                 Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                  Zurich in North America
                                                 Customer Inquiry Center
                                                     1400 American Lane
                                              Schaumburg, Illinois 60196-1056
                                     1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                             Email: info.source@zurichna.com




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Fungus Exclusion Endorsement

      Policy No.      Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.          Producer             Add’l. Prem            Return Prem.
                                                                                                             $                      $


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products/ Completed Operations Liability Coverage Part


This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" caused directly or in-
directly, in whole or in part, by:
1.     Any "fungus(i)" or "spore(s)", or
2.     Any substance, vapor or gas produced by or arising out of any "fungus(i)" or "spore(s)", or
3.     Any material, product, building component, building or structure that contains, harbors, nurtures or acts as a medium
       for any "fungus(i)" or "spore(s)"
regardless of any other cause, event, material, product and/ or building component that contributed concurrently or in any
sequence to that injury or damage.


For purposes of this endorsement the following definitions are added:
       "Fungus(i)" includes, but is not limited to, any form or type of mold, mushroom or mildew.


       "Spore(s)" means any reproductive body produced by or arising out of any "fungus(i)".




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.       Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.    Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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Additional Insured --- Automatic --- Owners, Lessees Or
Contractors

    Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.    Producer No.        Add’l. Prem         Return Prem.




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: DYNO NOBEL,               INC.
Address (including ZIP Code):
2795 E COTTONWOOD PKWY
SALT LAKE CITY, UT 84121-7032
This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


A. Section II ---- Who Is An Insured is amended to include as an additional insured any person or organization whom you
   are required to add as an additional insured on this policy under a written contract or written agreement . Such person
   or organization is an additional insured only with respect to liability for "bodily injury", "property damage" or "personal
   and advertising injury" caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2. The acts or omissions of those acting on your behalf,
    in the performance of your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement.
    However, the insurance afforded to such additional insured:
    1.   Only applies to the extent permitted by law; and
    2. Will not be broader than that which you are required by the written contract or written agreement to provide for
       such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusion applies:
    This insurance does not apply to:
          "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering of, or failure to
         render, any professional architectural, engineering or surveying services including:
            The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
            field orders, change orders or drawings and specifications; or
             Supervisory, inspection, architectural or engineering activities.
    This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the supervision,
    hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused the "bodily
    injury" or "property damage", or the offense which caused the "personal and advertising injury", involved the
    rendering of or the failure to render any professional architectural, engineering or surveying services.




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C. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV ----
   Commercial General Liability Conditions:
    The additional insured must see to it that:
    1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
    2. We receive written notice of a claim or "suit" as soon as practicable; and
    3.   A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
         another insurer under which the additional insured may be an insured in any capacity. This provision does not
         apply to insurance on which the additional insured is a Named Insured if the written contract or written agreement
         requires that this coverage be primary and non-contributory.
D. For the purposes of the coverage provided by this endorsement:
    1. The following is added to the Other Insurance Condition of Section IV ---- Commercial General Liability Conditions:
         Primary and Noncontributory insurance
         This insurance is primary to and will not seek contribution from any other insurance available to an additional
         insured provided that:
         a. The additional insured is a Named Insured under such other insurance; and
         b. You are required by written contract or written agreement that this insurance be primary and not seek
            contribution from any other insurance available to the additional insured.
    2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV ---- Commercial
       General Liability Conditions:
         This insurance is excess over:
         Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
         insured, in which the additional insured on our policy is also covered as an additional insured on another policy
         providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any
         policy in which the additional insured is a Named Insured on such other policy and where our policy is required
         by a written contract or written agreement to provide coverage to the additional insured on a primary and non-
         contributory basis.
E. This endorsement does not apply to an additional insured which has been added to this policy by an endorsement
   showing the additional insured in a Schedule of additional insureds, and which endorsement applies specifically to
   that identified additional insured.
F. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
   Section III ---- Limits Of Insurance:
    The most we will pay on behalf of the additional insured is the amount of insurance:
    1. Required by the written contract or written agreement referenced in Paragraph A. of this endorsement; or
    2. Available under the applicable Limits of Insurance shown in the Declarations,
    whichever is less.
    This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.


All other terms and conditions of this policy remain unchanged.




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Asbestos Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.    Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, demand, order, statutory or regulatory requirement, direction or determination that any insured or
              others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, demand, order, statutory or
              regulatory requirement, direction or determination that any insured or others test for, investigate, monitor,
              clean up, remove, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Welding Health Hazard Exclusion

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.     Eff. Date of End.          Producer             Add’l. Prem           Return Prem.
                                                                                                            $                     $




       THIS ENDORSEMENT CHANG ES TH E POLICY. PLEASE READ IT CAREFULLY.

This endorsem ent modifies insurance provided under the:
Commercial General Liability Coverage Part
Owners and Contractors Protective Liability Coverage Form-----Coverage For Operations of Designated Contractor
Products-Completed Operations Liability Coverage Part
Railroad Protective Liability Coverage Form

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.    Exclusions

     This insurance does not apply to:

     Welding Health Hazard

     "Bodily injury" caused directly or indirectly by the actual, alleged or threatened inhalation, ingestion, absorption, or ex-
     posure to harmful fumes or gases caused by "welding materials and equipment" used in connection with the process of
     welding or fusing together of any metals or other materials.
     For the purposes of this exclusion, the following definition applies:
         "Welding materials and equipment" means:
         (1) Welding machinery or other welding process equipment;
         (2) Welding rods;
         (3) Electrodes; or
         (4) Any consumable products including, but not limited to, wires, fluxes, coatings or cleaning agents.




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Lead Liability Exclusion

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer           Add’l. Prem       Return Prem.
                                                                                                $                 $




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part




The following exclusion is added to Paragraph 2. Exclusions, of Section I - Coverage A - Bodily Injury And Property Dam-
age Liability and Paragraph 2. Exclusions, of Coverage B - Personal And Advertising Injury Liability:
This insurance does not apply to:
Lead
(1) "Bodily injury", "property damage" or "personal and advertising injury" arising out of, resulting from, caused by or related
    to: the actual, alleged or threatened:
    (a) Exposure to or existence of lead, paint containing lead, or any other material, product or substance containing lead;
        or
    (b) Manufacture, distribution, sale, resale, re-branding, installation, repair, removal, encapsulation, abatement, replace-
        ment or handling of lead, paint containing lead, or any other material, product or substance containing lead,
    whether the lead is or was at any time airborne, ingested, inhaled, absorbed, transmitted in any fashion, or found in any
    form whatsoever, or whether any other cause, event, material, product or substance contributed concurrently or in any se-
    quence to the injury or damage.;
(2) Any sums that any insured or other entity must pay, repay or reimburse because of any:
    (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for, sample, monitor,
        clean up, remove, abate, cover, contain, treat, mitigate, or neutralize lead, paint containing lead, or any other mate-
        rial, product or substance containing lead, or in any way respond to, or assess the effects of lead in any form; or
    (b) Claim or "suit" for damages relating to testing for, sampling, monitoring, cleaning up, removing, abating, covering,
        containing, treating, mitigating, or neutralizing lead, paint containing lead, or any other material, product or sub-
        stance containing lead or in any way responding to or assessing the effects of lead in any form.
(3) Any other loss, cost or expense arising out of, caused by or relating in any way to lead.




                                                                                                            U-GL- 1342-A
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Self Insured Retention

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part
Employee Benefits Liability Coverage Part
Liquor Liability Coverage Part
Stop Gap Employers Liability Coverage Part


Under the provisions of this endorsement, you are responsible for payment of all or part of "defense costs" in addition to
Self Insured Retention (SIR) Amounts.


                                    SCHEDULE ---- SELF INSURED RETENTION AMOUNTS

You may select only one choice of Option 1, 2, 3 or 4 below. In addition, Option 5 may or may not be selected.

  X Option 1          $     415,108                 Per Incident ---- You Pay Defense Costs Within SIR

      Option 2                                      Per Incident ---- You Pay All Defense Costs

                                                    Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You
      Option 3                                      Pay Defense Costs Within SIR
                                                    Per Incident ---- Products-Completed Operations Incidents Only ---- You Pay
                                                    Defense Costs Within SIR
                 If only one amount is shown, that same amount also applies as respects the Option 3 Self Insured Retention
                 Amount not shown.

      Option 4                                      Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You
                                                    Pay All Defense Costs

                                                    Per Incident ---- Products-Completed Operations Incidents Only---- You Pay All
                                                    Defense Costs
                 If only one amount is shown, that same amount also applies as respects the Option 4 Self Insured Retention
                 Amount not shown.
If no Self Insured Retention Amount(s) is shown above for Option 1, 2, 3 or 4, Option 1 ---- Per Incident ---- You Pay Defense
Costs Within SIR for an amount of $1,000,000 is deemed to be selected.




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      Option 5                                       Aggregate ---- Adjustable
                                                     Based on a rate of                  per          (units) of
                                                     (exposure)
                                                     Example: based on a rate of $3.00 per $100 of WC Payroll

                                                     Minimum Aggregate

                                                     OR
       Option 5                                      Per Incident ---- You Pay All Defense Costs

 QUARTERLY                                           Periodic Reporting Requirement
                                                     (If no information is provided at left, the reporting requirement is quarterly.)
                                                     Level of Notification of Potential Penetration as a % of the Self Insured
                    25 %                             Retention (If no percentage information is provided at left, 25% applies.)
 ESIS
                                                     Authorized Claim Service Provider



The insurance provided by this policy is subject to the following additional provisions, which in the event of conflict with
any other provisions elsewhere in the policy, shall control the application of the insurance to which this endorsement
applies:
I.   Your Obligations ---- Self Insured Retention
     A. The Self Insured Retention (SIR) Amount(s) shown above in the SCHEDULE ---- SELF INSURED RETENTION
        AMOUNTS of this endorsement apply as follows:
         1.   Option 1 Per Incident ---- You Pay Defense Costs Within SIR
              If Option 1 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
              retention" and "defense costs" for each "incident", until you have paid "self insured retention" and "defense
              costs" equal to the Per Incident ---- You Pay Defense Costs Within SIR amount, subject to the provisions of
              Paragraph A.5. below.
              The Per Incident ---- You Pay Defense Costs Within SIR amount is the most you will pay for "self insured
              retention" and "defense costs" arising out of each "incident", regardless of:
              a. The number of persons or organizations making claims or bringing "suits" because of the "incident"; or
              b. The number of coverages applicable to the "incident" under this policy,
              except for any "defense costs" we may elect to pay.
              If any final judgment or settlement and "defense costs" are less than such Self Insured Retention Amount(s),
              we shall have no obligation to pay "self insured retention" or "defense costs" under this policy.
         2.   Option 2 Per Incident ---- You Pay All Defense Costs
              If Option 2 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
              retention" for each "incident", until you have paid "self insured retention" equal to the Per Incident ---- You Pay
              All Defense Costs amount, subject to the provisions of Paragraph A.5. below.
              The Per Incident ---- You Pay All Defense Costs amount is the most you will pay for "self insured retention"
              arising out of each "incident", regardless of:
              a. The number of persons or organizations making claims or bringing "suits" because of the "incident"; or
              b. The number of coverages applicable to the "incident".
              Under this Option 2, you are also obligated to pay all "defense costs", both within and excess of the Self
              Insured Retention Amount, except for any "defense costs" we may elect to pay.

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3.   Option 3 Per Incident ---- You Pay Defense Costs Within SIR
     If Option 3 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
     retention" and "defense costs" for each "incident", until you have paid "self insured retention" and "defense
     costs" equal to the:
     a.   Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You Pay Defense Costs Within
          SIR amount; or
     b. Per Incident ---- Products-Completed Operations Incidents Only ---- You Pay Defense Costs Within SIR
        amount,
     subject to the provisions of Paragraph A.5. below.
     The Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You Pay Defense Costs Within
     SIR amount is the most you will pay for "self insured retention" and "defense costs" arising out of each
     "incident", regardless of the number of persons or organizations making claims or bringing "suits" because of
     the "incident" or the number of coverages, other than "products-completed operations hazard" coverage,
     applicable to the "incident", except for any "defense costs" we may elect to pay.
     The Per Incident ---- Products-Completed Operations Incidents Only --- You Pay Defense Costs Within SIR
     amount is the most you will pay for "self insured retention" and "defense costs" arising out of each "products-
     completed operations hazard" "incident", regardless of the number of persons or organizations making claims
     or bringing "suits" because of the "incident", except for any "defense costs" we may elect to pay.
     If any final judgment or settlement and "defense costs" are less than such Self Insured Retention Amount(s),
     we shall have no obligation to pay "self insured retention" or "defense costs" under this policy.
4.   Option 4 Per Incident ---- You Pay All Defense Costs
     If Option 4 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
     retention" for each "incident", until you have paid "self insured retention" equal to the:
     a.   Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You Pay All Defense Costs
          amount ; or
     b. Per Incident ---- Products-Completed Operations Incidents Only---- You Pay All Defense Costs amount,
     subject to the provisions of Paragraph A.5. below.
     The Per Incident ---- All Incidents Other Than Products-Completed Operations ---- You Pay All Defense Costs
     amount is the most you will pay for "self insured retention" arising out of each "incident", regardless of the
     number of persons or organizations making claims or bringing "suits" because of the "incident" or the number
     of coverages, other than "products-completed operations hazard" coverage, applicable to the "incident".
     The Per Incident ---- Products-Completed Operations Incidents Only---- You Pay All Defense Costs amount is the
     most you will pay for "self insured retention" arising out of each "products-completed operations hazard"
     "incident", regardless of the number of persons or organizations making claims or bringing "suits" because of
     the "incident".
     Under this Option 4, you are also obligated to pay all "defense costs", both within and excess of the Self
     Insured Retention Amount, except for any "defense costs" we may elect to pay.
5. Aggregate Amount
     a.   If Option 5 is selected as respects Paragraphs A.1. or A.3. above, it is a condition precedent to our liability
          that you make actual payment of "self insured retention" and "defense costs" equal to the aggregate
          amount. When you have paid "self insured retention" and "defense costs" equal to the aggregate amount,
          we will pay any further "self insured retention" and "defense costs" incurred during the remainder of the
          policy period. Such aggregate amount is the most you will pay for all "self insured retention" and "defense
          costs" incurred under this policy, subject to Paragraphs c.(1) or (2) below, whichever is applicable.




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        b. If Option 5 is selected as respects Paragraphs A.2. or A.4. above, it is a condition precedent to our liability
           that you make actual payment of "self insured retention" equal to the aggregate amount. When you have
           paid "self insured retention" equal to the aggregate amount, we will pay any further "self insured retention"
           incurred during the remainder of the policy period. This aggregate amount, however, applies only to your
           total incurred "self insured retention" during the policy period and does not apply to your continued
           obligation for payment of "defense costs". Such aggregate amount is the most you will pay for all "self
           insured retention" incurred under this policy, subject to Paragraphs c.(1) or (2) below, whichever is
           applicable.
        c.   (1) If an Aggregate ---- Adjustable amount is shown, the final aggregate amount will be determined at the
                 end of the policy period by an audit of your records. Such audit will be based on the rate shown
                 under the Aggregate ---- Adjustable amount multiplied by the final audited exposure. The amount
                 shown as the Aggregate ---- Adjustable amount is an estimated amount that will be finalized based on
                 what the audit of your records will develop.
                 In no event will the final audited aggregate amount be less than the Aggregate ---- Adjustable amount,
                 shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS, unless a Minimum Aggregate
                 amount is shown. If a Minimum Aggregate amount is shown, the final audited Aggregate ---- Adjustable
                 amount will not be less than the Minimum Aggregate amount.
             (2) If an Aggregate ---- Flat amount is shown, such amount is the final applicable aggregate amount, which
                 will not be adjusted.
        If no entry appears in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement as an
        aggregate amount, then your obligation for payment of "self insured retention" and "defense costs" applies
        only in accordance with the selected Paragraph A.1., A.2., A.3. or A.4. above.
B. Payments By Others
   Payments by others, including but not limited to additional insureds or insurers, do not serve to satisfy your "self
   insured retention" obligations or your obligations for payment of "defense costs".
C. Deductible Provisions
   Deductible provisions apply in addition to, but do not serve to satisfy the "self insured retention" requirements of
   this endorsement. You must satisfy the "self insured retention" requirements of this endorsement prior to the
   application of any separate deductible provisions provided under this policy.
D. Other Self Insured Retention Provisions
   1. The Self Insured Retention Amount(s) shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS
      of this endorsement apply separately to each consecutive annual period and to any remaining period of less
      than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the policy
      period is extended after issuance for an additional period of less than 12 months. In that case, the additional
      period will be deemed part of the last preceding period for purposes of determining the applicable Self Insured
      Retention Amount(s).
   2.   Your obligation to pay the Self Insured Retention Amount(s) is not fulfilled by:
        a. The payment of "self insured retention" under any other policy; or
        b. Any payment made by us or another insurance company,
        even if the payments described under Paragraph 2.a. or 2.b. apply to the same "incident" associated with the
        "self insured retention" amount due under this policy.
   3.   If more than one policy issued by us provides sums payable because of covered damages sustained from a
        single continuous covered "incident", it is a condition precedent to our liability for payment of these covered
        damages that you first shall pay all applicable "self insured retention" of each policy for which coverage applies
        to the continuous "incident".
E. Your Insolvency or Bankruptcy
   To the fullest extent allowable by law, your satisfaction of the "self insured retention" and any applicable "defense
   costs", as a condition precedent to our liability, applies regardless of your insolvency or bankruptcy.


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F. Settlement of Claim
    You may not settle any claim or "suit" which exceeds the Self Insured Retention Amount(s) shown in the
    SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement without our written permission to do
    so. If you fail to obtain such written permission, we shall have no obligation to provide coverage for that claim or
    "suit" under this policy.
G. Authorized Claim Service Provider
    1.   You shall employ a claim service provider acceptable to us, as shown in the Authorized Claim Service
         Provider of the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement for the purpose
         of providing claim services for settlement of losses. You shall pay all fees, charges and costs of the claim
         service provider in addition to "self insured retention" and applicable "defense costs", without any
         reimbursement from us.
    2.   In the event of cancellation, expiration or revision of the claims service contract between you and the claim
         service provider, you shall notify us within (10) days of such change and shall replace the claim service
         provider with another claim service provider that is acceptable to us.
    3.   You shall allow us to audit the claim service provider and provide supervisory claim service, at our expense.
H. Notification of Potential Penetration
    1.   You shall see to it that we are notified promptly of an "incident" which may result in a claim under this policy.
         Notice must include:
         a.   How, when and where the "incident" took place;
         b. The names and addresses of any injured persons and witnesses; and
         c. The nature and location of any injury or damage arising out of the "incident".
    2.   You shall notify us promptly, per Paragraph H.1. above, in the event of any "incident", without regard to
         liability, which results in any of the following injuries or damages:
         a.   (1) Death;
              (2) Brain damage;
              (3) Paraplegic or quadriplegic impairment;
              (4) Amputation or serious functional impairment of any major limb;
              (5) Severe burns involving more than 25% of the body or causing serious disfigurement;
              (6) Sensory impairment (sight, hearing, taste or smell);
              (7) Severe internal body organ damage or loss;
              (8) Multiple fractures involving more than one body part;
              (9) Permanent and total disability;
              (10) Sexual abuse or molestation;
              (11) Significant psychological / neurological involvement;
              (12) Occupational disease; or
         b. Any construction defect damages arising from attached housing such as condominiums, townhomes or
            from multiple structures.




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        3.   You must notify us promptly of any:
             a.   (1) Potential exposure;
                  (2) Loss reserve established; or
                  (3) Potential judgment, without regard to liability,
                  which equals or exceeds the Level of Notification of Potential Penetration as a % of the Self Insured
                  Retention percentage amount shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of
                  this endorsement; or
             b. "Suit", in the event a "suit" is filed, even if the amount claimed in the "suit" is unspecified or less than the
                Self Insured Retention Amount(s).
   I.   Reporting - Self Insured Retention
        1.   You must report claims or "suits" per the following:
             You must monitor the cumulative "self insured retention" and "defense costs" sustained and report those total
             amounts to us in accordance with the frequency of report indicated in the Periodic Reporting Requirement of
             the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement. However, if the total of all
             "self insured retention" and "defense costs" under Options 1 or 3 or the total of all "self insured retention"
             under Options 2 or 4 should at any time during the policy period attain an amount equal to 75% of the
             Aggregate ---- Adjustable amount or Aggregate ---- Flat amount, if applicable, you are required in that event to
             make an immediate report to us as to total "self insured retention" and "defense costs" sustained at that time.
             The periodic report that you send to us must be in a format that is acceptable to us, and include an
             accounting of all individual losses and "defense costs" incurred as of the date of the report.
        2. Within forty-five (45) days after the end of the policy term, you must give us a listing of all existing claims or
           "suits" within the Self Insured Retention Amounts. At a minimum, such listing will include the following for
           each claim or "suit":
             a.   A description of each claim or "suit";
             b. The date of the "incident";
             c. The amounts paid and reserved for future payments for loss and "defense costs"; and
             d. The current status of the claim or "suit".
        3.   Quarterly thereafter, you are required to give us an updated listing of the status of all new and existing claims
             or "suits", both paid and reserved, until all claims and "suits" for the policy period are closed or settled.
        4.   Compliance with the reporting requirements set forth in this endorsement is a condition precedent to
             coverage.
   J. Representations
        By acceptance of this policy you agree that you will not procure insurance for all or any part of the Self Insured
        Retention Amounts shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement. If
        such insurance is procured, there will be no coverage under this policy as respects those Self Insured Retention
        Amounts.
II. Our Rights and Obligations Excess of the Self Insured Retention
   A. Self Insured Retention ---- Your Failure to Respond
        In the event of your refusal to respond to your obligations for the payment of "self insured retention" or "defense
        costs" for any reason, we shall not make payments for you, nor in any event shall we be required to substitute for
        you as respects your responsibility for payment of these "self insured retention" or "defense costs".
   B. Damages/ Defense Costs Excess of the Self Insured Retention ---- Per Incident
        We shall be liable only for the amount of covered damages and if applicable, "defense costs" in excess of the Self
        Insured Retention Amount(s) shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this
        endorsement, subject to the Limits of Insurance and other applicable provisions of our policy. We shall have no
        obligations under this policy unless you have satisfied your "self insured retention" obligations.


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    C. Damages/ Defense Costs Excess of the Self Insured Retention - Aggregate
        If an Aggregate ---- Adjustable amount or Aggregate --- Flat amount is shown in the SCHEDULE ---- SELF INSURED
        RETENTION AMOUNTS of this endorsement, we shall be liable for the amount of covered damages and if
        applicable, "defense costs" excess of such aggregate amount, subject to the Limits of Insurance and other
        applicable provisions of our policy. We shall have no obligations under this policy unless you have satisfied your
        "self insured retention" obligations.
    D. Settlement of Claims
        1. When your liability is reasonably anticipated to exceed the remaining Self Insured Retention Amount(s), we
           shall have, at our option, the right to ask you to tender the remaining Self Insured Retention Amount(s) and
           have the right to negotiate the settlement of any claim. We shall obtain your consent prior to entering into any
           settlement of any claim which is equal to or less than the Self Insured Retention Amount(s).
             If, however, you refuse to consent to any settlement recommended by us within the "self insured retention"
             and elect to contest the claim or continue with any legal proceedings in connection with such claim, our
             liability for that claim shall not exceed the amount determined by subtracting the "self insured retention" from
             the amount for which the claim could have been settled on the date you refused to consent. We shall have no
             liability with respect to such claim if this difference is zero or a negative number.
             For Paragraphs A.1. and A.3. under I. Your Obligations ---- Self Insured Retention, we shall have no
             responsibility for "defense costs" incurred after the date you refused to consent.
        2. With respect to any claim under this insurance which has been tendered to us and which may exceed the Self
           Insured Retention Amount(s), we may pay any or all of the Self Insured Retention Amount(s) on your behalf to
           defend or to effect settlement of such claim. Such amount paid by us shall be reimbursed promptly by you.
        3.   At our expense, we shall have the right, but not the duty to associate counsel and you have the duty to
             cooperate with any counsel we associate on a case, regardless of whether the covered damages or "defense
             costs" for which coverage is provided under this policy appear likely to exceed the Self Insured Retention
             Amount(s) shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement.
    E. Application of Recovered Amounts
        We have your rights and the rights of persons entitled to the benefits of this insurance to recover sums that are
        reimbursable under this endorsement and any "self insured retention" and "defense costs" from anyone liable for
        the injury or covered damages. You will do everything necessary to protect those rights for us and to help us
        enforce them.
        If we recover any payment made under this policy from anyone liable for injury or covered damages, the recovered
        amount will first be applied to any payments made by us in excess of the Self Insured Retention Amount(s) shown
        in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement. The remainder of the
        recovery, if any, will then be applied to reduce the "self insured retention" and "defense costs" reimbursed or
        reimbursable by you as respects that injury or covered damages.
III. Midterm Cancellation
    In the event of a midterm cancellation of this policy, Option 5 ---- Aggregate ---- Adjustable amount or Aggregate ---- Flat
    amount shown in the SCHEDULE ---- SELF INSURED RETENTION AMOUNTS of this endorsement is not subject to
    any pro rata reduction. Such aggregate amount will apply as if the policy term had not been shortened.
IV. Definitions
    A. "Defense Costs" means:
        Expenses directly allocable to specific claims and shall include but not be limited to all Supplementary Payments
        as defined under the policy; all court costs, fees and expenses; costs for all attorneys, witnesses, experts,
        depositions, reported or recorded statements, summonses, service of process, legal transcripts or testimony,
        copies of any public records; alternative dispute resolution; interest; investigative services, medical examinations,
        autopsies, medical costs containment, declaratory judgment, subrogation and any other fees, costs or expenses
        reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under the policy.
        However, the fees, charges and costs of a claim service provider are not considered "defense costs".



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    B. "Incident", for purposes of this endorsement only, means:
        As defined or used in our policy, an "occurrence", offense, claim, accident, act, error or omission, common cause,
        disease or any other such event that is or is alleged to be the cause or result of a loss involving the liability
        coverages of our policy and to which a "self insured retention" applies.
    C. "Self insured retention" means:
        The amount or amounts which you must pay for all covered damages which you shall become legally obligated to
        pay because of the coverages included in the policy to which this endorsement is attached, sustained by one or
        more persons or organizations.


All other terms and conditions of this policy remain unchanged.




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Who Is An Insured Amendment --- Broad Form

     Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.



                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
A.    Broadened Named Insured
      The following is added to Section II ---- Who Is An Insured:
      1.   Any organization of yours that has been acquired or formed prior to this policy period (other than a partnership,
           limited liability company or joint venture) but is not shown in the Declarations as of the effective date of this
           Coverage Part, will nevertheless qualify as a Named Insured if:
           a.     You maintain an ownership interest of more than 50% of such organization; and
           b. Such organization has been incorporated or organized under the laws of the United States of America
              (including any state thereof), its territories or possessions or Canada (including any province thereof).
           Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
           more than 50% in the organization during the current policy period.
      2.   However, regardless of the provisions of Paragraph 1. above, no such organization will qualify as a Named
           Insured under this Coverage Part if the organization:
           a. Was newly acquired or formed by you in the preceding policy period in which we provided coverage, but
              was not reported to us before the end of that preceding policy period;
           b. Is also an insured under another policy, other than a policy written to apply specifically in excess of this
              Coverage Part; or
           c. Would be an insured under another policy, regardless of coverage termination or the exhaustion of its limits
              of insurance.
B.    Newly Acquired or Formed Organizations as Named Insureds
      Paragraph 3. of Section II ---- Who Is An Insured is replaced by the following:
      1.   Newly Acquired Or Formed Organizations Other Than Partnerships, Joint Ventures or Limited Liability
           Companies
           Any organization you newly acquire or form during this policy period (other than a partnership, limited liability
           company or joint venture) will qualify as a Named Insured if:
           a.     You have an ownership interest of more than 50% in such organization; and
           b. Such organization has been incorporated or organized under the laws of the United States of America
              (including any state thereof), its territories or possessions or Canada (including any province thereof).
           Each newly acquired or formed organization shall remain qualified as a Named Insured only while you maintain
           an ownership interest of more than 50% in the organization during the current policy period.
      2.   However, regardless of the provisions of Paragraph 1. above:
           a.     No such organization will qualify as a Named Insured under this Coverage Part if the organization:
                  (1) Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                      Coverage Part; or

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                (2) Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                    limits of insurance; and
           b. As respects any such organization qualifying as a Named Insured, coverage is afforded only until the end of
              this policy period if the organization is not reported to us during this policy period.
      3.   Newly Formed Partnerships, Limited Liability Companies, or Joint Ventures
           Any partnership, limited liability company or joint venture you newly form during this policy period, where:
           a.   You maintain an ownership interest;
           b. As respects any joint venture, you have agreed in the Joint Venture Agreement to name the joint venture
              as a Named insured to your policy; and
           c . Such partnership, limited liability company or joint venture has been organized under the laws of the United
               States of America (including any state thereof), its territories or possessions or Canada (including any
               province thereof),
           will qualify as a Named Insured, provided no other similar insurance was purchased for the partnership, limited
           liability company or joint venture. However, coverage under this provision is afforded only until the 90th day
           after you form the partnership, limited liability company or joint venture, or the end of the policy period,
           whichever is earlier, if the organization is not reported to us during this policy period.
      4. With regard to Paragraphs 1. and 3. above, the following additional provisions apply:
           a.   Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired or
                formed the organization, partnership, limited liability company or joint venture; and
           b. Coverage B does not apply to "personal and advertising injury" arising out of an offense committed before
              you acquired or formed the organization, partnership, limited liability company or joint venture.
C. The last paragraph of Section II. - Who Is An Insured is deleted and replaced by the following:
    No person or organization is an insured with respect to the conduct of any current or past partnership, joint venture
    or limited liability company that is not shown as a Named Insured in the Declarations, except to the extent that
    coverage is provided by the terms and conditions of this endorsement.


All other terms and conditions of this policy remain unchanged.




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Blanket Notification to Others of Cancellation
or Non-Renewal

    Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem        Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. If we cancel or non-renew this Coverage Part by written notice to the first Named Insured, we will mail or deliver
   notification that such Coverage Part has been cancelled or non-renewed to each person or organization shown in a
   list provided to us by the first Named Insured if you are required by written contact or written agreement to provide
   such notification. However, such notification will not be mailed or delivered if a conditional notice of renewal has been
   sent to the first Named Insured. Such list:
    1.   Must be provided to us prior to cancellation or non-renewal;
    2.   Must contain the names and addresses of only the persons or organizations requiring notification that such
         Coverage Part has been cancelled or non-renewed; and
    3.   Must be in an electronic format that is acceptable to us.
B. Our notification as described in Paragraph A. of this endorsement will be based on the most recent list in our records
   as of the date the notice of cancellation or non-renewal is mailed or delivered to the first Named Insured. We will mail
   or deliver such notification to each person or organization shown in the list:
    1. Within seven days of the effective date of the notice of cancellation, if we cancel for non-payment of premium; or
    2.   At least 30 days prior to the effective date of:
         a.   Cancellation, if cancelled for any reason other than nonpayment of premium; or
         b. Non-renewal, but not including conditional notice of renewal.
C. Our mailing or delivery of notification described in Paragraphs A. and B. of this endorsement is intended as a courtesy
   only. Our failure to provide such mailing or delivery will not:
    1.   Extend the Coverage Part cancellation or non-renewal date;
    2.   Negate the cancellation or non-renewal; or
    3. Provide any additional insurance that would not have been provided in the absence of this endorsement.
D. We are not responsible for the accuracy, integrity, timeliness and validity of information contained in the list provided
   to us as described in Paragraphs A. and B. of this endorsement.


All other terms and conditions of this policy remain unchanged




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Aircraft Products, Grounding,
and Testing Exclusion

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer          Add’l. Prem        Return Prem.
                                                                                                    $                  $



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured:
Address (including Zip Code):
This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products and Completed Operations Coverage Part
This policy does not apply to any "bodily injury" or "property         "Grounding" means:
damage" arising out of "Aircraft Products," "Grounding" or
                                                                            1.    the withdrawal of any "aircraft products" from flight
"Testing."
                                                                                  operations, or
"Aircraft Products" means:
                                                                            2.    the imposing of speed, passenger or load restric-
    1.   aircraft, missiles or spacecraft; or                                     tions on such "aircraft products" due to the existence
                                                                                  of, or the alleged or suspected existence of any de-
    2.   any other goods or products produced or furnished
                                                                                  fect, fault or condition in any "aircraft products";
         by the insured for the manufacture, repair, opera-
         tion, maintenance, use or entrustment to others of                 whether the "aircraft products" withdrawn are owned or
         aircraft, missiles or spacecraft, including but not                operated by the same or different persons, firms or cor-
         limited to the following items:                                    porations.
         (A) goods or products installed in, used in connec-                A "grounding" begins:
             tion with, or used as spare parts in aircraft, mis-
                                                                                  (1) on the date that any accident or occurrence re-
             siles or spacecraft; or
                                                                                      sults in disclosure of a known or suspected de-
         (B) ground support and control equipment; or                                 fect, fault or condition; or
         (C) ground handling tools and equipment;                                 (2) on the date the "aircraft products" are first
                                                                                      withdrawn from service due to a known or sus-
    3.   any training aids, instructions, manuals blueprints,                         pected defect, fault or condition,
         engineering data or engineering advice relating to
         the items described in 1 and 2 above; or                           whichever first occurs.
    4.    any services or labor provided by the insured or by          "Testing" means examination, observation, evaluation or
          others trading under the insured’s name relating to          measuring of the performance of "aircraft products," either
          1., 2., or 3. above.                                         while in the air or on the ground.


Countersigned: _________________________________________________________________________________________
                Authorized Representative




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Claim Series Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer       Add’l. Prem          Return Prem.
                                                                                             $                    $



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


1.   Section I. Coverage A Bodily Injury and Property Damage is amended to include the following:
     All "occurrences" which result in a series of claims or "suits" that the insured becomes legally obligated to pay as dam-
     ages because of "bodily injury" or "property damage" due to a "common cause or condition" of "your products" or "your
     work" shall be deemed to be just one "occurrence", regardless of the total number of:
     a.   insureds;
     b.   claims made or "suits" brought;
     c.   persons or organizations making claims or bringing "suits"; or
     d.   potential "occurrences" that might otherwise have applied in the absence of this endorsement.
2.   The following additional Definition is added:
     "Common Cause or Condition" means the same or similar design error, omission or defect, manufacturing defect, or fail-
     ure by the insured to warn of a potential hazard in or of "your products" or "your work".




                                                                                                               U-GL-911-B CW (9/05)
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Fellow Employee Coverage Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part




1.   It is agreed that paragraph 2. a. (1) of SECTION II - WHO IS AN INSURED is deleted and replaced by the following:
     (1) "Bodily injury" or "personal and advertising injury":
         (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you are a
             limited liability company);
         (b) For which there is any obligation to share damages with or repay someone else who must pay damages because
             of the injury described in Paragraph (1) (a) above; or
         (c) Arising out of his or her providing or failing to provide professional health care services.




                                                                                                                           U-GL-915-C CW (8/04)
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Incidental Medical Malpractice
Coverage Endorsement

      Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Return Prem.
                                                                                                        $                      $



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part




I.   Sections 2.a.(1)(d) of Section II. WHO IS AN INSURED are deleted and replaced by the following:
     2.   Each of the following is also an insured:
          a.   Your "volunteer workers" only while performing duties related to the conduct of your business, or your "employ-
               ees", other than either your "executive officers" (if you are an organization other than a partnership, joint venture
               or limited liability company) or your managers (if you are a limited liability company), but only for acts within
               the scope of their employment by you or while performing duties related to the conduct of your business. How-
               ever, none of these "employees" or "volunteer workers" are insured for:
               (1) "Bodily injury" or "personal and advertising injury":
                   (d) Arising out of his or her providing or failing to provide professional health care services, except any
                       "bodily injury" or "personal and advertising injury" arising out of:
                       (1) medical or paramedical services to persons performed by any physician, dentist, nurse, emergency
                           medical technician, paramedic or other licensed medical care person employed by you to provide
                           such services: or
                       (2) emergency cardiopulmonary resuscitation (CPR) or first aid services performed by any other em-
                           ployee of yours who is not a licensed medical professional.
II. Any insurance coverage provided by this endorsement is excess over any other valid and collectible insurance.




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 Silica or Silica Mixed Dust Exclusion

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.        Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Products-Completed Operations Liability Coverage Part

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.    Exclusions

     This insurance does not apply to:

     Silica or Silica Mixed Dust

     A. "Bodily injury", "property damage" or "personal and advertising injury" caused directly or indirectly, in whole or in
        part, by the actual, alleged or threatened inhalation, ingestion, absorption, exposure to, existence of or presence of
        "silica"; or
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any manner responding to or assessing the effects of "sil-
        ica" by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definition applies:
         "Silica" means:
         (1) Any form of crystalline or non-crystalline (amorphous) silica, silica particles, silica compounds, silica dust or sil-
             ica mixed or combined with dust or other particles; or
         (2) Synthetic silica, including precipitated silica, silica gel, pyrogenic or fumed silica or silica-flour.




                                                                                                                           U-GL-923-B CW (6/04)
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Waiver Of Subrogation (Blanket) Endorsement

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer       Add’l. Prem       Return Prem.
                                                                                            $                 $



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part




The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
If you are required by a written contract or agreement, which is executed before a loss, to waive your rights of recovery from
others, we agree to waive our rights of recovery. This waiver of rights shall not be construed to be a waiver with respect to
any other operations in which the insured has no contractual interest.




                                                                                                         U-GL-925-B
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                   DEFENSE WITHIN LIMITS NOTICE

   UNLIKE MOST LIABILITY IN SU RANCE POLICIES IN WHICH PAYMENT
   OF D EFEN SE COSTS DOES NOT REDUCE TH E POLICY LIMITS, THIS
   POLICY CONTAIN S A "D EFEN SE WITHIN TH E LIMITS" PROVISION.
   TH E PROVISION INCLUD ES TH E IN SU RER’S COSTS FOR PROVIDING
   LEGAL D EFEN SE AGAIN ST A CLAIM ALONG WITH ANY CLAIM
   SETTLEMENT AMOUNT WITHIN TH E STATED POLICY LIMITS. WE
   HAV E TH E RIGHT AND DU TY TO D EFEND TH E IN SU RED AGAIN ST
   ANY SUIT SEEKING DAMAG ES FOR BODILY INJU RY OR PROPERTY
   DAMAG E TO WHICH THIS IN SU RANCE APPLIES. HOWEV ER, ONCE
   TH E POLICY LIMIT IS REACH ED, TH E IN SU RER’S RESPON SIBILITY
   TO PAY ANY FU RTH ER AMOUNTS FOR D EFEN SE COSTS OR FOR ANY
   DAMAG ES THAT MAY BE AWARD ED ENDS, EXCEPT THAT TH E
   IN SU RER WILL PAY DAMAG ES FOR STATU TORILY REQUIRED
   LIABILITY IN SU RANCE TO TH E LIMIT REQUIRED BY LAW.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 01 23 03 97

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        INDIANA CHANGES - POLLUTION EXCLUSION


This endorsement modifies insurance provided under the following:

    COMM ERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to Subparagraph f., Pollution of Paragraph 2., Exclusions of Bodily Injury And Property Damage
Liability Coverage (Section I - Coverages) and to Paragraph 2., Exclusions of Personal And Advertising Injury Liability
Coverage (Section I - Coverages) or to any amendment to or replacement thereof:

This Pollution Exclusion applies whether or not such irritant or contaminant has any function in your business, operations,
premises, site or location.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 01 34 08 03

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MISSOURI CHANGES --- POLLUTION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Subparagraph f., Pollution of Paragraph 2., Exclusions under Section I ---- Coverage A ----
Bodily Injury And Property Damage Liability Coverage and to Subparagraph m., Pollution of Paragraph 2., Exclu-
sions under Section I ---- Coverage B --- Personal And Advertising Injury Liability or to any amendment to or re-
placement thereof:
This Pollution Exclusion applies even if such irritant or contaminant has a function in your business, operations,
premises, site or location.




CG 01 34 08 03                                ISO Properties, Inc., 2003                              Page 1 of 1
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POLICY NUMBER: GLO        3793060-08                                            COMMERCIAL GENERAL LIABILITY
                                                                                               CG 01 54 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      VERMONT CHANGES --- POLLUTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM (OCCURRENCE VERSION)

                                                     SCHEDULE

Pollution Liability Aggregate Limit:      $    3,000,000

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to Section             I    ---            (2) The "bodily injury" or "property damage"
   Coverages:                                                            occurs during the policy period; and
   Coverage D Pollution Bodily Injur y And                           (3) A claim for damages because of the
   Property Damage                                                       "bodily injury" or "property damage" is
   1. Insuring Agreement                                                 first made against any insured, in
                                                                         accordance with Paragraph c. below,
      a. We will pay those sums that the insured                         during the policy period.
          becomes legally obligated to pay as
          damages because of "bodily injury" or                    c. A claim by a person or organization seeking
          "property damage" included within the                        damages will be deemed to have been made
          "pollution liability hazard" to which this                   at the earlier of the following times:
          insurance applies. We will have the right                   (1) When notice of such claim is received
          and duty to defend the insured against any                       and recorded by any insured or by us,
          "suit" seeking those damages. However, we                        whichever comes first; or
          will have no duty to defend the insured                     (2) When we make a settlement in
          against any "suit" seeking damages for                           accordance with Paragraph 1.a. above.
          "bodily injury" or "property damage" to
          which this insurance does not apply. We                      All claims for damages because of "bodily
          may, at our discretion, investigate any                      injury" to the same person, including
          "occurrence" and settle any claim or "suit"                  damages claimed by any person or
          that may result. But:                                        organization for care, loss of services, or
                                                                       death resulting at any time from the "bodily
         (1) The amount we will pay for damages is                     injury" will be deemed to have been made at
              limited as described in Section III ----                 the time the first of those claims is made
              Limits Of Insurance; and                                 against any insured.
         (2) Our right and duty to defend end when                    All claims for damages because of "property
              we have used up the Pollution Liability                 damage" causing loss to the same person
              Aggregate Limit in the payment of                       or organization as a result of an
              judgments or settlements.                               "occurrence" will be deemed to have been
          No other obligation or liability to pay sums                made at the time the first of those claims is
          or perform acts or services is covered                      made against any insured.
          unless explicitly provided for under                        All claims for injury or damage arising out of
          Supplementary Payments ---- Coverages A, B                  a discharge, release or escape of
          and D.                                                      "pollutants", including all injury or damage
      b. This insurance applies to "bodily injury" and                arising out of all subsequent exposure of
          "property damage" only if:                                  persons and property to such "pollutants",
         (1) The "bodily injury" or "property damage"                 shall be deemed to have been made at the
              is caused by an "occurrence" that takes                 time the first of those claims is made
              place in the "coverage territory";                      against any insured.


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   2. Exclusions                                                  e. Aircraft, Auto Or Watercraft
      This insurance does not apply to:                               "Bodily injury" or "property damage" arising
      a. Ex pected O r I ntended I njury                              out of the ownership, maintenance, use or
                                                                      entrustment to others of any aircraft, "auto"
         "Bodily injury" or "property damage"                         or watercraft owned or operated by or
         expected or intended from the standpoint of                  rented or loaned to any insured. Use
         the insured. This exclusion does not apply                   includes operation and "loading or
         to "bodily injury" resulting from the use of                 unloading".
         reasonable force to protect persons or
         property.                                                    This exclusion applies to claims against any
                                                                      insured that allege negligence or other
      b. Contractual Liability                                        wrongdoing in the supervision, hiring,
          "Bodily injury" or "property damage" for                    employment, training or monitoring of
          which the insured is obligated to pay                       others by that insured, if the "occurrence"
          damages by reason of the assumption of                      which resulted in the "bodily injury" or
          liability in a contract or agreement. This                  "property damage" involved the ownership,
          exclusion does not apply to liability for                   maintenance, use or entrustment to others
          damages:                                                    of any aircraft, "auto" or watercraft that is
                                                                      owned or operated by or rented or loaned
         (1) Assumed in a contract or agreement that
                                                                      to any insured.
              is an "insured contract", provided the
              "bodily injury" or "property damage"                    This exclusion does not apply to:
              occurs subsequent to the execution of                  (1) A watercraft while ashore on premises
              the contract or agreement; or                               you own or rent;
         (2) That the insured would have in the                      (2) A watercraft you do not own that is:
              absence of the contract or agreement.
                                                                         (a) Less than 26 feet long; and
      c. Wor kers Compensation And Similar
          Laws                                                           (b) Not being used to carry persons or
                                                                              property for a charge;
          Any obligation of the insured under a
          workers compensation, disability benefits                  (3) Parking an "auto" on, or on the ways
                                                                          next to, premises you own or rent,
          or unemployment compensation law or any
                                                                          provided the "auto" is not owned by or
          similar law.
                                                                          rented or loaned to you or the insured;
      d. Employer s Liability
                                                                     (4) Liability assumed under any "insured
          "Bodily injury" to:                                             contract"      for      the    ownership,
         (1) An "employee" of the insured arising out                     maintenance or use of aircraft or
              of and in the course of:                                    watercraft; or
             (a) Employment by the insured; or                       (5) "Bodily injury" or "property damage"
                                                                          arising out of:
             (b) Performing duties related to the
                   conduct of the insured s business; or                 (a) The operation of machinery or
                                                                              equipment that is attached to, or part
         (2) The spouse, child, parent, brother or
                                                                              of, a land vehicle that would qualify
              sister of that "employee" as a
                                                                              under the definition of "mobile
              consequence of Paragraph (1) above.
                                                                              equipment" if it were not subject to a
          This exclusion applies:                                             compulsory or financial responsibility
         (1) Whether the insured may be liable as an                          law or other motor vehicle insurance
             employer or in any other capacity; and                           law where it is licensed or principally
                                                                              garaged; or
         (2) To any obligation to share damages with
             or repay someone else who must pay                          (b) The operation of any of the
             damages because of the injury.                                   machinery or equipment listed in
                                                                              Paragraph f.(2) or f.(3) of the
          This exclusion does not apply to liability                          definition of "mobile equipment".
          assumed by the insured under an "insured
          contract".




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      f. Mobile Equipment                                          j. Statutory Or Regulatory Clean-up Costs
          "Bodily injury" or "property damage" arising                 Any loss, cost or expense arising out of
          out of:                                                      any:
         (1) The transportation of "mobile equipment"                 (1) Request, demand, order or statutory or
             by an "auto" owned or operated by or                          regulatory requirement that any insured
             rented or loaned to any insured; or                           or others test for, monitor, clean up,
         (2) The use of "mobile equipment" in, or                          remove, contain, treat, detoxify or
             while in practice for, or while being                         neutralize, or in any way respond to, or
             prepared for, any prearranged racing,                         assess the effects of, "pollutants"; or
             speed, demolition or stunting activity.                  (2) Claim or suit by or on behalf of a
      g. War                                                               governmental authority for damages
                                                                           because of testing for, monitoring,
          "Bodily injury" or "property damage",                            cleaning up, removing, containing,
          however caused, arising, directly or                             treating, detoxifying or neutralizing, or in
          indirectly, out of:                                              any way responding to, or assessing the
         (1) War, including undeclared or civil war;                       effects of, "pollutants".
              or                                                       However, this paragraph does not apply to
         (2) Warlike action by a military force,                       liability for damages because of "property
              including action in hindering or                         damage" that the insured would have in the
              defending against an actual or expected                  absence of such request, demand, order or
             attack, by any government, sovereign or                   statutory or regulatory requirement, or such
              other authority using military personnel                 claim or "suit" by or on behalf of a
              or other agents; or                                      governmental authority.
         (3) Insurrection,     rebellion,   revolution,           k. Bodily Injury Or Property Damage
              usurped power, or action taken by                        "Bodily injury" or "property damage" which
              governmental authority in hindering or                   are covered under Coverage A --- Bodily
              defending against any of these.                          Injury And Property Damage Liability.
      h. Damage To Property                                B. Supplementary Payments ---- Coverages A And B
           "Property damage" to:                              is replaced by the following:
          (1) Property you own, rent or occupy,                Supplementary Payments --- Coverages A, B
               including any costs or expenses                 And D
               incurred by you, or any other person,           We will pay, with respect to any claim we
               organization or entity, for repair,             investigate or settle, or any "suit" against an
               replacement, enhancement, restoration           insured we defend:
               or maintenance of such property for any
               reason, including prevention of injury to       1. All expenses we incur.
               a person or damage to another s                 2. Up to $250 for cost of bail bonds required
               property;                                          because of accidents or traffic law violations
          (2) Premises you sell, give away or                     arising out of the use of any vehicle to which
               abandon, if the "property damage" arises           the Bodily Injury Liability Coverage applies. We
               out of any part of those premises;                 do not have to furnish these bonds.
          (3) Property loaned to you; or                       3. The cost of bonds to release attachments, but
                                                                  only for bond amounts within the applicable
          (4) Personal property in the care, custody              limit of insurance. We do not have to furnish
               or control of the insured.                         these bonds.
           Paragraphs (3) and (4) of this exclusion do         4. All reasonable expenses incurred by the
           not apply to liability assumed under a                 insured at our request to assist us in the
           sidetrack agreement.                                   investigation or defense of the claim or "suit",
       i. Products-Completed Operations Hazard                    including actual loss of earnings up to $250 a
                                                                  day because of time off from work.
           "Bodily injury" or "property damage"
           included within the "products-completed
           operations hazard".




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   5. All court costs taxed against the insured in the      D. Paragraph 4. Other Insurance of Section IV ----
      "suit". However, these payments do not include           Conditions is amended as follows:
      attorneys fees or attorneys expenses taxed               All references to Coverage A or B are amended to
      against the insured.                                     read Coverage A, B or D.
   6. Prejudgment interest awarded against the              E. The following additional definition applies:
      insured on that part of the judgment we pay. If
      we make an offer to pay the applicable limit of          "Pollution liability hazard" means all "bodily injury"
      insurance, we will not pay any prejudgment               and "property damage" arising out of the
      interest based on that period of time after the          discharge, release or escape of "pollutants" at or
      offer.                                                   from:
   7. All interest on the full amount of any judgment              a. Premises you own, rent or occupy; or
      that accrues after entry of the judgment and                 b. Any site or location on which you or any
      before we have paid, offered to pay, or                         contractors or subcontractors working
      deposited in court the part of the judgment that                directly or indirectly on your behalf are
      is within the applicable limit of insurance.                    performing operations.
   These payments will not reduce the limits of
   insurance.
C. The following is added to Section I II ---- Limits Of
   Insurance:
   The Pollution Liability Aggregate Limit is the most
   we will pay under Coverage D for all damages
   because of injury and damage for which claim is
   first made during the policy period.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 01 86 12 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       UTAH CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. Any Condition titled:
      Duties In the Event of An Electronic Data Incident
      Duties in the Event of Occurrence, Offense, Claim or Suit
      Duties in the Event of Occurrence, Claim or Suit
      Duties in the Event of Injury, Claim or Suit
      Duties in the Event of A Pollution Incident, Claim or Suit
      Duties In the Event of A Claim Or Suit Or A Defect Or Product Withdrawal
      Insured’s Duties in the Event of a Loss
      Duties in the Event of An Underground Storage Tank Incident
   requiring notice to us is amended to include:
      "Notice to our authorized representative is notice to us".
B. The Legal Action Against Us Condition does not apply.




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                                                                                              CG 20 11 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ADDITIONAL INSURED – MANAGERS OR
                        LESSORS OF PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                  SCHEDULE

 Designation Of Premises (Part Leased To You):
 ALL PREMISES AS REQUIRED IN A WRITTEN LEASE OR CONTRACT.


 Name of Person(s) Or Organization(s) (Additional Insured):
 ANY PERSON OR ORGANIZATION AS REQUIRED IN A WRITTEN LEASE OR CONTRACT
 SIGNED PRIOR TO LOSS AND NOT PROHIBITED BY LAW.




 Additional Premium:         INCL.
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 A. Section II – Who Is An Insured is amended to                2. If coverage provided to the additional insured is
    include as an additional insured the person(s) or              required by a contract or agreement, the
    organization(s) shown in the Schedule, but only                insurance afforded to such additional insured
    with respect to liability arising out of the                   will not be broader than that which you are
    ownership, maintenance or use of that part of the              required by the contract or agreement to
    premises leased to you and shown in the                        provide for such additional insured.
    Schedule and subject to the following additional        B. With respect to the insurance afforded to these
    exclusions:                                                additional insureds, the following is added to
    This insurance does not apply to:                          Section III – Limits Of Insurance:
    1. Any "occurrence" which takes place after you            If coverage provided to the additional insured is
        cease to be a tenant in that premises.                 required by a contract or agreement, the most we
    2. Structural alterations, new construction or             will pay on behalf of the additional insured is the
       demolition operations performed by or on                amount of insurance:
       behalf of the person(s) or organization(s)              1. Required by the contract or agreement; or
       shown in the Schedule.                                  2. Available under the applicable Limits of
    However:                                                      Insurance shown in the Declarations;
    1. The insurance afforded to such additional               whichever is less.
       insured only applies to the extent permitted            This endorsement shall not increase the applicable
       by law; and                                             Limits of Insurance shown in the Declarations.




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POLICY NUMBER: GLO 3793060-08                                              COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 12 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    ADDITIONAL INSURED – STATE OR GOVERNMENTAL
         AGENCY OR SUBDIVISION OR POLITICAL
      SUBDIVISION – PERMITS OR AUTHORIZATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

State Or Governmental Agency Or Subdivision Or Political Subdivision:
ONLY THOSE STATE OR POLITICAL SUBDIVISIONS AS REQUIRED BY WRITTEN
CONTRACT OR PERMIT.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to                 2. This insurance does not apply to:
   include as an additional insured any state or                   a. "Bodily injury", "property damage" or
   governmental agency or subdivision or political                    "personal and advertising injury" arising out
   subdivision shown in the Schedule, subject to the                  of operations performed for the federal
   following provisions:                                              government, state or municipality; or
   1. This insurance applies only with respect to                  b. "Bodily injury" or "property damage"
       operations performed by you or on your behalf                  included within the "products-completed
       for which the state or governmental agency or                  operations hazard".
       subdivision or political subdivision has issued a    B. With respect to the insurance afforded to these
       permit or authorization.                                additional insureds, the following is added to
                                                               Section III – Limits Of Insurance:
      However:
                                                               If coverage provided to the additional insured is
      a. The insurance afforded to such additional             required by a contract or agreement, the most we
         insured only applies to the extent permitted          will pay on behalf of the additional insured is the
         by law; and                                           amount of insurance:
      b. If coverage provided to the additional                1. Required by the contract or agreement; or
         insured is required by a contract or                  2. Available under the applicable Limits of
         agreement, the insurance afforded to such                 Insurance shown in the Declarations;
         additional insured will not be broader than           whichever is less.
         that which you are required by the contract
         or agreement to provide for such additional           This endorsement shall not increase the
         insured.                                              applicable Limits of Insurance shown in the
                                                               Declarations.




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POLICY NUMBER: GLO 3793060-08                                              COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 15 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED – VENDORS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                   SCHEDULE

       Name Of Additional Insured Person(s) Or
             Organization(s) (Vendor)                                           Your Products
ALL VENDORS AS REQUIRED IN A                               ALL PRODUCTS COVERED UNDER
WRITTEN CONTRACT OR AGREEMENT                              THIS POLICY.
SIGNED PRIOR TO LOSS AND NOT
PROHIBITED BY LAW.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to             B. With respect to the insurance afforded to these
   include as an additional insured any person(s) or           vendors, the following additional exclusions apply:
   organization(s) (referred to throughout this                1. The insurance afforded the vendor does not
   endorsement as vendor) shown in the Schedule,                  apply to:
   but only with respect to "bodily injury" or "property          a. "Bodily injury" or "property damage" for
   damage" arising out of "your products" shown in                   which the vendor is obligated to pay
   the Schedule which are distributed or sold in the                 damages by reason of the assumption of
   regular course of the vendor's business.                          liability in a contract or agreement. This
   However:                                                          exclusion does not apply to liability for
                                                                     damages that the vendor would have in the
   1. The insurance afforded to such vendor only                     absence of the contract or agreement;
       applies to the extent permitted by law; and                b. Any express warranty unauthorized by you;
   2. If coverage provided to the vendor is required              c. Any physical or chemical change in the
      by a contract or agreement, the insurance                      product made intentionally by the vendor;
      afforded to such vendor will not be broader than
                                                                  d. Repackaging, except when unpacked
      that which you are required by the contract or
                                                                     solely for the purpose of inspection,
      agreement to provide for such vendor.                          demonstration, testing, or the substitution
                                                                     of parts under instructions from the
                                                                     manufacturer, and then repackaged in the
                                                                     original container;


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      e. Any failure to make such inspections,                       (2) Such inspections, adjustments, tests or
          adjustments, tests or servicing as the                         servicing as the vendor has agreed to
          vendor has agreed to make or normally                          make or normally undertakes to make
          undertakes to make in the usual course of                      in the usual course of business, in
          business, in connection with the distribution                  connection with the distribution or sale
          or sale of the products;                                       of the products.
      f. Demonstration, installation, servicing or            2. This insurance does not apply to any insured
          repair operations, except such operations               person or organization, from whom you have
          performed at the vendor's premises in                   acquired such products, or any ingredient, part
          connection with the sale of the product;                or container, entering into, accompanying or
      g. Products which, after distribution or sale by            containing such products.
          you, have been labeled or relabeled or used      C. With respect to the insurance afforded to these
          as a container, part or ingredient of any           vendors, the following is added to Section III –
          other thing or substance by or for the              Limits Of Insurance:
          vendor; or                                          If coverage provided to the vendor is required by
      h. "Bodily injury" or "property damage" arising         a contract or agreement, the most we will pay on
          out of the sole negligence of the vendor for        behalf of the vendor is the amount of insurance:
          its own acts or omissions or those of its           1. Required by the contract or agreement; or
          employees or anyone else acting on its
          behalf. However, this exclusion does not            2. Available under the applicable Limits of
          apply to:                                               Insurance shown in the Declarations;
         (1) The exceptions contained in Sub-                 whichever is less.
              paragraphs d. or f.; or                         This endorsement shall not increase the
                                                              applicable Limits of Insurance shown in the
                                                              Declarations.




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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 20 34 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ADDITIONAL INSURED --- LESSOR OF LEASED
              EQUIPMENT --- AUTOMATIC STATUS WHEN
             REQUIRED IN LEASE AGREEMENT WITH YOU
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Section II ---- Who Is An Insured is amended to               A person’s or organization’s status as an
   include as an additional insured any person(s) or             additional insured under this endorsement ends
   organization(s) from whom you lease equipment                 when their contract or agreement with you for
   when you and such person(s) or organization(s)                such leased equipment ends.
   have agreed in writing in a contract or agreement          B. With respect to the insurance afforded to these
   that such person(s) or organization(s) be added               additional insureds, this insurance does not apply
   as an additional insured on your policy. Such                 to any "occurrence" which takes place after the
   person(s) or organization(s) is an insured only               equipment lease expires.
   with respect to liability for "bodily injury", "property
   damage" or "personal and advertising injury"               C. With respect to the insurance afforded to these
   caused, in whole or in part, by your maintenance,             additional insureds, the following is added to
   operation or use of equipment leased to you by                Section III --- Limits Of Insurance:
   such person(s) or organization(s).                            The most we will pay on behalf of the additional
   However, the insurance afforded to such                       insured is the amount of insurance:
   additional insured:                                           1. Required by the contract or agreement you
   1. Only applies to the extent permitted by law; and              have entered into with the additional insured;
                                                                    or
   2. Will not be broader than that which you are
      required by the contract or agreement to                   2. Available under the applicable Limits of
      provide for such additional insured.                          Insurance shown in the Declarations;
                                                                 whichever is less.
                                                                 This endorsement shall not increase the
                                                                 applicable Limits of Insurance shown in the
                                                                 Declarations.




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 06 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION – ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
            DATA-RELATED LIABILITY – WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.p. of Section I – Coverage A –                        As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                    means information, facts or programs
   replaced by the following:                                        stored as or on, created or used on, or
   2. Exclusions                                                     transmitted to or from computer software,
                                                                     including    systems      and      applications
      This insurance does not apply to:                              software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                     tapes, drives, cells, data processing
         Personal Information And Data-related                       devices or any other media which are used
         Liability                                                   with electronically controlled equipment.
         Damages arising out of:                           B. The following is added to Paragraph 2.
                                                              Exclusions of Section I – Coverage B –
        (1) Any access to or disclosure of any
                                                              Personal And Advertising Injury Liability:
             person's or organization's confidential or
             personal information, including patents,         2. Exclusions
             trade secrets, processing methods,                  This insurance does not apply to:
             customer lists, financial information,
             credit      card    information,    health          Access Or Disclosure Of Confidential Or
             information or any other type of                    Personal Information
             nonpublic information; or                           "Personal and advertising injury" arising out of
        (2) The loss of, loss of use of, damage to,              any access to or disclosure of any person's or
             corruption of, inability to access, or              organization's     confidential     or    personal
             inability to manipulate electronic data.            information, including patents, trade secrets,
                                                                 processing methods, customer lists, financial
         This exclusion applies even if damages are              information, credit card information, health
         claimed for notification costs, credit                  information or any other type of nonpublic
         monitoring expenses, forensic expenses,                 information.
         public relations expenses or any other loss,
         cost or expense incurred by you or others                This exclusion applies even if damages are
         arising out of that which is described in                claimed for notification costs, credit monitoring
         Paragraph (1) or (2) above.                              expenses, forensic expenses, public relations
                                                                  expenses or any other loss, cost or expense
         However, unless Paragraph (1) above                      incurred by you or others arising out of any
         applies, this exclusion does not apply to                access to or disclosure of any person's or
         damages because of "bodily injury".                      organization's     confidential   or    personal
                                                                  information.




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POLICY NUMBER: GLO         3793060-08                                            COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 16 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  EXCLUSION --- DESIGNATED PROFESSIONAL SERVICES
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE

                                          Description Of Professional Services
1. ALL    PROFESSIONAL SERVICES




2.




3.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to any professional services shown in          This exclusion applies even if the claims against any
the Schedule, the following exclusion is added to           insured allege negligence or other wrongdoing in the
Paragraph 2. Exclusions of Section I ---- Coverage A ----   supervision,    hiring, employment,      training  or
Bodily Injury And Property Damage Liability and             monitoring of others by that insured, if the
Paragraph 2. Exclusions of Section I ---- Coverage B ----   "occurrence" which caused the "bodily injury" or
Personal And Advertising Injury Liability:                  "property damage", or the offense which caused the
This insurance does not apply to "bodily injury",           "personal and advertising injury", involved the
"property damage" or "personal and advertising injury"      rendering of or failure to render any professional
                                                            service.
due to the rendering of or failure to render any
professional service.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                    employment, during employment or after em-
       ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 49 09 99

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        TOTAL POLLUTION EXCLUSION ENDORSEMENT


This endorsement modifies insurance provided under the following:

     COMM ERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of Section                         (a) Request, demand, order or statutory or
I - Coverage A - Bodily Injury And Property Damage                                 regulatory requirement that any insured or
Liability is replaced by the following:                                            others test for, monitor, clean up, remove,
                                                                                   contain, treat, detoxify or neutralize, or in
This insurance does not apply to:                                                  any way respond to, or assess the effects of
                                                                                   "pollutants"; or
f.   Pollution
     (1) "Bodily injury" or "property damage" which                            (b) Claim or suit by or on behalf of a govern-
         would not have occurred in whole or part but                              mental authority for damages because of
         for the actual, alleged or threatened discharge,                          testing for, monitoring, cleaning up, remov-
         dispersal, seepage, migration, release or es-                             ing, containing, treating, detoxifying or
         cape of "pollutants" at any time.                                         neutralizing, or in any way responding to,
                                                                                   or assessing the effects of, "pollutants".
     (2) Any loss, cost or expense arising out of any:




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 21 55 09 99

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                     TOTAL POLLUTION EXCLUSION
                                    WITH A HOSTILE FIRE EXCEPTION

This endorsement modifies insurance provided under the following:

     COMM ERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of Section                         (b) At any premises, site or location on which
I - Coverage A - Bodily Injury And Property Damage                                 any insured or any contractors or subcon-
Liability is replaced by the following:                                            tractors working directly or indirectly on
                                                                                   any insured’s behalf are performing opera-
This insurance does not apply to:                                                  tions to test for, monitor, clean up, remove,
                                                                                   contain, treat, detoxify, neutralize or in any
f.   Pollution                                                                     way respond to, or assess the effects of,
                                                                                   "pollutants".
     (1) "Bodily injury" or "property damage" which
         would not have occurred in whole or part but                      (2) Any loss, cost or expense arising out of any:
         for the actual, alleged or threatened discharge,
         dispersal, seepage, migration, release or es-                         (a) Request, demand, order or statutory or
         cape of "pollutants" at any time.                                         regulatory requirement that any insured or
                                                                                   others test for, monitor, clean up, remove,
         This exclusion does not apply to "bodily injury"                          contain, treat, detoxify or neutralize, or in
         or "property damage" arising out of heat,                                 any way respond to, or assess the effects of
         smoke or fumes from a "hostile fire" unless that                          "pollutants"; or
         "hostile fire" occurred or originated:
                                                                               (b) Claim or suit by or on behalf of a govern-
         (a) At any premises, site or location which is                            mental authority for damages because of
             or was at any time used by or for any in-                             testing for, monitoring, cleaning up, re-
             sured or others for the handling, storage,                            moving, containing, treating, detoxifying or
             disposal, processing or treatment of waste;                           neutralizing, or in any way responding to,
             or                                                                    or assessing the effects of, "pollutants".




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 73 01 15

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                                b. The act is a violent act or an act that is
   This insurance does not apply to:                                    dangerous to human life, property or
                                                                        infrastructure and is committed by an
   TERRORISM                                                            individual or individuals as part of an effort
   "Any injury or damage" arising, directly or                          to coerce the civilian population of the
   indirectly, out of a "certified act of terrorism".                   United States or to influence the policy or
                                                                        affect the conduct of the United States
B. The following definitions are added:
                                                                        Government by coercion.
   1. For the purposes of this endorsement, "any
                                                             C. The terms and limitations of any terrorism
      injury or damage" means any injury or damage
                                                                exclusion, or the inapplicability or omission of a
      covered under any Coverage Part to which this
                                                                terrorism exclusion, do not serve to create
      endorsement is applicable, and includes but is
                                                                coverage for injury or damage that is otherwise
      not limited to "bodily injury", "property
                                                                excluded under this Coverage Part.
      damage", "personal and advertising injury",
      "injury" or "environmental damage" as may be
      defined in any applicable Coverage Part.
   2. "Certified act of terrorism" means an act that is
      certified by the Secretary of the Treasury, in
      accordance with the provisions of the federal
      Terrorism Risk Insurance Act, to be an act of
      terrorism pursuant to such Act. The criteria
      contained in the Terrorism Risk Insurance Act
      for a "certified act of terrorism" include the
      following:
      a. The act resulted in insured losses in excess
          of $5 million in the aggregate, attributable to
          all types of insurance subject to the
          Terrorism Risk Insurance Act; and




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                                                                                            CG 24 17 10 01

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CONTRACTUAL LIABILITY - RAILROADS
This endorsement modifies insurance provided under the following:


   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE


Scheduled Railroad:                                        Designated Job Site:
ALL RAILROADS AS REQUIRED IN A                             ALL RAILROAD JOBSITES
WRITTEN CONTRACT SIGNED PRIOR TO
LOSS AND NOT PROHIBITED BY LAW.



 (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)


With respect to operations performed for, or affecting,            Paragraph f. does not include that part of any
a Scheduled Railroad at a Designated Job Site, the                 contract or agreement:
definition of "insured contract" in the Definitions sec-          (1) That indemnifies an architect, engineer or
tion is replaced by the following:                                    surveyor for injury or damage arising out
9. "Insured Contract" means:                                          of:
   a. A contract for a lease of premises. However,                    (a) Preparing, approving or failing to pre-
      that portion of the contract for a lease of                          pare or approve maps, shop drawings,
      premises that indemnifies any person or or-                          opinions, reports, surveys, field orders,
      ganization for damage by fire to premises while                      change orders or drawings and specifi-
      rented to you or temporarily occupied by you                         cations; or
      with permission of the owner is not an "insured                (b) Giving directions or instructions, or
      contract";                                                           failing to give them, if that is the primary
   b. A sidetrack agreement;                                               cause of the injury or damage;
   c. Any easement or license agreement;                          (2) Under which the insured, if an architect,
   d. An obligation, as required by ordinance, to                      engineer or surveyor, assumes liability for
      indemnify a municipality, except in connection                   an injury or damage arising out of the in-
      with work for a municipality;                                    sured’s rendering or failure to render pro-
                                                                       fessional services, including those listed in
   e. An elevator maintenance agreement;                               Paragraph (1) above and supervisory, in-
   f. That part of any other contract or agreement                     spection, architectural or engineering activi-
      pertaining to your business (including an in-                    ties.
      demnification of a municipality in connection
      with work performed for a municipality) under
      which you assume the tort liability of another
      party to pay for "bodily injury" or "property
      damage" to a third person or organization. Tort
      liability means a liability that would be imposed
      by law in the absence of any contract or
      agreement.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 26 88 01 15

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           ALASKA EXCLUSION OF
                        CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                                b. The act is a violent act or an act that is
   This insurance does not apply to:                                    dangerous to human life, property or
                                                                        infrastructure and is committed by an
   TERRORISM                                                            individual or individuals as part of an effort
   "Any injury or damage" arising out of a "certified                   to coerce the civilian population of the
   act of terrorism".                                                   United States or to influence the policy or
                                                                        affect the conduct of the United States
B. The following definitions are added:
                                                                        Government by coercion.
   1. For the purposes of this endorsement, "any
                                                             C. The terms and limitations of any terrorism
      injury or damage" means any injury or damage
      covered under any Coverage Part to which this             exclusion, or the inapplicability or omission of a
      endorsement is applicable, and includes but is            terrorism exclusion, do not serve to create
      not limited to "bodily injury", "property                 coverage for injury or damage that is otherwise
      damage", "personal and advertising injury",               excluded under this Coverage Part.
      "injury" or "environmental damage" as may be
      defined in any applicable Coverage Part.
   2. "Certified act of terrorism" means an act that is
      certified by the Secretary of the Treasury, in
      accordance with the provisions of the federal
      Terrorism Risk Insurance Act, to be an act of
      terrorism pursuant to such Act. The criteria
      contained in the Terrorism Risk Insurance Act
      for a "certified act of terrorism" include the
      following:
      a. The act resulted in insured losses in excess
          of $5 million in the aggregate, attributable to
          all types of insurance subject to the
          Terrorism Risk Insurance Act; and




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                                                                                IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                  and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a. Are safe or healthful; or
                                                                                 b. Comply with laws, regulations, codes or
    3.We will mail or deliver our notice to the first
                                                                                     standards.
      Named Insured’s last mailing address known to
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                        service or similar organization which makes in-
      on that date.                                                           surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
                                                                           1. Is responsible for the payment of all premiums;
   This policy contains all the agreements between
                                                                               and
   you and us concerning the insurance afforded. The
   first Named Insured shown in the Declarations is                         2.  Will be the payee for any return premiums we
   authorized to make changes in the terms of this                              pay.
   policy with our consent. This policy’s terms can be                  F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                         Policy
   us and made a part of this policy.
                                                                           Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                   transferred without our written consent except in
   We may examine and audit your books and records                         the case of death of an individual named insured.
   as they relate to this policy at any time during the                    If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                          to your legal representative but only while acting
D. Inspections And Surveys                                                 within the scope of duties as your legal representa-
   1. We have the right to:                                                tive. Until your legal representative is appointed,
                                                                           anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                       property will have your rights and duties but only
                                                                           with respect to that property.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:

     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any            2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                         Def Appendix 0165
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                                                                                                      IL 02 66 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      UTAH CHANGES --- CANCELLATION
                            AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS COVERAGE PART


A. The following is added to the Cancellation Com-          B. The following is added and supersedes any provi-
   mon Policy Condition:                                       sions to the contrary:
   7. If this policy has been in effect for more than 60       NONRENEWAL
      days or if this is a renewal of a policy we is-          1. If we elect to not renew this policy, we will mail,
      sued, we may cancel this policy only for one or             by first-class mail, written notice of nonrenewal
      more of the following reasons:                              to the first Named Insured, at the last mailing
      a. Nonpayment of premium;                                   address known to us, at least 30 days before
      b. Material misrepresentation;                              the expiration or anniversary date of this policy.
      c. Substantial change in the risk assumed                2. We need not mail this notice if:
           unless we should reasonably have foreseen              a. You have accepted replacement coverage;
           the change or contemplated the risk when               b. You have requested or agreed to nonre-
          entering the contract; or                                   newal; or
      d. Substantial breaches of contractual duties,               c. This policy is expressly designated as non-
           conditions or warranties.                                  renewable.
      If we cancel for nonpayment of premium, notice            3. If notice is mailed, proof of mailing is sufficient
      of cancellation must state the reason for can-               proof of notice.
      cellation.
   8. With respect to the Commercial Automobile
      Coverage Part, the following applies in addition
      to the provisions of Paragraph 7. above:
      We may cancel this policy if your driver’s li-
      cense, or the driver’s license of a person who
      customarily drives a "covered auto", is sus-
      pended or revoked.
   9. Notice of cancellation must be delivered or
      mailed by first-class mail.



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AB




COMMERCIAL INSURANCE
                                                                                                      CANCELLATION BY US

                                  This endorsement changes the policy. Please read it carefully.
This endorsement modifies insurance provided by the following:
BOILER AND MACHINERY COVERAGE FORM
BUSINESS AUTO COVERAGE FORM
COMM ERCIAL CRIM E COVERAGE FORM
COMM ERCIAL GENERAL LIABILITY COVERAGE FORM
COMM ERCIAL INLAND MARINE COVERAGE FORM
COMM ERCIAL PROPERTY COVERAGE FORM
FARM COVERAGE FORM
GARAGE COVERAGE FORM
LIQUOR LIABILITY COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
POLLUTION LIABILITY COVERAGE FORM
PRODUCTS/ COMPLET E D OPERATIONS LIABILITY COVERAGE FORM
TRUCKERS COVERAGE FORM
                                                          SCHED ULE

Number of Days’ Notice: 90

(If no entry appears above, information required to complete this Schedule will be shown in the Declarations as applicable to
this endorsement.)

For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of cancellation,
as provided in paragraph 2, of either the CANCELLATION Common Policy Condition or as amended by an applicable state
cancellation endorsement, is increased to the number of days shown in the Schedule above.




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SANCTIONS EXCLUSION
ENDORSEMENT




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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Insured Name:
Policy Number:
Effective Date:




            THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                              SCHEDULE*

Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
General Liability                                          Not Applicable – Terrorism Exclusion




*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January1, 2015 – December 31, 2015 federal share: 85%
    January1, 2016 – December 31, 2016 federal share: 84%
    January1, 2017 – December 31, 2017 federal share: 83%
    January1, 2018 – December 31, 2018 federal share: 82%
    January1, 2019 – December 31, 2019 federal share: 81%
    January1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
    of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.




                                                                                                                             U-GU-630-D CW (01/15)
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E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is
      subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject
   to TRIA, do not exceed $5,000,000.




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                  EXHIBIT B

                                                              Def Appendix 0171
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                                                                             Service of Process
                                                                             Transmittal
                                                                             09/27/2016
                                                                             CT Log Number 529908700
   TO:     Jeffrey Droubay
           Dyno Nobel Inc.
           2795 E Cottonwood Pkwy Ste 500
           Salt Lake City, UT 84121-5695

   RE:     Process Served in Missouri
   FOR:     Dyno Nobel Inc. (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                  TEDDY SCOTT and MELANIE SCOTT, Pltfs. vs. DYNO NOBEL, INC., Dft.
                                     Name discrepancy noted.
   DOCUMENT(S) SERVED:               Summons, Complaint
   COURT/AGENCY:                     EASTERN DISTRICT OF MISSOURI - UNITED STATES DISTRICT COURT, MO
                                     Case # 161440
   NATURE OF ACTION:                 Product Liability Litigation - Personal Injury - Nitric acid
   ON WHOM PROCESS WAS SERVED:       C T Corporation System, Clayton, MO
   DATE AND HOUR OF SERVICE:         By Process Server on 09/27/2016 at 08:39
   JURISDICTION SERVED :             Missouri
   APPEARANCE OR ANSWER DUE:         Within 21 days after service of this summons on you (not counting the day you
                                     received it)
   ATTORNEY(S) / SENDER(S):          Robert W. Schmieder II
                                     SL Chapman, LLC
                                     330 North Fourth Street, Suite 330
                                     St. Louis, MO 63102
                                     314-588-9300
   ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1Z0399EX0119289450
                                     Image SOP

                                     Email Notification, Heidi Elder HEIDI.ELDER@AM.DYNONOBEL.COM

                                     Email Notification, Jeffrey Droubay jeffrey.droubay@am.dynonobel.com

                                     CC Recipient(s)
                                     Heidi Elder, via Regular Mail

   SIGNED:                           C T Corporation System
   ADDRESS:                          120 South Central Avenue
                                     Suite 400
                                     Clayton, MO 63105
   TELEPHONE:                        314-863-5545




                                                                             Page 1 of 1 / MH
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
                                                                                                       Def Appendix 0172
Am       Case
          f   2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.174 Page 169 of 196


     AO 440 (Rev. 12/09) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern District of Missouri

                  TEDDY SCOTT AND MELANIE
                           SCOTT
                                  Plaintiff

                                     V.                                         Civil Action No. 16-1440
                         DYNO NOBEL, INC.,

                                 Defendant


                                                       SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) Dyno Nobel, Inc.
                                              CT Corporation System
                                              120 South Central Avenue      36 c 7R2;y2._
                                              Clayton, Missouri 63105




              A lawsuit has been filed against you.
                                                                                    SEP 2. 2 20161
             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a iniggi di)        le 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffla0 a o
     whose name and address are: Robert W. Schmieder II                                          A
                                              SL Chapman LLC                                          A   w
                                              330 North 4th Street                            •. tr.              EiI
                                                                                                                                  *
                                                                                                                                  •       (-y-A
                                              Suite 330
                                              St. Louis, MO 63102

                                                                                                          A• ,
     .      If you fail to respond, judgment by default will be entered against you for the relifi.1,:,,P1'1'40111!                   plaint
     You also must file your answer or motion with the court.                                            ,..4119111,illg, ,

                                                                                              4,4094, \ le V\ ,.1.-e.,
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                                                                                               '4:1'.1jc.,ilit EASt'v0).-
                                                                                   CLERK OF COURT
                                                                                                              r OF 10

     Date:             09/15/2016                                                                 /s/ Genevieve Bale
                                                                                             Signature of Clerk or Deputy Clerk




                                                                                                              Def Appendix 0173
Case 2:22-cv-00016-DBP Document 2-2 Filed 01/06/22 PageID.175 Page 170 of 196
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI


 TEDDY SCOTT AND MELANIE                                 )
 SCOTT    •                                              )

                                                         )
         Plaintiffs,                                     )
                                                         )
  v.                                                     )       Case No. 16-1440
                                                         )
  DYNO NOBEL, INC.,                                      )
                                                         )
         Defendant.                                      )
                                                         )
  SERVE AT:                                              )
  CT Corporation System                                  )
  120 South Central Avenue                               )
  Clayton, Missouri 63105                                )

                                            COMPLAINT

         COME NOW Plaintiffs, Teddy Scott ("Scott") and Melanie Scott ("Melanie"), by and

  through their attorneys, SL Chapman LLC, and for their Complaint against Defendant, Dyno

  Nobel, Inc. ("Dyno"), state as follows:

                GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

         1.      This Court has subject matter jurisdiction with regard to this lawsuit pursuant to

  28 U.S.C. Section 1332(a) in that the parties are citizens of different states and the amount in

  controversy exceeds $75,000.00, exclusive of interest and costs.

         2.     • At all times relevant to this lawsuit, Scott was a citizen and resident of the State of

  Kentucky.

         3.      At all times relevant to this lawsuit, Melanie was Scott's lawfully-wedded spouse

  and was a citizen and resident of the State of Kentucky.




                                                                                       Def Appendix 0174
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         4.      At all times relevant to this lawsuit, Dyno was a Delaware corporation with the

 principal office for he transaction of its business in Salt Lake City, Utah.

         5.       At all times relevant to this lawsuit, Dyno owned and operated an ammonia nitrate

  manufacturing facility located at 11025 Highway D in Louisiana, Pike County, Missouri.

         6.     • Ammonia is used at this Dyno facility as a raw material to make nitric acid, a

  material considered hazardous by the Environmental Protection Agency ("EPA"). Because of

  the toxic chemicals and substances used and made at its facility, Dyno is regulated by the EPA's

  Accidental Release Prevention Program and its Accidental Release Program, as part of The

  Clean Air Act Amendments of 1990; and by the United States Department of Labor,

  Occupational Health & 'Safety Administration's Process Safety of Highly Hazardous Chemicals

  standard, 29 CFR Section 1910.119.

         7.       This Court has personal jurisdiction over Dyno by virtue of the fact that Dyno

  owned and operated the ammonia nitrate manufacturing facility in Louisiana, Missouri, and

  otherwise conducted business at this facility and at another Missouri facility located at or near

  Carthage, Missouri, at all times relevant to this lawsuit.

          8.      At all times relevant to this lawsuit, Calumet Lubricants Co. ("Calumet") owned

  and operated a synthetic lubricants manufacturing facility located at 11089 Highway D in

  Louisiana, Pike County, Missouri.

         9.       At all times relevant to this lawsuit, and upon information and belief, Calumet

  contracted with Bilfinger Westcon, Inc. ("Westcon"), as general contractor, for certain work to

  be performed on Calumet's synthetic lubricants facility in Louisiana, Missouri.

     •    10.     At all times relevant to this lawsuit, and upon information and belief, Bilfmger

  Westcon subcontracted with Ardent Services LLC ("Ardent"), as subcontractor, for Ardent to



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                                                                                     Def Appendix 0175
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  perform certain and various electrical contracting services at Calumet's synthetic lubricants

  facility in Louisiana, Missouri.

         11.     At all times relevant to this lawsuit, Scott was an electrical foreman for and an

  employee of Ardent. The overwhelming percentage of Scott's work time on this Calumet project

  was spent outdoors exposed to the elements and ambient air.

         12.     On Friday, March 20, 2015, Scott was working for Ardent outdoors on the

  property of Calumet, which was adjacent to the industrial plant owned and operated by Dyno.

  Specifically, Scott was working at or near the so-called "truck load-out" and/or "train load-out"

  area of the Calumet facility.

         13.     On Friday, March 20, 2015, at about 8:15 a.m., there was a negligent sudden and

  unexpected discharge into the air of a reddish-looking cloud of a gaseous substance from one of

  the Dyno smokestacks on the Dyno industrial plant. This discharge of a reddish-looking gaseous

  substance, which turned out to be nitric acid, eventually filtered its way over to, above, and on

  the Calumet premises and into the working environment of the Westcon and Ardent workers.

  Scott was personally and substantially exposed to and confronted with the reddish-looking cloud

  of nitric acid and ingested and breathed in the same into his respiratory system and person.

         14.     As a direct and proximate result of being exposed to toxic nitric acid from the

  Dyno discharge from its smokestack, Scott sustained serious and permanent personal injuries, all

  as is more specifically alleged below.

         15.     As a direct and proximate result of her husband, Scott, experiencing serious and

  permanent personal injuries, Melanie has lost the consortium and services of her husband, Scott.




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                                                                                    Def Appendix 0176
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                       COUNT I---SCOTT---NEGLIGENCE---DYNO NOBEL INC.

         16.      Scott incorporates by reference as if fully set forth herein the General Allegations

  Applicable to All Counts.

         17.      At all times relevant to this lawsuit, Dyno had the duty to manage and operate its

  ammonia nitrate manufacturing facility in a reasonable manner and in such a way and manner as

  to avoid the discharge of highly toxic substances, including nitric acid, into the air from its

  smokestacks, when it was foreseeable that such discharges of nitric acid might or could drift onto

  and into the working environment of workers working outdoors at the immediately-adjacent

  Calumet synthetic lubricants facility.

         18.      Dyno breached and violated its duty to manage and operate its ammonia nitrate

  manufacturing facility in a reasonable manner, and was otherwise negligent in the discharge

  incident of March 15, 2015, in one or more of the following respects:

               a. It allowed nitric acid to escape from one of its smokestacks and into the air

                  when it knew, or should have known, that by doing so it would cause workers,

                  including Scott, working on the immediately-adjacent industrial facility, to

                  become directly exposed to a very highly toxic substance;

               b. It failed to follow its own policies and procedures which were designed to

                  prevent such discharges of toxic substances into the ambient air;

               c. It failed to warn workers, including Scott, that nitric acid might or could come

                  spewing out of one of its smokestacks and into the working environment of

                  workers working outdoors on the immediately-adjacent Calumet facility;




                                                                                      Def Appendix 0177
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               d. It failed to follow its own policies and procedures which were designed to be put

                  in play in the event of an unexpected discharge of nitric acid into the ambient air

                  and which were intended to minimize the risks associated with such discharges.

         19.      As a direct and proximate result of one or more of the foregoing acts and

 omissions of negligence on the part of Dyno, Plaintiff, Teddy Scott, sustained serious, permanent

 and debilitating personal injuries, including but .not limited to severe migraine headaches,

 various severe respiratory, pulmonary, and neurological disorders, passing-out episodes, a low

 back injury due to one of his passing-out episodes, and others; has incurred and will incur into

 the indeterminable future medical expenses for necessary and appropriate medical treatment for

 his injuries; has experienced and will experience into the indeterminable future pain and

 suffering associated with his injuries; has lost income and will lose income into the

  indeterminable future as a result of the injuries to his person and psyche; has experienced and

  will experience into the indeterminable future situational depression, anxiety, mental anguish and

  frustration both with the nature, extent, and seriousness of his personal injuries and their effect

  on his ability to make a substantial living; has lost and will continue to lose into the

  indeterminable future what was for him was a normal life; and has sustained severe and

 permanent disability.

         WHEREFORE, Plaintiff, Teddy Scott, prays that Judgment be granted in his favor and

  against the Defendant, Dyno Nobel, Inc., on Count I of his Complaint in an amount greater than

  $75,000.00, exclusive of interest and costs; for his taxable Court costs herein; and for such other

  and further relief as this Court may deem to be equitable and just.

                  PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS




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                                                                                    Def Appendix 0178
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                      COUNT II---MELANIE,SCOTT--NEGLIGENCE---DYNO NOBEL INC.

               20.       Plaintiff incorporates by reference the General Allegations section and Count I of

        the Complaint.

               21.       As a direct and proximate result of the foregoing acts and omissions of negligence

        on the part of Dyno, Plaintiff, Melanie Scott, has lost the consortium and services of her

        husband, Scott, all to her severe and permanent detriment.

               WHEREFORE, Plaintiff, Melanie Scott, prays that Judgment be granted in her favor and

        against the Defendant, Dyno Nobel, Inc., on Count II of her Complaint in an amount greater than

        $75,000.00, exclusive of interest and costs; for her taxable Court costs herein; and for such other

        and further relief as this Court may deem to be equitable and just.

                      PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS


               COUNT III--TEDDY SCOTT---STRICT LIABILITY FOR ABNORMALLY
                         DANGEROUS ACTIVITIES---DYNO NOBEL INC.

               .22.      Plaintiff incorporates by reference as if fully set forth herein the General

        Allegations section and Count I of the Complaint.

               23.       Due to the highly dangerous nature of the manufacturing processes involving the

        highly hazardous and toxic chemicals and substances at the Dyno manufacturing facility in

        Louisiana, Missouri, Dyno is to be held strictly liable for the personal 'and emotional injuries

        sustained by Scott herein.

               24.       As a direct and proximate result of one or more of the foregoing acts and

        omissions of negligence on the part of Dyno, Plaintiff, Teddy Scott, sustained serious, permanent

        and debilitating personal injuries, including but not limited to severe migraine headaches,




                                                                                          Def Appendix 0179
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, various severe respiratory, pulmonary and neurological disorders, passing-out episodes, a low

  back injury due to one of his passing-out episodes, and others; has incurred and will incur into

  the indeterminable future medical expenses for necessary and appropriate medical treatment for

  his injuries; has experienced and will experience into the indeterminable future pain and

  suffering associated with his injuries; has lost income and will lose income into the

  indeterminable future as a result of the injuries to his person and psyche; has experienced and

  will experience into the indeterminable future situational depression, anxiety, mental anguish and

  frustration both with the nature, extent, and seriousness of his personal injuries and their effect

  on his ability to make a substantial living; has lost and will continue to lose into the

  indeterminable future what was for him was a normal life; and has sustained severe and

  permanent disability.

         WHEREFORE, Plaintiff, Teddy Scott, prays that Judgment be granted in his favor and

  against the Defendant, Dyno Nobel, Inc., on Count III ,of his Complaint in an amount greater

  than $75,000.00, exclusive of interest and costs; for his taxable Court costs herein; and for such

  other and further relief as this Court may deem to be equitable and just.

                PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS


       COUNT IV-7-MELANIE SCOTT---STRICT LIABILITY--- DYNO NOBEL INC.

         25.       Plaintiff incorporates by reference the General Allegations section and Count I of

  the Complaint.

         26.       Due to the highly dangerous nature of the manufacturing processes involving the

 -highly hazardous and toxic chemicals and substances at the Dyno manufacturing facility in

  Louisiana, Missouri, Dyno is to be held strictly liable for the personal and emotional injuries




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                                                                                    Def Appendix 0180
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  sustained by Teddy Scott herein, and therefore is to be held strictly liable for the loss of

  consortium damages sustained and experienced by Melanie Scott herein.

         27.     As a direct and proximate result of the foregping acts and omissions of negligence

  on the part Of Dyno, Plaintiff, Melanie Scott, has lost the consortium and services of her

  husband, Scott, all to her severe and permanent detriment.

         WHEREFORE, Plaintiff, Melanie Scott, prays that Judgment be granted in her favor and

 .against the Defendant, Dyno Nobel, Inc., on Count IV of her Complaint in an amount greater

  than $75,000.00, exclusive of interest and costs; for her taxable Court costs herein; and for such

  other and further relief as this Court may deem to be equitable and just.

                PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS


           DATED this 9th day of September, 2016.

                                                 RESPECTFULLY SUBMITTED,



                                          BY:     /s/ Robert W. Schmieder II
                                                  Robert W. Schmieder II
                                                   robs®slchapman.com
                                                  SL Chapman, LLC
                                                  330 North Fourth Street, Suite 330
                                                  St. Louis, Missouri 63102
                                                  Telephone: (314) 588-9300
                                                  Fax: (314) 588-9302




                                                                                       Def Appendix 0181
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                  EXHIBIT C

                                                              Def Appendix 0182
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI

 TEDDY SCOTT AND MELANIE
 SCOTT,

                 Plaintiffs,

 v.                                                             Case No. 16-1440

 DYNO NOBEL,INC.,

                 Defendant.


                                 FIRST AMENDED COMPLAINT

         For their First Amended Complaint against Defendant Dyno Nobel, Inc.("Dyno"),

 Plaintiffs Teddy Scott("Teddy") and Melanie Scott("Melanie"), by and through their attorneys,

 allege as follows:

                                         General Allegations

         1.      This Court has subject matter jurisdiction with regard to this lawsuit pursuant to

 28 U.S.C. Section 1332(a) in that the parties are citizens of different states and the amount in

  controversy exceeds $75,000, exclusive of interest and costs.

         2.      Teddy is a citizen and resident of the Commonwealth of Kentucky.

         "3.     Melanie is Teddy's spouse and a citizen and resident ofthe Commonwealth of

  Kentucky.

         4.      At all relevant times, Dyno has been a Delaware corporation with the principal

  office for the transaction of its business in Salt Lake City, Utah.

         5.      At all relevant times, Dyno has owned and operated a nitric acid manufacturing

  facility located at 11025 Highway D in Louisiana, Pike County, Missouri (the "Plant").

         6.      At its Plant, Dyno uses ammonia as a raw material to make nitric acid.

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                                                                                    Def Appendix 0183
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         7.      Nitric acid is a hazardous material according to the Environmental Protection

 Agency ("EPA").

         8.      Because of the toxic chemicals and substances Dyno uses and makes at its Plant,

 Dyno is regulated by the EPA's Accidental Release Prevention Program and its Accidental

  Release Program, as part of The Clean Air Act Amendments of 1990, and by the United States

  Department of Labor, Occupational Health & Safety Administration's Process Safety of Highly

  Hazardous Chemicals standard, 29 CFR Section 1910.119.

         9.      This Court has personal jurisdiction over Dyno by virtue of the fact that Dyno has

  owned and operated its Plant in Louisiana, Missouri, and otherwise conducted business at the

  Plant and at another Missouri facility located at or near Carthage, Missouri.

         10.     At all relevant times, Calumet Lubricants Co.("Calumet") owned and operated a

  synthetic lubricants manufacturing facility located at 11089 Highway D in Louisiana, Pike

  County, Missouri (the "Calumet Facility").

          1 1.   The Dyno Plant is adjacent to the Calumet Facility, located on the southern border

  of the Dyno Plant.




                                                              ROCA O-1'TS CO.


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                                                                                  Def Appendix 0184
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         12.      The Calumet Facility, those working at the Calumet Facility, and Teddy Scott

 specifically are potentially affected neighbors of Dyno in the event that harmful chemicals are

 released from Dyno.

         13.       Upon information and belief, Calumet contracted with Bilfinger Westcon, Inc.

 ("Westcon"), as general contractor, for certain work to be performed on Calumet's synthetic

  lubricants facility in Louisiana, Missouri.

          14.      Upon information and belief, Westcon contracted with electrical subcontractor

  Ardent Services LLC ("Ardent")to perform certain and various electrical contracting services at

  Calumet's synthetic lubricants facility in Louisiana, Missouri.

          15.      At all relevant times, Teddy was an electrical foreman for and an employee of

  Ardent.

          16.      While working at the Calumet Facility, Teddy worked outdoors exposed to the

  elements and ambient air.

            17.    Dyno knew, or should have known, that there were people who worked outdoors

  at the adjacent Calumet Facility.

            18.    During normal operating conditions, Dyno's Plant releases varying levels of

  compounds that Dyno describes as "NOx" or oxides of nitrogen into the atmosphere through its

  exhaust stack.

            19.    The Plant's NOx emissions may include nitric acid, compounds that may become

  nitric acid when they reach the atmosphere, or other chemical compounds for which exposure to

  humans is harmful and unsafe.

            20.    According to the Material Safety Data Sheet for Dyno's nitric acid, health hazards

  from overexposure to nitric acid include:


                                                    3


                                                                                    Def Appendix 0185
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                Eyes: Will produce severe, immediate damage and may result in permanent
                damage or loss.

                 Skin: Will produce immediate, penetrating chemical burns, with a characteristic
                 yellow coloration. Severe and fatal skin burns can occur with necrosis and
                 scarring.

                 Ingestion: Will cause immediate irritation, chemical burns to mouth and throat
                 and may cause hemorrhaging, necrosis and perforation of the gastrointestinal
                 tract. Based on toxicity data for other acids, not expected to be toxic by oral
                 exposure as defined by OSHA.

                 Inhalation: Highly toxic by inhalation as defined by OSHA. Mild exposure may
                 cause irritation and burning of the nose and throat. Extreme inhalation may cause
                 difficult breathing, loss of consciousness, pulmonary edema or death. Lung
                 damage may appear after a delay of up to 48 hours after exposure.

         21.     During operation, process gas rich in NO and NO2 is introduced into the bottom

  of the absorber and steam condensate is injected into the top. As the water flows down the

  absorber it reacts with the counter current flow of NO2 to form nitric acid. Un-reacted gas exits

  the top of the absorber. The gas is saturated with weak acid droplets that are removed in an acid

  mist separator. The gas then flows through heat recovery equipment and is eventually

  discharged out the exhaust stack.

         22.     Operating the absorber at optimal conditions reduces the NOx emissions. The

  most critical efficiency-determining factor is operating pressure. The absorber was designed to

  operate at pressures between 9 and 10 bars; at this condition, the absorption efficiency is optimal.

         23.     From time to time, Dyno shuts down nitric acid operations at its Plant in order to

  perform maintenance.

         24.     After Dyno completes the maintenance during a shutdown, Dyno then goes

  through a start-up process of its nitric acid operations.

         25.     During the start-up process, more harmful gasses than normal are emitted from

  the Plant due to the varying efficiency of the nitric acid absorption column during start-up.

                                                    4


                                                                                    Def Appendix 0186
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         26.     Due to the design capabilities of the process equipment and in order to prevent

 damage to the equipment, the pressure is slowly increased to normal operational level during a

 start-up.

         27.     During the time it takes to ramp-up the pressure to optimum levels, the NOx

 emissions from the absorber are higher than what is experienced during normal operation,

  usually resulting in opacity of greater than 40%.

         28.     During start-up, it takes approximately two hours to reach the ideal conditions.

         29.     Higher than normal levels of NOx emissions occur for at least 50% of the

  duration of the time required for the start-up process.

         30.     Dyno knew, or should have known,that NOx emissions from its Plant during a

  start-up were higher than normal and would be harmful to any person who was exposed to them.

         31.     In March of 2015, Dyno shut down nitric acid operations at its Plant in order to

  perform maintenance reported as a catalyst gauze change.

         32.     After Dyno completed the catalyst gauze change maintenance in March of 2015,

  Dyno prepared for a start-up of its Plant.

          33.    Dyno first began the start-up on March 19, 2015.

          34.    After experiencing a mechanical failure, Dyno's Plant was shut down at

  approximately 5:00 a.m. on March 20, 2015.

          35.    After repairs, Dyno then began another start-up on March 20, 2015 at

  approximately 8:30 a.m.

          36.    On March 20, 2015, atmospheric conditions near Dyno's Plant were such that

  clouds were forced low to the ground. Clouds were so low that day that a 200 foot smoke stack

  at Dyno's Plant was partially obscured by cloud cover.



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                                                                                    Def Appendix 0187
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         37.      According to the Material Safety Data Sheet for Dyno's nitric acid, nitric acid

 vapor is denser than air so that it will concentrate in low spots.

         38.      On March 20, 2015, the wind conditions near Dyno's Plant were unknown,

 unpredictable, and/or changeable.

         39.      According to the Material Safety Data Sheet for Dyno's nitric acid, in case nitric

 acid is released or spilled, personnel must be evacuated to a safe area upwind ofthe spill.

         40.      During the March 20, 2015 start-up, the Dyno Plant released higher than normal

  levels of NOx emissions and other harmful emissions, which were visible as a red-orange plume,

 through its exhaust stack.

         41.      The start-up emissions, which remained low to the ground and changed directions

  due to the wind, eventually passed over to, above, and onto the Calumet Facility.

         42.      During Dyno's start-up on March 20, 2015, Teddy was working for Ardent

  outdoors at the adjacent Calumet Facility near the "truck load-out" and/or "train load-out" area.

         43.      As the start-up emissions came onto the Calumet Facility where Teddy was

  working, Teddy was exposed to, ingested, and/or inhaled the start-up NOx emissions from

  Dyno's Plant.

         44.      Dyno has reported that it released 1500 pounds of NOx through its Plant's stack

  for a period of approximately three hours during the March 20, 2015 start-up.

         45.      Under normal operating circumstances, Dyno must report any discharge of more

  than 1000 pounds of NOx in a 24 hour period to appropriate regulatory agencies.

         46.      Dyno's Plant has, or should have had, various detection systems such as process

  monitoring and control instrumentation with alarms to alert Dyno should a release of hazardous

  material occur.


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                                                                                     Def Appendix 0188
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         47.      At all relevant time hereto, Dyno has had an Emergency Control and Crisis

  Communications Plan to notify the Calumet Facility, any potentially affected neighbors, and the

  local fire authority in the event that emissions from an accidental release at its Plant posed a

  danger.

         48.      The Emergency Control and Crisis Communications Plan is undertaken

  voluntarily, or alternatively, by requirement of law in order to protect the workers of Calumet

  and any potentially affected neighbors.

         49.      On information and belief, Dyno's Emergency Control and Crisis

  Communications Plan did not provide for notification of Calumet, other potentially affected

  neighbors, or the local fire authority during the March 20, 2015 event despite high levels of

  hazardous materials, including NOx, being emitted from the plant during the start-up because the

  emissions did not qualify as an accidental release that would require reporting to a regulatory

  agency.

            50.   Dyno failed to notify the Calumet Facility nor any potentially affected neighbors

  of any dangers associated with its Plant's start-up emissions.

            51.   Dyno failed to notify Teddy or any other workers at the Calumet Facility of any

  dangers associated with its Plant's start-up emissions.

            52.   At all relevant times, federal regulations required Dyno to conduct Process

  Hazard Analysis("PHA")for its Plant, which plans are to be updated and revalidated at least

  every five years. 29 CFR 1910.119.

            53.   The PHA is expressly required to address "facility siting" which is a study of the

  spatial relationships within a plant and between a plant and surrounding area evaluating the

  hazards a plant may pose to its neighbors. 29 CFR 1910.119(e).



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          54.   The PHA is required to address a qualitative evaluation of a range of the possible

 safety and health effects of failure of controls on employees in the workplace. 29 CFR

 1910.119(e).

          55.   During the Process Safety Management inspection conducted by OSHA following

 the March 20, 2015 event, OSHA found what it termed a "serious" violation in that the PHA did

 not address a qualitative evaluation of a range of the possible safety and health effects of failure

 of controls on employees in the workplace. Further, Dyno had not completed a qualitative

 evaluation of hazards covered in facility siting. The last PHA for Ammonia Storage and Acid

 Plant processes had not included any risk assessment for nodes related to facility siting.

          56.   During the Process Safety Management inspection conducted by OSHA following

  the March 20, 2015 event, OSHA found additional instances of"serious" violations where many

  action items for past PHAs and annual audits were closed before the assigned tasks were

  completed. Items were closed with statements that corrective action would take place on a future

  date.

          57.    As a direct and proximate result of being exposed to NOx emissions and other

  harmful emissions from the Dyno start-up emissions, Teddy sustained serious and permanent

  personal injuries, including (but not limited to) irritable larynx syndrome, laryngospasms,

  chronic bronchitis, post-tussive syncope, migraine headaches, and other respiratory, pulmonary,

  and neurological issues.

          58.    As a direct and proximate result of being exposed to NOx emissions and other

  harmful emissions from the Dyno start-up emissions, Teddy's medical conditions from the

  March 20, 2015 event have caused him to pass out, fall to the ground, and injure his low back.




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         59.      As a direct and proximate result of her husband's serious and permanent personal

 injuries, Melanie has lost the consortium and services of Teddy.

                                                  COUNT I
                                                 (Negligence)

         60.      Teddy hereby incorporates the general allegations as if set forth herein.

         61.      At all times relevant hereto, Dyno had the duty to use that degree of care that an

 ordinarily careful person would use under the same or similar circumstances when managing and

  operating the Plant.

         62.      Specifically, Dyno had a duty to avoid exposing potentially affected neighbors to

  start-up emissions, to provide a timely warning that such a danger was present, or to otherwise

  safeguard potentially affected neighbors when it was foreseeable that such emissions might or

  could drift into the presence of potentially affected neighbors in sufficient quantity or

  concentration to cause injury.

         63.      On or about March 20, 2015, it was foreseeable that start-up emissions might or

  could drift into the presence of potentially affected neighbors in sufficient quantity or

  concentration to cause injury.

         64.      Dyno breached and violated its duty, and was otherwise negligent, in one or more

  of the following respects, by:

               a. Failing to warn potentially affected neighbors of the start-up;

               b. Failing to warn potentially affected neighbors ofthe dangers of exposure to,

                   ingestion of, and/or inhalation of the start-up emissions;

               c. Failing to monitor emissions from the start-up to confirm that they dispersed into

                  the atmosphere away from potentially affected neighbors;




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             d. Failing to have or heed adequate detection systems, such as process monitoring

                  and control instrumentation with alarms, in place to alert Dyno of a release of

                  hazardous material during the start-up;

             e. Failing to properly monitor atmospheric and wind conditions during the start-up

                  to determine whether the start-up emissions posed a danger to potentially affected

                  neighbors;

             f. Failing to have or follow a proper Emergency Control and Crisis Communications

                  Plan with procedures to notify potentially affected neighbors ofthe danger of

                  start-up emissions;

               g. Failing to have or deploy an emergency response team with equipment and

                  training necessary to protect potentially affected neighbors from start-up

                  emissions;

               h. Failing to properly complete and maintain a current Process Hazard Analysis for

                  its Plant as in violation of federal regulations designed to prevent or mitigate

                  exposure and injuries; and

               i. Starting-up its nitric acid operations at the Plant under the atmospheric and wind

                  conditions near its Plant on or about March 20, 2015.

         65.      The foregoing conduct showed complete indifference to or conscious disregard

  for the safety of others.

         66.      As a direct and proximate result of one or more of the foregoing acts and

  omissions of negligence on the part of Dyno, Teddy sustained serious, permanent and

  debilitating personal injuries, including but not limited to severe migraine headaches, various

  severe respiratory, pulmonary, and neurological disorders, passing-out episodes, a low back



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 injury due to one of his passing-out episodes, and others; has incurred and will incur into the

 indeterminable future medical expenses for necessary and appropriate medical treatment for his

 injuries; has experienced and will experience into the indeterminable future pain and suffering

 associated with his injuries; has lost income and will lose income into the indeterminable future

 as a result of the injuries to his person and psyche; has experienced and will experience into the

  indeterminable future situational depression, anxiety, mental anguish and frustration both with

 the nature, extent, and seriousness of his personal injuries and their effect on his ability to make a

  substantial living; has lost and will continue to lose into the indeterminable future what was for

  him was a normal life; and has sustained severe and permanent disability.

          WHEREFORE,Plaintiff Teddy Scott prays that Judgment be granted in his favor and

  against the Defendant, Dyno Nobel, Inc., on Count I of his Complaint for compensatory damages

  in an amount greater than $75,000, exclusive of interest and costs; for exemplary damages; for

  his taxable Court costs herein; and for such other and further relief as this Court may deem to be

  equitable and just.

                PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS



                                                 COUNT II
                                          (Loss of Consortium)
         67.      Melanie hereby incorporates all of the allegations as if set forth herein.

          68.     As a direct and proximate result of the foregoing acts and omissions of negligence

  on the part of Dyno, Melanie has lost the consortium and services of her husband, Teddy, all to

  her severe and permanent detriment.

          WHEREFORE,Plaintiff Melanie Scott prays that Judgment be granted in her favor and

  against the Defendant, Dyno Nobel, Inc., on Count II of her Complaint for compensatory


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 damages in an amount greater than $75,000, exclusive of interest and costs; for exemplary

 damages; for her taxable Court costs herein; and for such other and further relief as this Court

 may deem to be equitable and just.

               PLAINTIFF DEMANDS OF JURY TRIAL OF SIX ON ALL COUNTS


  DATED this 3rd day of March, 2017.

                                       RESPECTFULLY SUBMITTED,


                                        BY:     /s/ Robert W. Schmieder II
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                                                                                    Def Appendix 0194
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                                        Certificate of Service

        The undersigned hereby certifies that the foregoing was filed electronically through the

 Court's electronic filing System on March 3, 2017, which served a copy of the foregoing upon

 counsel of record.



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                                                       Robert W. Schmieder II




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                                                                   Def Appendix 0196
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              ****** IMPORTANT NOTICE - READ THIS INFORMATION *****
                            NOTICE OF ELECTRONIC FILING [NEF]


A filing has been submitted to the court RE:       210906012
                                                   DYNO NOBEL INC vs. STEADFAST
Case Title:
                                                   INSURANCE COMPANY
Judge:                                             ROBERT FAUST
Commissioner:

Official File Stamp:                               11-08-2021 13:41:24
Court:                                             3RD DISTRICT COURT - SALT LAKE
                                                   District
                                                   Salt Lake
Document(s) Submitted:                             Complaint
                                                   Other Exhibit A
                                                   Other Exhibit B
                                                   Other Exhibit C
Filed by or in behalf of:                          ASHLEY WALKER

This notice was automatically generated by the courts auto-notification system.


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                                                   ASHLEY WALKER for DYNO NOBEL INC

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required, they must be served by traditional means:
                                                   STEADFAST INSURANCE COMPANY




                                                                              Def Appendix 0197
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                                                                   Def Appendix 0199
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A filing has been submitted to the court RE:       210906012
                                                   DYNO NOBEL INC vs. STEADFAST
Case Title:
                                                   INSURANCE COMPANY
Judge:                                             ROBERT FAUST
Commissioner:

Official File Stamp:                               12-08-2021 09:37:46
Court:                                             3RD DISTRICT COURT - SALT LAKE
                                                   District
                                                   Salt Lake
Document(s) Submitted:                             Return of Service
Filed by or in behalf of:                          ASHLEY WALKER

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                                                   STEADFAST INSURANCE COMPANY




                                                                              Def Appendix 0200
